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           Trigger Event is not in effect, the greater of (a) 4.50% of the Aggregate Loan Balance for such
           distribution date, or (b) 0.50% of the Aggregate Loan Balance as of the Cut-off Date; with respect to
           any distribution date on or after the Stepdown Date with respect to which a Trigger Event is in effect,
           the Targeted Overcollateralization Amount for such distribution date will be equal to the Targeted
           Overcollateralization Amount for the distribution date immediately preceding such distribution date.

                           "Trigger Event" a Trigger Event will occur for any distribution date if either (i) the
           Delinquency Rate as of the last day of the related Due Period exceeds 35.63% of the Senior
           Enhancement Percentage for such distribution date or (ii) the cumulative Realized Losses as a
           percentage of the original Aggregate Loan Balance on the Closing Date for such distribution date is
           greater than the percentage set forth in the following table:

                           Range of Distribution Dates              Cumulative Loss Percentage
                           November 2009- October 2010                        3.45%*
                           November 2010- October 2011                        5.40%*
                           November 2011- October 2012                        6.95%*
                           November 2012 and thereafter                       7.80%

           *The cumulative loss percentages set forth above are applicable to the first distribution date in the
           corresponding range of distribution dates. The cumulative loss percentage for each succeeding
           distribution date in a range increases incrementally by 1/12 of the positive difference between the
           percentage applicable to the first distribution date in that range and the percentage applicable to the
           first distribution date in the succeeding range.

           Distributions of Interest

                           The amount of interest payable on each distribution date in respect of each class of
           Senior Certificates and Subordinate Certificates will equal the sum of (1) Current Interest for such
           class and date and (2) any Carryforward Interest for such class and date. All calculations of interest
           will be made on the basis of a 360-day year and the actual number of days elapsed in each Interest
           Accrual Period.

                           With respect to each distribution date, to the extent that a Basis Risk Shortfall exists
           for any class of Senior Certificates and Subordinate Certificates, such class will be entitled to the
           amount of such Basis Risk Shortfall. Such classes will be entitled to receive the amount of any Basis
           Risk Shortfall in accordance with the priority of payments described in this prospectus supplement
           under "--Credit Enhancement---Overcollateralization" and from available amounts on deposit in a
           reserve fund (the "Basis Risk Shortfall Reserve Fund"), if applicable. The source of funds on deposit
           in the Basis Risk Shortfall Reserve Fund will be limited to amounts in respect of Monthly Excess
           Cashflow that would otherwise be paid to the Class X Certificates.

                            On each distribution date, the Interest Remittance Amount for such distribution date,
           to the extent of funds in the Distribution Account, will be paid in the following order of priority:

                           (1)    from the Interest Remittance Amount for loan group I and loan group II, the
           Group I Allocation Percentage and the Group II Allocation Percentage, as applicable, of any Net
           Swap Payment and any Swap Termination Payment paid to the Supplemental Interest Trust and
           owed to the Swap Provider (unless the Swap Provider is a Defaulting Party or the sole Affected Party
           (as defined in the ISDA Master Agreement) and to the extent not paid by the securities administrator


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           from any upfront payment received pursuant to any replacement interest rate swap agreement that
           may be entered into by the Supplemental Interest Trust Trustee);

                            (2)     from the remaining Interest Remittance Amount for loan group I and loan
           group II to the Senior Certificates, pro rata based on amounts due, Current Interest and any
           Carryforward Interest for each such class and such distribution date applied in accordance with the
           allocation rules set forth below;

                           (3)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-1 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (4)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-2 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (5)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-3 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (6)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-4 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (7)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-5 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (8)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-6 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (9)    first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-7 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (1 0)  first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-8 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (11)   first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class M-9 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;

                           (12)   first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class B-1 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date;




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                           (13)   first, from the remaining Interest Remittance Amount for loan group II and
           then from the remaining Interest Remittance Amount for loan group I, to the Class B-2 Certificates,
           Current Interest and Carryforward Interest for such class and distribution date; and

                        (14)    for application as part of Monthly Excess Cashflow for such distribution date,
           as described under "--Credit Enhancement---Overcollateralization" below, any such Interest
           Remittance Amount remaining after application pursuant to clauses (1) through (13) above (such
           amount, "Monthly Excess Interest") for such distribution date.

                           The remaining Interest Remittance Amount for loan group I and loan group II
           distributed pursuant to clause (2) above will be applied to the Senior Certificates as follows:

                           (a)      the Interest Remittance Amount for loan group I will be distributed in the
           following order of priority: (x) first, to the Class 1-A-1 Certificates, Current Interest and any
           Carryforward Interest for such class for such distribution date; and then (y) concurrently, to the Class
           II-A-1, Class II-A-2, Class II-A-3 and Class II-A-4 Certificates, Current Interest and Carryforward
           Interest for each such class for such distribution date, on a pro rata basis based on the entitlement of
           each such class, after taking into account the distribution of the Interest Remittance Amount for loan
           group II on such distribution date; and

                            (b)      the Interest Remittance Amount for loan group II will be distributed in the
           following order of priority: (x) first, concurrently to the Class II-A-1, Class II-A-2, Class II-A-3 and
           Class II-A-4 Certificates, Current Interest and any Carryforward Interest for each such class for such
           distribution date, on a pro rata basis based on the entitlement of each such class; and then (y) to the
           Class 1-A-1 Certificates, Current Interest and any Carryforward Interest for such class for such
           distribution date, after taking into account the distribution of the Interest Remittance Amount for loan
           group I on such distribution date.

           Distributions of Principal

                           The Principal Payment Amount will be paid on each distribution date as follows:

                         I.      On each distribution date (x) prior to the Stepdown Date or (y) with respect to
           which a Trigger Event is in effect, the Principal Payment Amount will be paid in the following order
           of priority:

                           (A)    to the Supplemental Interest Trust from the Principal Payment Amount
                                  derived from the Group I Mortgage Loans and the Group II Mortgage Loans,
                                  the Group I Allocation Percentage and the Group II Allocation Percentage, as
                                  applicable, of any Net Swap Payment and any Swap Termination Payment
                                  owed to the Swap Provider (unless the Swap Provider is a Defaulting Party or
                                  the sole Affected Party (as defined in the ISDA Master Agreement and to the
                                  extent not paid by the securities administrator from any upfront payment
                                  received pursuant to any replacement interest rate swap agreement that may
                                  be entered into by the Supplemental Interest Trust Trustee)) to the extent not
                                  paid from the Interest Remittance Amounts on such distribution date;

                           (B)    (i)   from the Principal Payment Amount derived from the Group I
                                  Mortgage Loans remaining after payments pursuant to clause (A) above, to


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                              the Class I-A-1 Certificates, until the Certificate Principal Balance thereof has
                              been reduced to zero;

                              (ii)    from the Principal Payment Amount derived from the Group II
                              Mortgage Loans remaining after payments pursuant to clause (A) above,
                              sequentially, to the Class II-A-1, Class II-A-2, Class II-A-3 and Class II-A-4
                              Certificates, in that order, until the Certificate Principal Balance of each such
                              class has been reduced to zero;

                        (C)   (i)     from the Principal Payment Amount derived from the Group I
                              Mortgage Loans remaining after payments pursuant to clauses (A) and (B)
                              above and after the Certificate Principal Balance of the Class I-A-1
                              Certificates has been reduced to zero, sequentially, to the Class II-A-1, Class
                              II-A-2, Class II-A-3 and Class II-A-4 Certificates, in that order, after taking
                              into account payments pursuant to clause I(B)(ii) above, until the Certificate
                              Principal Balance of each such class has been reduced to zero;

                              (ii)     from the Principal Payment Amount derived from the Group II
                              Mortgage Loans remaining after payments pursuant to clauses (A) and (B)
                              above and after the Certificate Principal Balances of the Class II-A-1, Class
                              II-A-2, Class II-A-3 and Class II-A-4 Certificates have been reduced to zero,
                              to the Class I-A-1 Certificates, after taking into account payments pursuant to
                              clause I(B)(i) above, until its Certificate Principal Balance has been reduced
                              to zero;

                        (D)   to the Class M-1 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (E)   to the Class M-2 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (F)   to the Class M-3 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (G)   to the Class M-4 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (H)   to the Class M-5 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (I)   to the Class M-6 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (J)   to the Class M-7 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;

                        (K)   to the Class M-8 Certificates, until its Certificate Principal Balance has been
                              reduced to zero;




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                          (L)    to the Class M-9 Certificates, until its Certificate Principal Balance has been
                                 reduced to zero;

                          (M)    to the Class B-1 Certificates, until its Certificate Principal Balance has been
                                 reduced to zero;

                          (N)    to the Class B-2 Certificates, until its Certificate Principal Balance has been
                                 reduced to zero; and

                          (0)    for application as part of Monthly Excess Cashflow for such distribution date,
                                 as described under "--Credit Enhancement---Overcollateralization" below,
                                 any such Principal Payment Amount remaining after application pursuant to
                                 clauses I(A) through (N) above.

                          II.      On each distribution date (x) on or after the Stepdown Date and (y) with
           respect to which a Trigger Event is not in effect, the Principal Payment Amount will be paid in the
           following order of priority:

                          (A)    to the Supplemental Interest Trust from the Principal Payment Amount
                                 derived from the Group I Mortgage Loans and the Group II Mortgage Loans,
                                 the Group I Allocation Percentage and the Group II Allocation Percentage, as
                                 applicable, of any Net Swap Payment and any Swap Termination Payment
                                 owed to the Swap Provider (unless the Swap Provider is a Defaulting Party or
                                 the sole Affected Party (as defined in the ISDA Master Agreement and to the
                                 extent not paid by the securities administrator from any upfront payment
                                 received pursuant to any replacement interest rate swap agreement that may
                                 be entered into by the Supplemental Interest Trust Trustee)) remaining unpaid
                                 after the distribution of the Interest Remittance Amounts on such distribution
                                 date;

                          (B)    (i)     from the Principal Payment Amount derived from the Group I
                                 Mortgage Loans remaining after payments pursuant to clause (A) above, to
                                 the Class I-A-1 Certificates, the Group I Allocation Amount until its
                                 Certificate Principal Balance has been reduced to zero;

                                 (ii)    from the Principal Payment Amount derived from the Group II
                                 Mortgage Loans remaining after payments pursuant to clause (A) above,
                                 sequentially, to the Class II-A-1, Class II-A-2, Class II-A-3 and Class II-A-4
                                 Certificates, in that order, the Group II Allocation Amount until the
                                 Certificate Principal Balance of each such class has been reduced to zero;

                          (C)    (i)      from the Principal Payment Amount derived from the Group I
                                 Mortgage Loans remaining after payments pursuant to clauses (A) and (B)
                                 above, sequentially, to the Class II-A-1, Class II-A-2, Class II-A-3 and Class
                                 II-A-4 Certificates, in that order, up to the Group II Allocation Amount
                                 remaining unpaid, after taking into account payments pursuant to clause
                                 II(B)(ii) above, until the Certificate Principal Balance of each such class has
                                 been reduced to zero;



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                              (ii)    from the Principal Payment Amount derived from the Group II
                              Mortgage Loans remaining after payments pursuant to clauses (A) and (B)
                              above, to the Class I-A-1 Certificates, up to the Group I Allocation Amount
                              remaining unpaid, after taking into account payments pursuant to clause
                              II(B)(i) above, until its Certificate Principal Balance has been reduced to
                              zero;

                        (D)   to the Class M-1 Certificates, the Class M-1 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (E)   to the Class M-2 Certificates, the Class M-2 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (F)   to the Class M-3 Certificates, the Class M-3 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (G)   to the Class M-4 Certificates, the Class M-4 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (H)   to the Class M-5 Certificates, the Class M-5 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (I)   to the Class M-6 Certificates, the Class M-6 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (J)   to the Class M-7 Certificates, the Class M-7 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (K)   to the Class M-8 Certificates, the Class M-8 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (L)   to the Class M-9 Certificates, the Class M-9 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (M)   to the Class B-1 Certificates, the Class B-1 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero;

                        (N)   to the Class B-2 Certificates, the Class B-2 Principal Payment Amount for
                              such distribution date, until its Certificate Principal Balance has been reduced
                              to zero; and

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                           (0)    for application as part of Monthly Excess Cashflow for such distribution date,
                                  as described under "--Credit Enhancement---Overcollateralization" below,
                                  any such Principal Payment Amount remaining after application pursuant to
                                  clauses II(A) through (N) above.

                            The foregoing notwithstanding, on and after the distribution date on which the
           aggregate Certificate Principal Balance of each class of Subordinate Certificates has been reduced to
           zero, distributions to the Group II Certificates will be allocated to the Class 11-A-1, Class 11-A-2,
           Class 11-A-3 and Class 11-A-4 Certificates, on a pro rata basis based on the Certificate Principal
           Balance of each such class, until the Certificate Principal Balance of each such class has been
           reduced to zero.

           Credit Enhancement

                           Credit enhancement for each class of certificates consists of the subordination of
           certain classes of Subordinate Certificates and the priority of application of Realized Losses and
           overcollateralization, in each case as described below.

           Subordination

                           The rights of holders of the Subordinate Certificates to receive payments with respect
           to the Mortgage Loans, the Basis Risk Cap Agreement, the Interest Rate Swap Agreement and the
           Interest Rate Cap Agreement will be subordinated to such rights of holders of the Senior Certificates,
           and the rights of the holders of each class of Subordinate Certificates to receive payments with
           respect to the Mortgage Loans, the Basis Risk Cap Agreement, the Interest Rate Swap Agreement
           and the Interest Rate Cap Agreement will be subordinated to such rights of holders of each class of
           certificates having a higher priority of payment, as described in this prospectus supplement under
           "-Distributions of Interest" and "-Distributions of Principal". This subordination is intended to
           enhance the likelihood of regular receipt by holders of certificates having a higher priority of
           payment of the full amount of interest and principal distributable thereon, and to afford such
           certificateholders limited protection against Realized Losses incurred with respect to the Mortgage
           Loans.

                            The limited protection afforded to holders of classes of certificates with a higher
           priority of payment by means of the subordination of certain classes of certificates having a lower
           priority of payment will be accomplished by the preferential right of holders of such classes of
           certificates with a higher priority of payment to receive distributions of interest or principal on any
           distribution date prior to classes with a lower priority of payment.

           Application ofRealized Losses

                            Realized Losses on the Mortgage Loans will have the effect of reducing amounts
           payable in respect of the Class X Certificates (both through the application of Monthly Excess
           Interest to fund such deficiency and through a reduction in the Overcollateralization Amount for the
           related distribution date).

                           If on any distribution date, after giving effect to all Realized Losses incurred with
           respect to the Mortgage Loans during the Due Period for such distribution date and payments of
           principal on such distribution date, the aggregate Certificate Principal Balance of the Senior
           Certificates and Subordinate Certificates exceeds the Aggregate Loan Balance for such distribution

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           date (such excess, an "Applied Loss Amount"), such amount will be allocated in reduction of the
           Certificate Principal Balance of first, the Class B-2 Certificates, until the Certificate Principal
           Balance thereof has been reduced to zero; second, the Class B-1 Certificates, until the Certificate
           Principal Balance thereof has been reduced to zero; third the Class M-9 Certificates, until the
           Certificate Principal Balance thereof has been reduced to zero; fourth, the Class M-8 Certificates,
           until the Certificate Principal Balance thereof has been reduced to zero; fifth, the Class M-7
           Certificates, until the Certificate Principal Balance thereof has been reduced to zero; sixth, the Class
           M-6 Certificates, until the Certificate Principal Balance thereof has been reduced to zero; seventh,
           the Class M-5 Certificates, until the Certificate Principal Balance thereof has been reduced to zero;
           eighth, the Class M-4 Certificates, until the Certificate Principal Balance thereof has been reduced to
           zero; ninth, the Class M-3 Certificates, until the Certificate Principal Balance thereof has been
           reduced to zero; tenth, the Class M-2 Certificates, until the Certificate Principal Balance thereof has
           been reduced to zero; and eleventh, the Class M-1 Certificates, until the Certificate Principal Balance
           thereof has been reduced to zero. In no event will the Certificate Principal Balances of the Senior
           Certificates be reduced by any Applied Loss Amount.

                         Holders of the Subordinate Certificates will not receive any payments in respect of
           Applied Loss Amounts, except to the extent of available Monthly Excess Cashflow as described
           below and amounts paid under the Interest Rate Swap Agreement and the Interest Rate Cap
           Agreement as described in this prospectus supplement.

           Overcollateralization

                           The weighted average Net Mortgage Rate of the Mortgage Loans is generally
           expected to be higher than the weighted average of the pass-through rates of the Senior Certificates
           and Subordinate Certificates plus certain expenses of the trust, thus generating certain excess interest
           collections. Monthly Excess Interest and available amounts paid by the Swap Provider under the
           Interest Rate Swap Agreement and by the Interest Rate Cap Provider under the Interest Rate Cap
           Agreement may be paid as principal to the Senior Certificates and Subordinate Certificates in order
           to restore or maintain the required level of overcollateralization. Such application of interest
           collections and amounts paid under the Interest Rate Swap Agreement and the Interest Rate Cap
           Agreement as payments of principal will cause the aggregate Certificate Principal Balance of the
           Senior Certificates and Subordinate Certificates to amortize more rapidly than the Aggregate Loan
           Balance, thus creating and maintaining overcollateralization. However, Realized Losses on the
           Mortgage Loans will reduce overcollateralization, and could result in an Overcollateralization
           Deficiency Amount.

                          On each distribution date, the Monthly Excess Cashflow will be distributed in the
           following order of priority:


                           (1)     (A)     until the aggregate Certificate Principal Balance of the Senior
                                   Certificates and Subordinate Certificates equals the Aggregate Loan Balance
                                   for such distribution date minus the Targeted Overcollateralization Amount
                                   for such date, on each distribution date (a) prior to the Step down Date or (b)
                                   with respect to which a Trigger Event is in effect, to the extent of Monthly
                                   Excess Interest for such distribution date, to the Senior Certificates and
                                   Subordinate Certificates, in the following order of priority:



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                                    (i)     (a)     the Group I Excess Interest Amount in the following
                                    order of priority: (x) first, to the Class I-A-1 Certificates, until its
                                    Certificate Principal Balance has been reduced to zero, and then (y)
                                    sequentially, to the Class II-A-1, Class II-A-2, Class II-A-3 and Class
                                    II-A-4 Certificates, in that order, after taking into account the
                                    distribution of the Group II Excess Interest Amount, until the
                                    Certificate Principal Balance of each such class has been reduced to
                                    zero;

                                             (b)     the Group II Excess Interest Amount in the following
                                    order of priority: (x) first, sequentially, to the Class II-A-1, Class II-
                                    A-2, Class II-A-3 and Class II-A-4 Certificates, in that order, until the
                                    Certificate Principal Balance of each such class has been reduced to
                                    zero, and then (y) to the Class I-A-1 Certificates, after taking into
                                    account the distribution of the Group I Excess Interest Amount, until
                                    its Certificate Principal Balance has been reduced to zero;

                                    (ii)   to the Class M-1 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (iii)  to the Class M-2 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (iv)   to the Class M-3 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (v)    to the Class M-4 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (vi)   to the Class M-5 Certificates, until the Certificate Principal
                                    Balance thereof has been reduced to zero;

                                    (vii) to the Class M-6 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (viii) to the Class M-7 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (ix)   to the Class M-8 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (x)    to the Class M-9 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;

                                    (xi)   to the Class B-1 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero; and

                                    (xii) to the Class B-2 Certificates, until its Certificate Principal
                                    Balance has been reduced to zero;



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                         (B)     on each distribution date on or after the Stepdown Date and with respect to
                                 which a Trigger Event is not in effect, to fund any principal distributions
                                 required to be made on such distribution date set forth above in subclause II
                                 under "-Distributions of Principal", after giving effect to the distribution of
                                 the Principal Payment Amount for such date, in accordance with the priorities
                                 set forth therein;

                         (2)     to the Class M-1 Certificates, any Deferred Amount for such class;

                         (3)     to the Class M-2 Certificates, any Deferred Amount for such class;

                         (4)     to the Class M-3 Certificates, any Deferred Amount for such class;

                         (5)     to the Class M-4 Certificates, any Deferred Amount for such class;

                         (6)     to the Class M-5 Certificates, any Deferred Amount for such class;

                         (7)     to the Class M-6 Certificates, any Deferred Amount for such class;

                         (8)     to the Class M-7 Certificates, any Deferred Amount for such class;

                         (9)     to the Class M-8 Certificates, any Deferred Amount for such class;

                         (1 0)   to the Class M-9 Certificates, any Deferred Amount for such class;

                         (11)    to the Class B-1 Certificates, any Deferred Amount for such class;

                         (12)    to the Class B-2 Certificates, any Deferred Amount for such class;

                         (13)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                 Shortfall Reserve Fund to the Class 1-A-1, Class II-A-1, Class II-A-2, Class
                                 II-A-3 and Class II-A-4 Certificates, concurrently, any Basis Risk Shortfall
                                 for each such class, on a pro rata basis based on the entitlement of each such
                                 class;

                         (14)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                 Shortfall Reserve Fund to the Class M-1 Certificates, any Basis Risk Shortfall
                                 for such class;

                         (15)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                 Shortfall Reserve Fund to the Class M-2 Certificates, any Basis Risk Shortfall
                                 for such class;

                         (16)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                 Shortfall Reserve Fund to the Class M-3 Certificates, any Basis Risk Shortfall
                                 for such class;

                         (17)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                 Shortfall Reserve Fund to the Class M-4 Certificates, any Basis Risk Shortfall
                                 for such class;


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                          (18)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class M-5 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (19)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class M-6 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (20)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class M-7 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (21)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class M-8 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (22)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class M-9 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (23)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class B-1 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (24)    to the Basis Risk Shortfall Reserve Fund and then from the Basis Risk
                                  Shortfall Reserve Fund to the Class B-2 Certificates, any Basis Risk Shortfall
                                  for such class;

                          (25)    to the Supplemental Interest Trust, any Swap Termination Payment owed to
                                  the Swap Provider in the event of a Swap Provider Trigger Event and the
                                  Swap Provider is a Defaulting Party or the sole Affected Party (as defined in
                                  the ISDA Master Agreement) not paid on prior distribution dates and to the
                                  extent not paid by the securities administrator from any upfront payment
                                  received pursuant to any replacement interest rate swap agreement that may
                                  be entered into by the Supplemental Interest Trust Trustee;

                          (26)    to the Class X Certificates, the amount distributable to such class pursuant to
                                  the pooling and servicing agreement; and

                          (27)    to the Class R Certificates, any remaining amount. It is not anticipated that
                                  any amounts will be distributed to the Class R Certificates under this
                                  clause (27).

                          Notwithstanding the foregoing, distributions pursuant to subparagraphs (2) through
           (24) above on any distribution date will be made after giving effect to payments received pursuant to
           the Basis Risk Cap Agreement, the Interest Rate Swap Agreement and the Interest Rate Cap
           Agreement.




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            The Class P Certificates

                            On each distribution date, all amounts representing Prepayment Charges in respect of
            the Mortgage Loans received during the related Prepayment Period will be withdrawn from the
            Distribution Account and distributed to the Class P Certificates and shall not be available for
            distribution to the holders of any other class of certificates. The payment of such Prepayment
            Charges shall not reduce the Certificate Principal Balance of the Class P Certificates.

                            On the distribution date in November 2011, the securities administrator shall make a
            payment of principal to the Class P Certificates in reduction of the Certificate Principal Balance
            thereof from amounts on deposit in a separate reserve account established and maintained by the
            securities administrator for the exclusive benefit of the Class P Certificateholders.

            Table of Fees and Expenses

                         The following table indicates the fees and expenses to be paid from the cash flows
            from the Mortgage Loans and other assets of the trust fund, while the Offered Certificates are
            outstanding.

                           All fees are expressed in basis points, at an annualized rate, applied to the outstanding
            aggregate principal balance of the Mortgage Loans.

                    Item                          Fee or Expense               Paid To              Paid From             Frequency
         Master Servicing   Fee 0 X2 lC 3l   0. 0 110% per annum of the master servicer       Mortgage Loan interest        Monthly
                                             Stated Principal Balance of                      collections
                                             each Mortgage Loan

         Servicing FeeC3l                    0.5000% per annum of the servicer                Mortgage Loan interest        Monthly
                                             Stated Principal Balance of                      collections
                                             each Mortgage Loan

         P&I      Advances          and      To the extent of funds         servicer     or   With respect to each        Time to Time
         Servicing Advances                  available, the amount of any   master            Mortgage Loan, late
                                             advances      and  servicing   servicer,    as   recoveries     of     the
                                             advances                       applicable        payments of the costs
                                                                                              and expenses, liquidation
                                                                                              proceeds,    Subsequent
                                                                                              Recoveries,     purchase
                                                                                              proceeds or repurchase
                                                                                              proceeds     for     that
                                                                                              Mortgage Loan
         Nonrecoverable Advances             The amount of any advances     servicer     or   All collections on the      Time to Time
         and Servicing Advances              and   serv1cmg    advances     master            Mortgage Loans
                                             deemed nonrecovreable          servicer,    as
                                                                            applicable




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                     Item                          Fee or Expense                      Paid To                    Paid From                  Frequency
         Reimbursement for certain          The amount of the expenses,             servicer,             All collections on the            Time to Time
         expenses,         costs   and      costs and liabilities incurred          master                Mortgage Loans
         liabilities incurred by the                                                servicer,
         servicer,       the     master                                             sponsor         or
         servicer, the sponsor or the                                               depositor,      as
         depositor in connection                                                    applicable
         with any legal action
         relating to the pooling and
         servicing agreement or the
         certificates C2 l

         Indemnification expenses           Amounts for which the                   servicer,             All collections on the            Time to Time
                                            servicer, the master servicer,          master                Mortgage Loans
                                            the securities administrator,           servicer,
                                            the custodian, the trustee and          securities
                                            the depositor are entitled to           administrator,
                                            indemnification C4 l                    custodian,
                                                                                    trustee,
                                                                                    sponsor      or
                                                                                    depositor, as
                                                                                    applicable

         Reimbursement for any              The amount incurred by the              trustee       or      All collections on the            Time to Time
         expenses incurred by the           trustee      or       securities        securities            Mortgage Loans
         trustee      or  securities        administrator in connection             administrator
         administrator            in        with a tax audit of the trust
         connection with a tax audit
         of the trust

            (1)
                  The master servicing fee including securities administrator, paying agent, certificate registrar and credit risk manager fees. The
                  master servicer compensation consists of the master servicing fee and any interest or other income earned on funds held in the
                  Distribution Account. Wells Fargo Bank, N.A. performs the functions of securities administrator, paying agent, certificate registrar
                  and credit risk manager and this compensation covers the performance of each of these functions.
            (2)
                  The master servicer pays trustee fees and custodian fees out of its compensation.
            (3)
                  The master servicing fee payable to the master servicer and the servicing fee payable to the servicer are paid on a first priority basis
                  from collections allocable to interest on the Mortgage Loans prior to distributions to the related certificateholders.
            (4)
                  See "The Master Servicer, Securities Administrator and Custodian" and "The Pooling and Servicing Agreement- The Trustee" in
                  this prospectus supplement.


            Calculation of One-Month LIBOR

                             On the second LIBOR business day preceding the commencement of each Interest
            Accrual Period (other than the first Interest Accrual Period) for the Senior Certificates and the
            Subordinate Certificates, which date we refer to as an interest determination date, the securities
            administrator will determine One-Month LIBOR for such Interest Accrual Period on the basis of
            such rate as it appears on Telerate Screen Page 3750, as of 11:00 a.m. London time on such interest
            determination date or an equivalent information system. If such rate does not appear on such page, or
            such other page as may replace that page on that service, or if such service is no longer offered, such
            other service for displaying LIBOR or comparable rates as may be reasonably selected by the
            securities administrator, One-Month LIBOR for the applicable Interest Accrual Period will be the
            Reference Bank Rate. If no such quotations can be obtained and no Reference Bank Rate is available,

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           One-Month LIBOR will be the One-Month LIBOR applicable to the preceding Interest Accrual
           Period. With respect to the first Interest Accrual Period, One-Month LIBOR will be determined two
           business days prior to the Closing Date.

                            The Reference Bank Rate with respect to any Interest Accrual Period, means the
           arithmetic mean, rounded upwards, if necessary, to the nearest whole multiple of 0.03125%, of the
           offered rates for United States dollar deposits for one month that are quoted by the Reference Banks,
           as described below, as of 11:00 a.m., New York City time, on the related interest determination date
           to prime banks in the London interbank market for a period of one month in amounts approximately
           equal to the aggregate Certificate Principal Balance of the Senior Certificates and the Subordinate
           Certificates for such Interest Accrual Period, provided that at least two such Reference Banks provide
           such rate. If fewer than two offered rates appear, the Reference Bank Rate will be the arithmetic
           mean, rounded upwards, ifnecessary, to the nearest whole multiple of0.03125%, of the rates quoted
           by one or more major banks in New York City, selected by the securities administrator, as of 11:00
           a.m., New York City time, on such date for loans in U.S. dollars to leading European banks for a
           period of one month in amounts approximately equal to the aggregate Certificate Principal Balance
           of the related Certificates for such Interest Accrual Period. As used in this section, LIBOR business
           day means any day other than a Saturday or a Sunday or a day on which banking institutions in the
           State of New York or in the city of London, England are required or authorized by law to be closed;
           and "Reference Banks" means leading banks selected by the securities administrator and engaged in
           transactions in Eurodollar deposits in the international Eurocurrency market

                           •       with an established place of business in London,

                           •       which have been designated as such by the securities administrator, and

                           •       which are not controlling, controlled by, or under common control with, the
                                   depositor or the sponsor.

                          The establishment of One-Month LIBOR on each interest determination date by the
           securities administrator and the securities administrator's calculation of the rate of interest applicable
           to the Senior Certificates and Subordinate Certificates for the related Interest Accrual Period shall, in
           the absence of manifest error, be final and binding.

           Reports to Certificateholders

                           The securities administrator will make available to each certificateholder, the
           servicers and the depositor a statement generally setting forth the following information:

                           1.      the Interest Accrual Periods and general distribution dates;

                           2.      with respect to the Mortgage Loans, the total cash flows received and the
                                   general sources thereof;

                           3.      the amount, if any, of fees or expenses accrued and paid, with an
                                   identification of the payee and the general purpose of such fees;

                           4.      the amount of the related distribution to holders of the certificates (by class)
                                   allocable to principal, separately identifying (A) the aggregate amount of any


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                               principal prepayments included therein and (B) the aggregate of all scheduled
                               payments ofprincipal included therein;

                         5.    the amount of such distribution to holders of the certificates (by class)
                               allocable to interest;

                         6.    the Interest Carry Forward Amounts and any Basis Risk Shortfalls for the
                               certificates (if any);

                         7.    the Certificate Principal Balance of the certificates before and after giving
                               effect to the distribution of principal and allocation of Realized Losses on
                               such distribution date;

                         8.    the number and aggregate Scheduled Principal Balance of all the Mortgage
                               Loans for the following distribution date;

                         9.    the Pass-Through Rate for each class of certificates for such distribution date;

                         10.   the aggregate amount of P&I advances included in the distributions on the
                               distribution date, the aggregate amount of unreimbursed advances at the close
                               of business on the distribution date, and the general source of funds for
                               reimbursements;

                         11.   the number and aggregate principal balance of any Mortgage Loans that were
                               (A) delinquent (exclusive of Mortgage Loans in foreclosure) using the "OTS"
                               method (not including any Liquidated Mortgage Loans as of the end of the
                               related Prepayment Period) (1) one scheduled payment is delinquent, (2) two
                               scheduled payments are delinquent, (3) three or more scheduled payments are
                               delinquent and (4) foreclosure proceedings have been commenced, and loss
                               information for the period; the number and aggregate principal balance of any
                               Mortgage Loans in respect of which (A) one scheduled payment is
                               delinquent, (B) two scheduled payments are delinquent, (C) three or more
                               scheduled payments are delinquent and (D) foreclosure proceedings have
                               been commenced, and loss information for the period;

                         12.   the amount, if any, of Monthly Excess Cashflow or and the application of
                               such Monthly Excess Cashflow;

                         13.   the amounts paid by the Basis Risk Cap Provider pursuant to the Basis Risk
                               Cap Agreement in respect of the certificates;

                         14.   the amounts paid by the Swap Provider pursuant to the Interest Rate Swap
                               Agreement in respect of the certificates;

                         15.   the amounts paid by the Interest Rate Cap Provider pursuant to the Interest
                               Rate Cap Agreement in respect of the certificates;

                         16.   with respect to any Mortgage Loan that was liquidated during the preceding
                               calendar month, the loan number and scheduled principal balance of, and



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                                   Realized Loss on, such Mortgage Loan as of the end of the related
                                   Prepayment Period;

                           17.     whether any performance triggers as more completely described m this
                                   prospectus supplement are in effect;

                           18.     the total number and principal balance of any real estate owned, or REO,
                                   properties as of the end of the related Prepayment Period;

                           19.     the cumulative Realized Losses for the Mortgage Pool through the end of the
                                   preceding month;

                           20.     the three-month rolling average of the percent equivalent of a fraction, the
                                   numerator of which is the aggregate scheduled principal balance of the
                                   Mortgage Loans that are 60 days or more delinquent or are in bankruptcy or
                                   foreclosure or are REO properties, and the denominator of which is the
                                   scheduled principal balances of all of the Mortgage Loans; and

                           21.     the amount of the Prepayment Charges remitted by the servicer.

                           On each distribution date, the securities administrator will make the monthly
           statement and, at the securities administrator's option, any additional files containing the same
           information in an alternative format, available each month to certificateholders via the securities
           administrator's internet website. Assistance in using the website service can be obtained by calling
           the securities administrator's customer service desk at (301) 815-6600. Parties that are unable to use
           the above distribution options are entitled to have a paper copy mailed to them via first class mail by
           calling the customer service desk and indicating such. The securities administrator may change the
           way monthly statements are distributed in order to make such distributions more convenient or more
           accessible to the above parties.

                          The annual reports on Form 10-K, the distribution reports on Form 10-D, the current
           reports on Form 8-K and amendments to those reports filed by the securities administrator or
           furnished by the securities administrator with respect to the trust pursuant to section 13(a) or 15(d) of
           the Exchange Act will be made available on the website of the securities administrator as soon as
           reasonably practicable after such material is electronically filed with, or furnished to, the Securities
           and Exchange Commission.

                           In addition, within a reasonable period of time after the end of each calendar year, the
           securities administrator will prepare and deliver, upon request, to each certificateholder of record
           during the previous calendar year a statement containing information necessary to enable
           certificateholders to prepare their tax returns. Such statements will not have been examined and
           reported upon by an independent public accountant.

                          The depositor makes no representation, and does not guarantee that, the securities
           administrator will provide such statements to the certificateholders as described above.




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                                        THE BASIS RISK CAP AGREEMENT

                             The Senior Certificates and Subordinate Certificates will have the benefit of a basis
           risk cap agreement (the "Basis Risk Cap Agreement"). Pursuant to the Basis Risk Cap Agreement,
           HSBC Bank USA, National Association (together with any successor, the "Basis Risk Cap
           Provider") will agree to pay to the trust two business days prior to each distribution date commencing
           with the distribution date in November 2006 and ending with the Distribution Date in April 2007, a
           monthly payment in an amount equal to the product of: (1) the excess, if any, of one-month LIBOR
           (as set forth in the Basis Risk Cap Agreement) over the applicable strike rate (as set forth below) for
           the distribution dates set forth below, up to a maximum rate of 11.00% per annum; (2) the Scheduled
           Notional Amount set forth below for the related distribution date; and (3) a fraction, the numerator of
           which is the actual number of days in the related calculation period (as defined in the Basis Risk Cap
           Agreement), and the denominator of which is 360.

                                                     Scheduled Notional
                  Distribution Date                       Amount($)                   Strike Rate(%)
                  November 2006                       1,200,404,000. 00                 9.551700
                  December 2006                       1,179,969,000.00                  7.960260
                  January 2007                        1' 157,656,000.00                 7.703980
                  February 2007                       1,133,542,000.00                  7.704510
                  March 2007                          1' 107,702,000.00                 8.530590
                  April2007                           1,080,224,000.00                  7.705610
                  May 2007                                         0.00                 0.000000


                           On each distribution date, amounts received under the Basis Risk Cap Agreement
           shall be deposited in the Basis Risk Shortfall Reserve Fund and distributed to the Senior Certificates
           and Subordinate Certificates in respect of Basis Risk Shortfalls for each such class for such
           distribution date in the order of priority set forth under "-Credit Enhancement-
           Overcollateralization" prior to giving effect to any amounts deposited in the Basis Risk Shortfall
           Reserve Fund from Net Monthly Excess Cashflow on such distribution date.

                           The obligations of the Basis Risk Cap Provider to pay specified amounts due under
           the Basis Risk Cap Agreement (other than Basis Risk Cap Termination Payments (as defined below))
           will be subject to the following conditions precedent: (1) no Basis Risk Cap Event of Default or
           event that with the giving of notice or lapse of time or both would become a Basis Risk Cap Event of
           Default, shall have occurred and be continuing with respect to the Basis Risk Cap Agreement and (2)
           no "Early Termination Date" (as defined in the Basis Risk Cap Agreement) has occurred or been
           effectively designated with respect to the Basis Risk Cap Agreement.

                           Events of default under the Basis Risk Cap Agreement (each a "Basis Risk Cap Event
           of Default") include the following:

                           •      failure to make a payment due under the Basis Risk Cap Agreement after
                                  notice of such failure is received and expiration of a specified grace period,

                           •      certain insolvency or bankruptcy events, and




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                          •       a merger by the Basis Risk Cap Provider without an assumption of its
                                  obligations under the Basis Risk Cap Agreement,

           each as further described in the Basis Risk Cap Agreement.

                         Termination events under the Basis Risk Cap Agreement (each a "Basis Risk Cap
           Termination Event") include the following:

                          •       illegality (which generally relates to changes in law causing it to become
                                  unlawful for either party to perform its obligations under the Basis Risk Cap
                                  Agreement),

                          •       tax event (which generally relates to the trustee receiving a payment under the
                                  Basis Risk Cap Agreement from which an amount has been deducted or
                                  withheld for or on account of taxes or paying an additional amount on
                                  account of an indemnifiable tax, as defined in the Basis Risk Cap Agreement,
                                  in either case as a result of a change in tax law) and

                          •       tax event upon merger (which generally relates to the trustee receiving a
                                  payment under the Basis Risk Cap Agreement from which an amount has
                                  been deducted or withheld for or on account of an indemnifiable tax or paying
                                  an additional amount on account of an indemnifiable tax, in either case as a
                                  result of a merger or similar transaction),

           each as further described in the Basis Risk Cap Agreement.

                         Additional termination events under the Basis Risk Cap Agreement (each a "Basis
           Risk Cap Additional Termination Event"), include the following:

                          •       failure of the Basis Risk Cap Provider to comply with the Basis Risk Cap
                                  Downgrade Provisions,

                          •       failure of the Basis Risk Cap Provider to comply with the Regulation AB
                                  provisions of the Basis Risk Cap Agreement, and

                          •       occurrence of an optional termination of the securitization pursuant to the
                                  terms of the pooling and servicing agreement,

           each as further described in the Basis Risk Cap Agreement.

                           If the Basis Risk Cap Provider's credit ratings are withdrawn or reduced below the
           levels specified in the Basis Risk Cap Agreement, then, unless each rating agency has reconfirmed
           the ratings which were in effect immediately prior to such withdrawal or reduction for all securities
           the ratings for which are supported by the Basis Risk Cap Agreement, the Basis Risk Cap Provider
           will be required, at its own expense, either (1) to obtain a substitute basis risk cap provider which
           will assume the obligations of the Basis Risk Cap Provider under the Basis Risk Cap Agreement and
           which meets all rating agency requirements and any third party consent requirements provided
           therein or in any related documentation, or (2) to establish any other arrangement specified in the
           Basis Risk Cap Agreement that meets all rating agency requirements and any third party consent


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           requirements provided therein or in any related documentation (collectively, the "Basis Risk Cap
           Downgrade Provisions").

                           Upon the occurrence of a Basis Risk Cap Event of Default, the non-defaulting party
           will have the right to designate an early termination date (an "Early Termination Date"). Upon the
           occurrence of a Basis Risk Cap Termination Event or a Basis Risk Cap Additional Termination
           Event, an Early Termination Date may be designated by one of the parties as specified in the Basis
           Risk Cap Agreement, and will occur only upon notice and, in some circumstances, after any affected
           party has used reasonable efforts to transfer its rights and obligations under the Basis Risk Cap
           Agreement to a related entity within a specified period after notice has been given of the Basis Risk
           Cap Termination Event, all as set forth in the Basis Risk Cap Agreement. The occurrence of an Early
           Termination Date under the Basis Risk Cap Agreement will constitute a "Basis Risk Cap Early
           Termination."

                           Upon a Basis Risk Cap Early Termination, the Basis Risk Cap Provider may be liable
           to make a termination payment (the "Basis Risk Cap Termination Payment") to the securities
           administrator, regardless, if applicable, of which of the parties has caused the termination. The Basis
           Risk Cap Termination Payment will be based on the value of the Basis Risk Cap Agreement
           computed in accordance with the procedures set forth in the Basis Risk Cap Agreement.

                           Upon a Basis Risk Cap Early Termination other than in connection with the optional
           termination of the trust, the securities administrator shall, at the direction of the depositor, appoint a
           successor basis risk cap provider. If the securities administrator receives a Basis Risk Cap
           Termination Payment from the Basis Risk Cap Provider in connection with such Basis Risk Cap
           Early Termination, the securities administrator will apply such Basis Risk Cap Termination Payment
           to any upfront payment required to appoint the successor basis risk cap provider. If the securities
           administrator is unable to appoint a successor basis risk cap provider within 30 days of the Basis Risk
           Cap Early Termination, then the securities administrator will deposit any Basis Risk Cap
           Termination Payment received from the original Basis Risk Cap Provider into a separate, non-
           interest bearing reserve account and will, on each subsequent distribution date, withdraw from the
           amount then remaining on deposit in such reserve account an amount equal to payment, if any, that
           would have been paid to the securities administrator by the original Basis Risk Cap Provider
           calculated in accordance with the terms of the original Basis Risk Cap Agreement, and distribute
           such amount in accordance with the terms of the pooling and servicing agreement.

                           Upon a Basis Risk Cap Early Termination in connection with the optional
           termination of the trust, if the securities administrator receives a Basis Risk Cap Termination
           Payment from the Basis Risk Cap Provider in connection with such Basis Risk Cap Early
           Termination, such Basis Risk Cap Termination Payment generally will not be available to
           certificateholders; rather, the securities administrator will distribute such Swap Termination Payment
           in accordance with the terms of the pooling and servicing agreement.

                           The significance percentage of the Basis Risk Cap Agreement, as calculated in
           accordance with Item 1115 of Regulation AB, is less than 10%. The Basis Risk Cap Agreement will
           provide that the Basis Risk Cap Provider may be replaced in certain circumstances, including if the
           significance percentage of the Basis Risk Cap Agreement is equal to or greater than 10%.




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                                    THE INTEREST RATE SWAP AGREEMENT

                            HSBC Bank USA, National Association as trustee (the "Supplemental Interest Trust
           Trustee") on behalf of a separate trust created under the pooling and servicing agreement (the
           "Supplemental Interest Trust") will enter into an interest rate swap agreement (the "Interest Rate
           Swap Agreement") with HSBC Bank USA, National Association (the "Swap Provider"). The Interest
           Rate Swap Agreement will be held in the Supplemental Interest Trust. The Supplemental Interest
           Trust Trustee will appoint the securities administrator to receive and distribute funds with regard to
           the Interest Rate Swap Agreement on behalf of the Supplemental Interest Trust. On each distribution
           date, the securities administrator will deposit into an account held in the Supplemental Interest Trust
           (the "Derivative Account"), certain amounts, if any, received from the Swap Provider. For the
           avoidance of doubt, the Supplemental Interest Trust, the Interest Rate Swap Agreement, and the
           Derivative Account will not be assets of any REMIC.

                            Pursuant to the Interest Rate Swap Agreement, two business days prior to each
           distribution date commencing on the distribution date occurring in May 2007 and terminating
           immediately following the distribution date in October 2011 (i) the securities administrator (on
           behalf of the Supplemental Interest Trust and from funds of such trust) will be obligated to pay to the
           Swap Provider, a fixed amount equal to the product of (x) a fixed rate equal to 5.25% per annum, (y)
           the Swap Scheduled Notional Amount (as defined below) for that distribution date and (z) a fraction,
           the numerator of which is 30 and the denominator of which is 360, and (ii) the Swap Provider will be
           obligated to pay to the Supplemental Interest Trust for the benefit of the holders of the Senior
           Certificates and Subordinate Certificates, a floating amount equal to the product of (x) One-Month
           LIBOR, as determined pursuant to the Interest Rate Swap Agreement, for the related calculation
           period (as defined in the Interest Rate Swap Agreement), (y) the Swap Scheduled Notional Amount
           for that distribution date, and (z) a fraction, the numerator of which is equal to the actual number of
           days in the related calculation period and the denominator of which is 360. A net payment will be
           required to be made on each distribution date (each such net payment, a "Net Swap Payment") (a) by
           the securities administrator to the Swap Provider, to the extent that the fixed amount exceeds the
           corresponding floating amount, or (b) by the Swap Provider to the securities administrator, to the
           extent that the floating amount exceeds the corresponding fixed amount. For each distribution date in
           respect of which the securities administrator is required to make a Net Swap Payment to the Swap
           Provider, the trust will be required to make a payment to the securities administrator in the same
           amount.

                         The "Swap Scheduled Notional Amount" for each distribution date will be equal to
           the amount set forth below for such distribution date. The Interest Rate Swap Agreement will
           terminate immediately following the distribution date in October 2011, unless terminated earlier
           upon the occurrence of a Swap Event of Default, a Swap Termination Event or a Swap Additional
           Termination Event (each as defined below).

                                                             Swap Scheduled Notional
                      Distribution Date                            Amount($)
                      May 2007                                  1,002,021,000
                      June 2007                                   954,255,000
                      July 2007                                   908,034,000
                      August 2007                                 864,000,000
                      September 2007                              822,048,000
                      October 2007                                782,080,000


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                                                  Swap Scheduled Notional
                      Distribution Date                 Amount($)
                      November 2007                   744,000,000
                      December 2007                   707,720,000
                      January 2008                    673,153,000
                      February 2008                   640,219' 000
                      March 2008                      608,839,000
                      April2008                       578,941,000
                      May 2008                        550,454,000
                      June 2008                       125,955,000
                      July 2008                       120,347,000
                      August 2008                     115,052,000
                      September 2008                   110,044,000
                      October 2008                     105,301,000
                      November 2008                    100,965,000
                      December 2008                     96,944,000
                      January 2009                      93,083,000
                      February 2009                     89,378,000
                      March 2009                        85,821,000
                      April2009                         82,406,000
                      May 2009                          79,128,000
                      June 2009                         73,880,000
                      July 2009                         70,986,000
                      August 2009                       68,205,000
                      September 2009                    65,533,000
                      October 2009                      62,965,000
                      November 2009                     60,498,000
                      December 2009                     58,127,000
                      January 2010                      55,849,000
                      February 2010                     53,660,000
                      March 2010                        51,556,000
                      April2010                         49,535,000
                      May 2010                          47,592,000
                      June 2010                         45,726,000
                      July 2010                         43,932,000
                      August 2010                       42,209,000
                      September 2010                    40,553,000
                      October 2010                      38,962,000
                      November 2010                     37,433,000
                      December 2010                     35,964,000
                      January 2011                      34,552,000
                      February 2011                     33,196,000
                      March 2011                        31,892,000
                      April2011                         30,640,000
                      May 2011                          29,381,000
                      June 2011                         28,228,000
                      July 2011                         27,120,000
                      August 2011                       26,055,000
                      September 2011                    25,032,000

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                                                            Swap Scheduled Notional
                      Distribution Date                           Amount($)
                      October 2011                                24,049,000

                           The respective obligations of the Swap Provider and the Supplemental Interest Trust
           to pay specified amounts due under the Interest Rate Swap Agreement (other than Swap Termination
           Payments (as defined below)) will be subject to the following conditions precedent: (1) no Swap
           Event of Default or event that with the giving of notice or lapse of time or both would become a
           Swap Event of Default, shall have occurred and be continuing with respect to the Interest Rate Swap
           Agreement and (2) no "Early Termination Date" (as defined in the Interest Rate Swap Agreement)
           has occurred or been effectively designated with respect to the Interest Rate Swap Agreement.

                          Events of default under the Interest Rate Swap Agreement (each a "Swap Event of
           Default") include the following:

                          •       failure to make a payment due under the Interest Rate Swap Agreement after
                                  notice of such failure is received and expiration of a specified grace period,

                          •       certain insolvency or bankruptcy events, and

                          •       a merger by the Swap Provider without an assumption of its obligations under
                                  the Interest Rate Swap Agreement,

           each as further described in the Interest Rate Swap Agreement.

                         Termination events under the Interest Rate Swap Agreement (each a "Swap
           Termination Event") include the following:

                          •       illegality (which generally relates to changes in law causing it to become
                                  unlawful for either party to perform its obligations under the Interest Rate
                                  Swap Agreement),

                          •       tax event (which generally relates to either party to the Interest Rate Swap
                                  Agreement receiving a payment under the Interest Rate Swap Agreement
                                  from which an amount has been deducted or withheld for or on account of
                                  taxes or paying an additional amount on account of an indemnifiable tax, as
                                  defined in the Interest Rate Swap Agreement, in either case as a result of a
                                  change in tax law) and

                          •       tax event upon merger (which generally relates to either party to the Interest
                                  Rate Swap Agreement receiving a payment under the Interest Rate Swap
                                  Agreement from which an amount has been deducted or withheld for or on
                                  account of an indemnifiable tax or paying an additional amount on account of
                                  an indemnifiable tax, in either case as a result of a merger or similar
                                  transaction),

           each as further described in the Interest Rate Swap Agreement.




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CON Fl DENTIAL                                                                                               FHFA04178976
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                         Additional termination events under the Interest Rate Swap Agreement (each a
           "Swap Additional Termination Event"), include the following:

                          •       failure of the Swap Provider to comply with the Swap Downgrade Provisions,

                          •       failure of the Swap Provider to comply with the Regulation AB provisions of
                                  the Interest Rate Swap Agreement,

                          •       occurrence of an optional termination of the securitization pursuant to the
                                  terms of the pooling and servicing agreement, and

                          •       amendment of the pooling and servicing agreement in a manner that may
                                  materially adversely affect the Swap Provider without the prior written
                                  consent of the Swap Provider,

           each as further described in the Interest Rate Swap Agreement.

                            If the Swap Provider's credit ratings are withdrawn or reduced below the levels
           specified in the Interest Rate Swap Agreement, then, unless each rating agency has reconfirmed the
           ratings which were in effect immediately prior to such withdrawal or reduction for all securities the
           ratings for which are supported by the Interest Rate Swap Agreement, the Swap Provider will be
           required, at its own expense, either (1) to obtain a substitute swap provider which will assume the
           obligations of the Swap Provider under the Interest Rate Swap Agreement and which meets all rating
           agency requirements and any third party consent requirements provided therein or in any related
           documentation, or (2) to establish any other arrangement specified in the Interest Rate Swap
           Agreement that meets all rating agency requirements and any third party consent requirements
           provided therein or in any related documentation (collectively, the "Swap Downgrade Provisions").

                            Upon the occurrence of a Swap Event of Default, the non-defaulting party will have
           the right to designate an early termination date (an "Early Termination Date"). Upon the occurrence
           of a Swap Termination Event or a Swap Additional Termination Event, an Early Termination Date
           may be designated by one of the parties as specified in the Interest Rate Swap Agreement, and will
           occur only upon notice and, in some circumstances, after any affected party has used reasonable
           efforts to transfer its rights and obligations under the Interest Rate Swap Agreement to a related
           entity within a specified period after notice has been given of the Swap Termination Event, all as set
           forth in the Interest Rate Swap Agreement. The occurrence of an Early Termination Date under the
           Interest Rate Swap Agreement will constitute a "Swap Early Termination."

                           Upon a Swap Early Termination, the securities administrator or the Swap Provider
           may be liable to make a swap termination payment (the "Swap Termination Payment") to the other,
           regardless, if applicable, of which of the parties has caused the termination. The Swap Termination
           Payment will be based on the value of the Interest Rate Swap Agreement computed in accordance
           with the procedures set forth in the Interest Rate Swap Agreement. In the event that the securities
           administrator is required to make a Swap Termination Payment to the Swap Provider, the trust will
           be required to make a payment to the securities administrator in the same amount (to the extent such
           Swap Termination Payment has not been paid by the securities administrator from any upfront
           payment received pursuant to any replacement interest rate swap agreement that may be entered into
           by the Supplemental Interest Trust Trustee). In the case of a Swap Termination Payment not
           triggered by a Swap Provider Trigger Event (as defined in this prospectus supplement), the trust will


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           be required to make such payment on the related distribution date, and on any subsequent
           Distribution Dates until paid in full, prior to distributions to certificateholders. In the case of a Swap
           Termination Payment triggered by a Swap Provider Trigger Event, the trust's obligation to make
           such payment generally will be subordinated to distributions to the holders of the Offered Certificates
           to the extent described in the pooling and servicing agreement.

                           Upon a Swap Early Termination other than in connection with the optional
           termination with respect to the Mortgage Loans, the securities administrator shall, at the direction of
           the depositor, appoint a successor swap provider. If the securities administrator receives a Swap
           Termination Payment from the Swap Provider in connection with such Swap Early Termination, the
           securities administrator will apply such Swap Termination Payment to any upfront payment required
           to appoint the successor swap provider. If the securities administrator is required to pay a Swap
           Termination Payment to the Swap Provider in connection with such Swap Early Termination, the
           securities administrator will apply any upfront payment received from the successor swap provider to
           pay such Swap Termination Payment. If the securities administrator is unable to appoint a successor
           swap provider within 30 days of the Swap Early Termination, then the securities administrator will
           deposit any Swap Termination Payment received from the original Swap Provider into a separate,
           non-interest bearing reserve account and will, on each subsequent distribution date, withdraw from
           the amount then remaining on deposit in such reserve account an amount equal to the Net Swap
           Payment, if any, that would have been paid to the securities administrator by the original Swap
           Provider calculated in accordance with the terms of the original Interest Rate Swap Agreement, and
           distribute such amount in accordance with the terms of the pooling and servicing agreement.

                            Upon a Swap Early Termination in connection with the optional termination of the
           trust, if the securities administrator is required to make a Swap Termination Payment to the Swap
           Provider, the party exercising such optional termination with respect to the Mortgage Loans will be
           required to include in its payment an amount equal to such Swap Termination Payment, as described
           in this prospectus supplement. If the securities administrator receives a Swap Termination Payment
           from the Swap Provider in connection with such Swap Early Termination, such Swap Termination
           Payment generally will not be available to certificateholders; rather, the securities administrator will
           distribute such Swap Termination Payment in accordance with the terms of the pooling and servicing
           agreement.

                           A "Swap Provider Trigger Event" will mean: (i) a Swap Event of Default under the
           Interest Rate Swap Agreement with respect to which the Swap Provider is a Defaulting Party (as
           defined in the Interest Rate Swap Agreement), (ii) a Swap Termination Event under the Interest Rate
           Swap Agreement with respect to which the Swap Provider is the sole Affected Party (as defined in
           the Interest Rate Swap Agreement) or (iii) a Swap Additional Termination Event under the Interest
           Rate Swap Agreement with respect to which the Swap Provider is the sole Affected Party.

                           The significance percentage of the Interest Rate Swap Agreement, as calculated in
           accordance with Item 1115 of Regulation AB, is less than 10%. The Interest Rate Swap Agreement
           will provide that the Swap Provider may be replaced in certain circumstances, including if the
           significance percentage of the Interest Rate Swap Agreement is equal to or greater than 10%.

                         Any Net Swap Payment payable to the securities administrator on behalf of the
           Supplemental Interest Trust by the Swap Provider will be distributed on the related distribution date
           as follows (after taking into account distributions of interest described in this prospectus
           supplement):


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                           (i)      to the Senior Certificates, pro rata based on amounts due, Current Interest and
                           any Carryforward Interest for each such class and distribution date, after giving effect
                           to distributions of such amounts as described under "-Distributions oflnterest";

                           (ii)    to the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-6,
                           Class M-7, Class M-8, Class M-9, Class B-1 and Class B-2 Certificates, in that order,
                           Current Interest and any Carryforward Interest for each such class and distribution
                           date, after giving effect to distributions of such amounts as described under "-
                           Distributions of Interest";

                           (iii)   to the holders of the class or classes of Senior Certificates and Subordinate
                           Certificates then entitled to receive distributions in respect of principal, in an amount
                           necessary to maintain or restore the Targeted Overcollateralization Amount after
                           taking into account distributions made pursuant to clause (1) under "-Credit
                           Enhancement-Overcollateralization";

                           (iv)   to the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-6,
                           Class M-7, Class M-8, Class M-9, Class B-1 and Class B-2 Certificates, in that order,
                           any applicable Deferred Amounts, with interest thereon at the applicable pass-
                           through rate, prior to giving effect to amounts available to be paid in respect of
                           Deferred     Amounts      as    described      under  "-Credit     Enhancement-
                           Overcollateralization" on such distribution date;

                           (v)     to the Senior Certificates, on a pro rata basis, and then to the Subordinate
                           Certificates, on a sequential basis, any applicable Basis Risk Shortfalls, prior to
                           giving effect to any withdrawals from the Basis Risk Shortfall Reserve Fund or from
                           amounts available to be paid in respect of Basis Risk Shortfalls as described in this
                           prospectus supplement under "-Credit Enhancement-Overcollateralization" on
                           such distribution date; and

                           (vi)    to the Class X Certificates, any remaining amounts.

                        Notwithstanding the foregoing, in no instance will such payments (other than
           payments made under clause (vi) above) be made other than to the extent of losses and Basis Risk
           Shortfalls.

                           Amounts payable by the trust to the securities administrator in respect of Net Swap
           Payments and Swap Termination Payments other than Swap Termination Payments resulting from a
           Swap Provider Trigger Event (and to the extent not paid by the securities administrator from any
           upfront payment received pursuant to any replacement interest rate swap agreement that may be
           entered into by the Supplemental Interest Trust Trustee) will be deducted from related available
           funds before distributions to the holders of the Senior Certificates and Subordinate Certificates. On or
           before each distribution date, such amounts will be distributed by the trust to the securities
           administrator, and paid by the securities administrator to the Swap Provider as follows:

                           (i)     first to make any Net Swap Payment owed to the Swap Provider pursuant to
                   the Interest Rate Swap Agreement for such distribution date, and

                          (ii)    second to make any Swap Termination Payment not due to a Swap Provider
                   Trigger Event owed to the Swap Provider pursuant to the Interest Rate Swap Agreement (to

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CON Fl DENTIAL                                                                                                   FHFA04178979
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                   the extent not paid by the secunt1es administrator from any upfront payment received
                   pursuant to any replacement interest rate swap agreement that may be entered into by the
                   securities administrator).

                            The Interest Rate Swap Agreement will be governed by and construed in accordance
           with the laws of the State of New York. The obligations of the Swap Provider are limited to those
           specifically set forth in the Interest Rate Swap Agreement.

                                      THE INTEREST RATE CAP AGREEMENT

                           HSBC Bank USA, National Association as Supplemental Interest Trust Trustee on
           behalf of the Supplemental Interest Trust will enter into an interest rate cap agreement (the "Interest
           Rate Cap Agreement") with HSBC Bank USA, National Association (the "Interest Rate Cap
           Provider"). The Interest Rate Cap Agreement will be held in the Supplemental Interest Trust. The
           Supplemental Interest Trust Trustee will appoint the securities administrator to receive and distribute
           funds with regards to the Interest Rate Cap Agreement on behalf of the Supplemental Interest Trust.
           On each distribution date, the securities administrator will deposit into the Derivative Account,
           certain amounts, if any, received from the Interest Rate Cap Agreement. For the avoidance of doubt,
           the Supplemental Interest Trust, the Interest Rate Cap Agreement, and the Derivative Account will
           not be assets of any REMIC.

                            Two business days prior to each distribution date beginning with the distribution date
           in June 2008 through and including the distribution date in October 2011, the Interest Rate Cap
           Provider will agree to pay to the securities administrator on behalf of the Supplemental Interest Trust
           a monthly payment in an amount equal to the product of (1) the excess, if any, of one-month LIBOR
           (as determined pursuant to the Interest Rate Cap Agreement and subject to a maximum of 9.50%)
           over 5.25%; (2) the scheduled cap notional amount (the "Scheduled Cap Notional Amount") for the
           related distribution date as set forth below; and (3) a fraction, the numerator of which is the actual
           number of days in the related Calculation Period (as defined in the Interest Rate Cap Agreement),
           and the denominator of which is 360.

                           Pursuant to the Interest Rate Cap Agreement and the pooling and serv1cmg
           agreement, the securities administrator will deposit into the Derivative Account, from amounts, if
           any, received under the Interest Rate Cap Agreement, an amount equaling Current Interest and
           Carryforward Interest remaining unpaid, Basis Risk Shortfalls, amounts necessary to restore or
           maintain the Targeted Overcollateralization Amount and Deferred Amounts on the Senior
           Certificates and Subordinate Certificates, in each case, prior to taking into account distribution of the
           Monthly Excess Cashflow as described in "Credit Enhancement-Overcollateralization," but after
           taking into account withdrawals from the Basis Risk Shortfall Reserve Fund in respect of amounts
           deposited therein under the Basis Risk Cap Agreement as described under "The Basis Risk Cap
           Agreement" and payments made pursuant to the Interest Rate Swap Agreement as described in "The
           Interest Rate Swap Agreement."

                                                               Scheduled Cap Notional
                      Distribution Date                              Amount($)
                      June 2008                                     383,085,000
                      July 2008                                     332,251,000
                      August 2008                                   287,749,000
                      September 2008                                248,791,000

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                                                             Scheduled Cap Notional
                      Distribution Date                            Amount($)
                      October 2008                                214,684,000
                      November 2008                               199,889,000
                      December 2008                               186,974,000
                      January 2009                                174,802,000
                      February 2009                               163,323,000
                      March 2009                                  152,498,000
                      April2009                                   142,290,000
                      May 2009                                    132,664,000
                      June 2009                                   125,686,000
                      July 2009                                   116,998,000
                      August 2009                                 108,804,000
                      September 2009                              101,077,000
                      October 2009                                 93,789,000
                      November 2009                                86,915,000
                      December 2009                                89,286,000
                      January 2010                                 91,564,000
                      February 2010                                90,335,000
                      March 2010                                   85,235,000
                      April2010                                    80,201,000
                      May 2010                                     75,363,000
                      June 2010                                    70,797,000
                      July 2010                                    66,491,000
                      August 2010                                  62,429,000
                      September 2010                               58,597,000
                      October 2010                                 54,981,000
                      November 2010                                51,570,000
                      December 2010                                48,352,000
                      January 2011                                 45,316,000
                      February 2011                                42,451,000
                      March 2011                                   39,748,000
                      April2011                                    37,197,000
                      May 2011                                     34,846,000
                      June 2011                                    32,572,000
                      July 2011                                    30,423,000
                      August 2011                                  28,394,000
                      September 2011                               26,480,000
                      October 2011                                 24,673,000


                           The obligations of the Interest Rate Cap Provider to pay specified amounts due under
           the Interest Rate Cap Agreement (other than Interest Rate Cap Termination Payments (as defined
           below)) will be subject to the following conditions precedent: (1) no Interest Rate Cap Event of
           Default or event that with the giving of notice or lapse of time or both would become an Interest Rate
           Cap Event of Default, shall have occurred and be continuing with respect to the Interest Rate Cap
           Agreement and (2) no "Early Termination Date" (as defined in the Interest Rate Cap Agreement) has
           occurred or been effectively designated with respect to the Interest Rate Cap Agreement.



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CON Fl DENTIAL                                                                                                FHFA04178981
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                         Events of default under the Interest Rate Cap Agreement (each an "Interest Rate Cap
           Event of Default") include the following:

                          •       failure to make a payment due under the Interest Rate Cap Agreement after
                                  notice of such failure is received and expiration of a specified grace period,

                          •       certain insolvency or bankruptcy events, and

                          •       a merger by the Interest Rate Cap Provider without an assumption of its
                                  obligations under the Interest Rate Cap Agreement,

           each as further described in the Interest Rate Cap Agreement.

                         Termination events under the Interest Rate Cap Agreement (each an "Interest Rate
           Cap Termination Event") include the following:

                          •       illegality (which generally relates to changes in law causing it to become
                                  unlawful for either party to perform its obligations under the Interest Rate
                                  Cap Agreement),

                          •       tax event (which generally relates to the securities administrator receiving a
                                  payment under the Interest Rate Cap Agreement from which an amount has
                                  been deducted or withheld for or on account of taxes or paying an additional
                                  amount on account of an indemnifiable tax, as defined in the Interest Rate
                                  Cap Agreement, in either case as a result of a change in tax law) and

                          •       tax event upon merger (which generally relates to the securities administrator
                                  receiving a payment under the Interest Rate Cap Agreement from which an
                                  amount has been deducted or withheld for or on account of an indemnifiable
                                  tax or paying an additional amount on account of an indemnifiable tax, in
                                  either case as a result of a merger or similar transaction),

           each as further described in the Interest Rate Cap Agreement.

                           Additional termination events under the Interest Rate Cap Agreement (each an
           "Interest Rate Cap Additional Termination Event"), include the following:

                          •       failure of the Interest Rate Cap Provider to comply with the Interest Rate Cap
                                  Downgrade Provisions,

                          •       failure of the Interest Rate Cap Provider to comply with the Regulation AB
                                  provisions of the Interest Rate Cap Agreement, and

                          •       occurrence of an optional termination of the securitization pursuant to the
                                  terms of the pooling and servicing agreement,

           each as further described in the Interest Rate Cap Agreement.

                           If the Interest Rate Cap Provider's credit ratings are withdrawn or reduced below the
           levels specified in the Interest Rate Cap Agreement, then, unless each rating agency has reconfirmed

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           the ratings which were in effect immediately prior to such withdrawal or reduction for all securities
           the ratings for which are supported by the Interest Rate Cap Agreement, the Interest Rate Cap
           Provider will be required, at its own expense, either (1) to obtain a substitute interest rate cap
           provider which will assume the obligations of the Interest Rate Cap Provider under the Interest Rate
           Cap Agreement and which meets all rating agency requirements and any third party consent
           requirements provided therein or in any related documentation, or (2) to establish any other
           arrangement specified in the Interest Rate Cap Agreement that meets all rating agency requirements
           and any third party consent requirements provided therein or in any related documentation
           (collectively, the "Interest Rate Cap Downgrade Provisions").

                           Upon the occurrence of an Interest Rate Cap Event of Default, the non-defaulting
           party will have the right to designate an early termination date (an "Early Termination Date"). Upon
           the occurrence of an Interest Rate Cap Termination Event or an Interest Rate Cap Additional
           Termination Event, an Early Termination Date may be designated by one of the parties as specified
           in the Interest Rate Cap Agreement, and will occur only upon notice and, in some circumstances,
           after any affected party has used reasonable efforts to transfer its rights and obligations under the
           Interest Rate Cap Agreement to a related entity within a specified period after notice has been given
           of the Interest Rate Cap Termination Event, all as set forth in the Interest Rate Cap Agreement. The
           occurrence of an Early Termination Date under the Interest Rate Cap Agreement will constitute an
           "Interest Rate Cap Early Termination."

                           Upon an Interest Rate Cap Early Termination, the Interest Rate Cap Provider may be
           liable to make a termination payment (the "Interest Rate Cap Termination Payment") to the securities
           administrator, regardless, if applicable, of which of the parties has caused the termination. The
           Interest Rate Cap Termination Payment will be based on the value of the Interest Rate Cap
           Agreement computed in accordance with the procedures set forth in the Interest Rate Cap
           Agreement.

                           Upon an Interest Rate Cap Early Termination other than in connection with the
           optional termination of the trust, the securities administrator shall, at the direction of the depositor,
           appoint a successor interest rate cap provider. If the securities administrator receives an Interest Rate
           Cap Termination Payment from the Interest Rate Cap Provider in connection with such Interest Rate
           Cap Early Termination, the securities administrator will apply such Interest Rate Cap Termination
           Payment to any upfront payment required to appoint the successor interest rate cap provider. If the
           securities administrator is unable to appoint a successor interest rate cap provider within 30 days of
           the Interest Rate Cap Early Termination, then the securities administrator will deposit any Interest
           Rate Cap Termination Payment received from the original Interest Rate Cap Provider into a separate,
           non-interest bearing reserve account and will, on each subsequent distribution date, withdraw from
           the amount then remaining on deposit in such reserve account an amount equal to payment, if any,
           that would have been paid to the securities administrator by the original Interest Rate Cap Provider
           calculated in accordance with the terms of the original Interest Rate Cap Agreement, and distribute
           such amount in accordance with the terms of the pooling and servicing agreement.

                           Upon an Interest Rate Cap Early Termination in connection with the optional
           termination of the trust, if the securities administrator receives an Interest Rate Cap Termination
           Payment from the Interest Rate Cap Provider in connection with such Interest Rate Cap Early
           Termination, such Interest Rate Cap Termination Payment generally will not be available to
           certificateholders; rather, the securities administrator will distribute such Swap Termination Payment
           in accordance with the terms of the pooling and servicing agreement.


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CON Fl DENTIAL                                                                                                   FHFA04178983
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                            The significance percentage of the Interest Rate Cap Agreement, as calculated in
           accordance with Item 1115 of Regulation AB, is less than 10%. The Interest Rate Cap Agreement
           will provide that the Interest Rate Cap Provider may be replaced in certain circumstances, including
           if the significance percentage of the Interest Rate Cap Agreement is equal to or greater than 10%.

                         Any amounts received pursuant to the Interest Rate Cap Agreement and deposited in
           the Supplemental Interest Trust will be distributed on the related distribution date as follows:

                          (i)      to the Senior Certificates, pro rata based on amounts due, Current Interest and
                          any Carryforward Interest for each such class and distribution date, after giving effect
                          to distributions of such amounts as described under "-Distributions of Interest" and
                          clause (i) under "The Interest Rate Swap Agreement";

                          (ii)    to the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-6,
                          Class M-7, Class M-8, Class M-9, Class B-1 and Class B-2 Certificates, in that order,
                          Current Interest and any Carryforward Interest for each such class and distribution
                          date, after giving effect to distributions of such amounts as described under "-
                          Distributions oflnterest" and clause (ii) under "The Interest Rate Swap Agreement";

                          (iii)   to the holders of the class or classes of Senior Certificates and Subordinate
                          Certificates then entitled to receive distributions in respect of principal, in an amount
                          necessary to maintain or restore the Targeted Overcollateralization Amount after
                          taking into account distributions made pursuant to clause (1) under "-Credit
                          Enhancement-Overcollateralization" and after giving effect to distributions made
                          pursuant to clause (iii) under "The Interest Rate Swap Agreement";

                          (iv)   to the Class M-1, Class M-2, Class M-3, Class M-4, Class M-5, Class M-6,
                          Class M-7, Class M-8, Class M-9, Class B-1 and Class B-2 Certificates, in that order,
                          any applicable Deferred Amounts, with interest thereon at the applicable pass-
                          through rate, prior to giving effect to amounts available to be paid in respect of
                          Deferred     Amounts      as    described      under     "-Credit      Enhancement-
                          Overcollateralization" on such distribution date and after giving effect to distributions
                          made pursuant to clause (iv) under "The Interest Rate Swap Agreement";

                          (v)     to the Senior Certificates, on a pro rata basis, and then to the Subordinate
                          Certificates, on a sequential basis, any applicable Basis Risk Shortfalls, prior to
                          giving effect to any withdrawals from the Basis Risk Shortfall Reserve Fund or from
                          amounts available to be paid in respect of Basis Risk Shortfalls as described in this
                          prospectus supplement under "-Credit Enhancement-Overcollateralization" on
                          such distribution date and after giving effect to distributions made pursuant to clause
                          (v) under "The Interest Rate Swap Agreement"; and

                          (vi)    to the Class X Certificates, any remaining amounts.

                        Notwithstanding the foregoing, in no instance will such payments (other than
           payments made under clause (vi) above) be made other than to the extent of losses and Basis Risk
           Shortfalls.




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CON Fl DENTIAL                                                                                                  FHFA04178984
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           THE BASIS RISK CAP PROVIDER, THE SWAP PROVIDER AND THE INTEREST RATE
                                        CAP PROVIDER

                         The Basis Risk Cap Provider, Swap Provider and Interest Rate Cap Provider is HSBC
           Bank USA, National Association, which is referred to in this section as the "Bank". The Bank is a
           member of the HSBC Group, one of the world's largest banking and financial services groups. The
           HSBC Group is an international commercial and investment banking and financial services
           organization with some 9,800 offices in 77 countries and territories in Europe, the Asia-Pacific
           region, the Americas, the Middle East and Africa. HSBC Holdings plc, the ultimate parent company
           in the HSBC Group, is headquartered in London.

                           The Bank is chartered as a national banking association under the laws of the United
           States and, as such, is regulated primarily by the OCC. The Bank's deposits are insured by the FDIC
           up to applicable limits. The Bank's domestic operations are primarily in New York State. The Bank
           also has banking branch offices and/or representative offices in Florida, California, New Jersey,
           Delaware, Pennsylvania, Washington, Oregon, Massachusetts and Washington, D.C. In addition to
           its domestic offices, the Bank maintains foreign branch offices, subsidiaries and/or representative
           offices in the Caribbean, Europe, Panama, Asia, Latin America, Australia and Canada.

                            The Bank is the principal subsidiary of HSBC USA Inc., an indirectly-held, wholly-
           owned subsidiary of HSBC North America Holdings Inc., one of the nation's top 10 bank holding
           companies by assets and an indirectly-held, wholly-owned subsidiary of HSBC Holdings plc. At
           December 31, 2005, the Bank represented approximately 98% of the consolidated assets of HSBC
           USA Inc. and had assets of approximately $151 billion. The Bank had outstanding approximately
           $139 billion of obligations, including deposits totaling $95 billion and $25 billion of long-term debt.
           It had total shareholders' equity of $12 billion.

                          As of the date of this prospectus supplement, the long-term debt of the Bank has been
           assigned a rating of AA by S&P, Aa2 by Moody's and AA by Fitch. As of the date of this
           prospectus supplement, the short-term debt of the Bank has been assigned a rating of A-1+ by S&P,
           P-1 by Moody's and F1 +by Fitch.

                          Additional information about the Bank and HSBC USA Inc. may be obtained by
           contacting the Manager oflnvestor Relations and Government Affairs at HSBC, 452 Fifth Avenue,
           New York, New York 10018, tel. (212) 525-6191.

                          YIELD, PREPAYMENT AND MATURITY CONSIDERATIONS

           General

                            The weighted average life of, and the yield to maturity on, each class of Offered
           Certificates generally will be directly related to the rate of payment of principal, including
           prepayments, of the Mortgage Loans in the related loan group or loan groups. The actual rate of
           principal prepayments on pools of mortgage loans is influenced by a variety of economic, tax,
           geographic, demographic, social, legal and other factors and has fluctuated considerably in recent
           years. In addition, the rate of principal prepayments may differ among pools of mortgage loans at any
           time because of specific factors relating to the mortgage loans in the particular pool, including,
           among other things, the age of the mortgage loans, the geographic locations of the properties
           securing the mortgage loans, the extent of the borrowers' equity in such properties, and changes in


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           the borrowers' housing needs, job transfers and employment status. If prevailing interest rates fall
           significantly below the Mortgage Rates on the Mortgage Loans, the Mortgage Loans (and the
           applicable Offered Certificates) are likely to be subject to a higher incidence of prepayment than if
           prevailing rates remain at or above the Mortgage Rates on the Mortgage Loans. Conversely, if
           prevailing interest rates rise significantly above the Mortgage Rates on the Mortgage Loans, the
           Mortgage Loans (and the applicable Offered Certificates) are likely to be subject to a lower incidence
           of prepayment than if prevailing rates remain at or below the Mortgage Rates on the Mortgage
           Loans. Prepayments on the adjustable-rate Mortgage Loans may differ as they approach their
           respective first Adjustment Dates. No assurance can be given as to the level of prepayment that the
           Mortgage Loans will experience.

                             Although the Mortgage Rates on approximately 81.43% of the Mortgage Loans, by
           aggregate principal balance as of the Cut-off Date, are subject to adjustment, such Mortgage Rates
           adjust less frequently than the pass-through rates on the Offered Certificates and adjust by reference
           to Six-Month LIBOR. With respect to the Offered Certificates, changes in One-Month LIBOR may
           not correlate with changes in Six-Month LIBOR and also may not correlate with prevailing interest
           rates. It is possible that an increased level of One-Month LIBOR could occur simultaneously with a
           lower level of prevailing interest rates which would be expected to result in faster prepayments,
           thereby reducing the weighted average lives of the Offered Certificates. The Mortgage Rate
           applicable to the adjustable-rate Mortgage Loans and any Adjustment Date will be based on Six-
           Month LIBOR most recently announced generally as of a date either 45 days prior to, or the first
           business day of the month immediately preceding the month of, such Adjustment Date. Thus, if Six-
           Month LIBOR rises, the lag in time before the corresponding Mortgage Rate increases, will, all other
           things being equal, slow the upward adjustment of the pass-through rate or rate cap, as applicable, on
           the Offered Certificates. In addition, substantially all of the adjustable-rate Mortgage Loans have
           Mortgage Rates which will not adjust for a substantial period of time after origination. See "The
           Mortgage Pool" in this prospectus supplement.

                           The rate of principal prepayments may also be affected by whether the Mortgage
           Loan documents provide for prepayment charges. Approximately 60.64%, 62.02% and 61.26% of
           the Group I Mortgage Loans, Group II Mortgage Loans and the Mortgage Loans in the aggregate,
           respectively, in each case by the related aggregate principal balance as of the Cut-off Date, provide
           for the payment by the borrower of a Prepayment Charge on voluntary prepayments typically made
           within up to three years from the date of the execution of the related Mortgage Note. These
           Prepayment Charges, if still applicable and if enforced by the servicer would typically discourage
           prepayments on the related Mortgage Loans. There can be no assurance that the Prepayment
           Charges will have any effect on the prepayment performance of the Mortgage Loans. Investors
           should conduct their own analysis of the effect, if any, that the Prepayment Charges may have on the
           prepayment performance of the Mortgage Loans.

                           The timing of changes in the rate of prepayments may significantly affect the actual
           yield to investors who purchase the offered certificates at prices other than par, even if the average
           rate of principal prepayments is consistent with the expectations of investors. In general, the earlier
           the payment of principal of the mortgage loans in the related loan group the greater the effect on an
           investor's yield to maturity. As a result, the effect on an investor's yield of principal prepayments
           occurring at a rate higher or lower than the rate anticipated by the investor during the period
           immediately following the issuance of the Offered Certificates may not be offset by a subsequent like
           reduction or increase in the rate of principal prepayments.



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                           The Mortgage Loans were underwritten in accordance with the underwriting
           standards described in this prospectus supplement under "The Mortgage Pool-The Originator", "-
           Underwriting Standards of the Sponsor" and "-Modified Standards" and may or may not conform
           to Fannie Mae or Freddie Mac underwriting guidelines for "A" credit borrowers. Accordingly, the
           Mortgage Loans may experience rates of delinquency, foreclosure and loss that are higher, and may
           be substantially higher, than mortgage loans originated in accordance with the Fannie Mae or Freddie
           Mac underwriting guidelines. Any resulting losses, to the extent not covered by credit enhancement,
           may affect the yield to maturity of the Offered Certificates.

                           The weighted average life and yield to maturity of each class of Offered Certificates
           will also be influenced by the amount of Monthly Excess Interest generated by the Mortgage Loans
           and applied in reduction of the Certificate Principal Balances of the Offered Certificates. The amount
           of Monthly Excess Interest available on any distribution date to be applied in reduction of the
           Certificate Principal Balances of the Offered Certificates will be influenced by, among other factors,

                           •      the overcollateralization level of the Mortgage Loans in the Mortgage Pool at
                                  such time, i.e., the extent to which interest on the Mortgage Loans is accruing
                                  on a higher Stated Principal Balance than the Certificate Principal Balance of
                                  the Offered Certificates;

                           •      the delinquency and default experience of the Mortgage Loans; and

                           •      the provisions of the pooling and servicing agreement that permit principal
                                   collections to be distributed to the Class X Certificates as provided in the
                                  pooling and servicing agreement when the Targeted Overcollateralization
                                  Amount has been met.

                            To the extent that greater amounts of Monthly Excess Interest are distributed in
           reduction of the Certificate Principal Balance of a class of Offered Certificates, the weighted average
           life of such class can be expected to shorten. No assurance, however, can be given as to the amount
           of Monthly Excess Interest to be distributed at any time or in the aggregate.

                          We refer you to "Description of the Certificates-Credit Enhancement" m this
           prospectus supplement.

                            The yields to maturity of the Offered Certificates and, in particular the Mezzanine
           Certificates, in the order of payment priority, will be progressively more sensitive to the rate, timing
           and severity of Realized Losses on the Mortgage Loans. If a Realized Loss is allocated to any class
           of Mezzanine Certificates, the Certificate Principal Balance thereof will be reduced by the amount of
           such Realized Loss and such class will thereafter accrue interest on a reduced Certificate Principal
           Balance.

           Yield Considerations for the Subordinate Certificates

                           The rate of payment of principal, the aggregate amount of distributions and the yield
           to maturity of the Subordinate Certificates will be affected by the rate of prepayments on the related
           Mortgage Loans, as well as the rate of borrower defaults resulting in Realized Losses, by the severity
           of those losses and by the timing thereof See "Description of the Certificates-Credit Enhancement"
           in this prospectus supplement for a description of the manner in which Realized Losses may be


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           allocated to the Subordinate Certificates. If the purchaser of a Subordinate Certificate calculates its
           anticipated yield based on an assumed rate of default and amount of Realized Losses that is lower
           than the default rate and the amount of Realized Losses actually incurred, its actual yield to maturity
           will be lower than that so calculated. The timing of defaults and losses will also affect an investor's
           actual yield to maturity, even if the average rate of defaults and severity of losses are consistent with
           an investor's expectations. In general, the earlier a loss occurs, the greater is the effect on an
           investor's yield to maturity. There can be no assurance as to the delinquency, foreclosure or loss
           experience with respect to the Mortgage Loans.

           Prepayments and Yields of Offered Certificates

                           The extent to which the yield to maturity of an Offered Certificate may vary from the
           anticipated yield will depend upon the degree to which it is purchased at a discount or premium and,
           correspondingly, the degree to which the timing of payments thereon is sensitive to prepayments,
           liquidations and purchases of the Mortgage Loans. In particular, in the case of an Offered Certificate
           purchased at a discount, an investor should consider the risk that a slower than anticipated rate of
           principal payments, liquidations and purchases of the Mortgage Loans could result in an actual yield
           to such investor that is lower than the anticipated yield and, in the case of an Offered Certificate
           purchased at a premium, the risk that a faster than anticipated rate of principal payments, liquidations
           and purchases of such Mortgage Loans could result in an actual yield to such investor that is lower
           than the anticipated yield.

                            The "last scheduled distribution date" for each class of Offered Certificates is the
           distribution date in July 2036. The actual final distribution date with respect to each class of
           certificates could occur significantly earlier than its last scheduled distribution date because

                           •       prepayments are likely to occur which will be applied to the payment of the
                                   Certificate Principal Balances thereof;

                           •       Monthly Excess Interest to the extent available will be applied as an
                                   accelerated payment of principal on the Offered Certificates to the extent
                                   required to restore or maintain the Targeted Overcollateralization Amount as
                                   described in this prospectus supplement; and

                           •       the master servicer may exercise its option to purchase all the assets of the
                                   trust as described under "- Optional Termination" in this prospectus
                                   supplement.

                           Prepayments on mortgage loans are commonly measured relative to a prepayment
           standard or model (the "Prepayment Assumption"). The model used in this prospectus supplement,
           which we refer to as the prepayment model, is a prepayment assumption which represents an
           assumed rate of prepayment each month relative to the then outstanding principal balance of a pool
           of mortgage loans for the life of such mortgage loans. A 100% prepayment assumption assumes that
           the outstanding principal balance of a pool of adjustable-rate Mortgage Loans prepays at a constant
           prepayment rate ("CPR") of 10% in the first month of the life of such pool, such rate increasing by
           an additional approximate 1.82% CPR (precisely 20%/11) each month thereafter through the twelfth
           month of the life of such pool, 30% CPR from month 13 through and including month 23; 55% CPR
           from month 24 through and including month 28; and 35% CPR from month 29 and thereafter; and
           this assumes that the outstanding principal balance of a pool of fixed-rate Mortgage Loans prepays at


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           a constant prepayment rate ("CPR") of 5% in the first month of the life of such pool, such rate
           increasing by an additional approximate 1.82% CPR (precisely 20%/11) each month thereafter
           through the twelfth month of the life of such pool, and 25% CPR thereafter.

                           There is no assurance, however, that prepayments on the Mortgage Loans will
           conform to any level of the prepayment model, and no representation is made that the Mortgage
           Loans will prepay at the prepayment rates shown or any other prepayment rate. The rate of principal
           payments on pools of mortgage loans is influenced by a variety of economic, geographic, social and
           other factors, including the level of interest rates. Other factors affecting prepayment of mortgage
           loans include changes in borrowers' housing needs, job transfers and unemployment. In the case of
           mortgage loans in general, if prevailing interest rates fall significantly below the interest rates on
           such mortgage loans, the mortgage loans are likely to be subject to higher prepayment rates than if
           prevailing interest rates remain at or above the rates borne by such mortgage loans. Conversely, if
           prevailing interest rates rise above the interest rates on such mortgage loans, the rate of prepayment
           would be expected to decrease.

                          The following tables have been prepared on the basis of the following assumptions,
           which we refer to, collectively, as modeling assumptions:

                          •       the Mortgage Pool consists of 16 group I mortgage loans and 16 group II
                                  mortgage loans with the characteristics set forth in the tables set forth below;

                          •       distributions on the Offered Certificates are received, in cash, on the 25th day
                                  of each month, commencing in November 2006;

                          •       the Mortgage Loans prepay at the percentages of the Prepayment Assumption
                                  indicated;

                          •       no defaults or delinquencies in, or modifications, waivers or amendments
                                  respecting, the payment by the borrowers of principal and interest on the
                                  Mortgage Loans occur;

                          •       except with respect to footnote (2) on each of the following tables, none of
                                  the depositor, the servicer or any other person purchases from the trust fund
                                  any Mortgage Loan under any obligation or option under the pooling and
                                  servicing agreement;

                          •       scheduled payments are assumed to be received on the first day of each
                                  month commencing in November 2006, there are no shortfalls in the payment
                                  of interest to certificateholders and prepayments represent payment in full of
                                  individual Mortgage Loans and are assumed to be received on the last day of
                                  each month, commencing in October 2006, and include 30 days' interest
                                  thereon;

                          •       scheduled payments of principal and interest on the Mortgage Loans are
                                  calculated on their respective principal balances (prior to giving effect to
                                  prepayments received thereon during the preceding calendar month),
                                  mortgage rate and remaining amortization terms to maturity such that the



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                               Mortgage Loans will fully amortize by their remaining amortization terms
                               (taking into account any remaining interest only periods);

                         •     the certificates are purchased on October 31, 2006;

                         •     the level of One-Month LIBOR remains constant at 5.320% per annum;

                         •     the level of Six-Month LIBOR remains constant at 5.416% per annum;

                         •     the Certificate Principal Balance of the Class P Certificates is assumed to be
                               zero; and

                         •     the Interest Rate Swap Agreement is not subject to early termination.




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                             Gross          Net         Remaining      Amortization                 Original                                                      Initial   Subsequent                    Adjustment
                            Mortgage      Mortgage        Term to       Remaining                    Interest                     Gross    Maximum    Minimum    Periodic    Periodic    Months to Next      Rate
           Principal         Rate          Rate          Maturity         Term            Age         Only                        Margin   Mortgage   Mortgage   Rate Cap    Rate Cap        Rate         Frequency
          Balance($)          (%)           (%)          (Months)       (Months)*       (Months)    (Months)        Index Type     (%)     Rate(%)    Rate(%)      (%)         (%)        Adjustment       (Months)
         272,293,076.40       8.833         8.322           355             355                        N/A        6 Month LIBOR   6.398     14.834     8.833      2.527       1.500            19             6
         200,138,147.96       8.260        7.749            355             475                        N/A        6 Month LIBOR   6.028     14.260     8.260      2.588       1.500            19             6
          58,529,732.18       7.476        6.965            356             300             4           60        6 Month LIBOR   5.347     13.476     7.476      2.690       1.500           20              6
           1,504,496. 76      8.901         8.390           356             356             4          N/A        6 Month LIBOR   6.440     14.901     8.901      2.702       1.500           32              6
           1,525,761.43       8.349        7.838            356             476             4          N/A        6 Month LIBOR   6.255     14.349     8.349      2.449       1.500           32              6
           1,332,298.99       7.287        6.776            356             300             4           60        6 Month LIBOR   5.117     13.287     7.287      2.747       1.500           32              6
             475,232.20       8.103        7.592            356             356             4          N/A        6 Month LIBOR   5.882     14.103     8.103      3.000       1.500            56             6
             475,464.00       8.208        7.697            355             475                        N/A        6 Month LIBOR   5.820     14.208     8.208      2.315       1.500            55             6
          25,005,235.93       7.528        7.017            356             476             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
             179,307.03       8.172        7.661            175             175                        N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
             347,710.62       8.515        8.004            236             236             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
          60,276,246.35       7.786        7.275            356             356             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
             319,280.49      12.640       12.129            116             116             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
           1,573,046.53      11.413       10.902            176             176             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
             108,225.34      12.446       11.935            236             236             4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
          53,154,432.41    ll.l49       10.638            356             356               4          N/A              N/A        N/A       N/A        N/A        N/A         N/A            N/A            N/A
                     *Remaining amortization term for Interest Only Loans will begin after the remaining interest only period.




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                              Gross          Net         Remaining      Amortization                   Original                                                       Initial   Subsequent                Adjustment
                             Mortgage      Mortgage        Term to       Remaining                      Interest                      Gross    Maximum    Minimum    Periodic    Periodic     Months to      Rate
            Principal         Rate          Rate          Maturity         Term             Age          Only                         Margin   Mortgage   Mortgage   Rate Cap    Rate Cap     Next Rate   Frequency
           Balance($)          (%)           (%)          (Months)       (Months)*        (Months)     (Months)        Index Type      (%)     Rate(%)    Rate(%)      (%)         (%)       Adjustment    (Months)
         157,727,990.17        8.611         8.100           355             355              5           N/A        6 Month LIBOR    6.301     14.607     8.611      2.491       1.500          19           6
         204,530,004.69        8.178         7.667           355             475              5           N/A        6 Month LIBOR    5.990     14.178     8.176      2.564       1.498          19           6
         89,619,648.15         7.584         7.073           355             300              5            60        6 Month LIBOR    5.453     13.584     7.584      2.599       1.500          19           6
          3,893,063.47         8.731         8.220           355             355              5           N/A        6 Month LIBOR    6.378     14.731     8.731      2.303       1.500          31           6
          3,379,348.51         7.992         7.481           355             475              5           N/A        6 Month LIBOR    5.871     13.992     7.992      2.511       1.500          31           6
          3,726,480.00         7.094         6.583           356             300              4            60        6 Month LIBOR    4.947     13.094     7.094      2.509       1.500          32           6
            354,402.75         9.122         8.611           355             355              5           N/A        6 Month LIBOR    6.526     15.122     9.122      2.683       1.500          55           6
            494,310.33         7.350         6.839           356             476              4           N/A        6 Month LIBOR    5.129     13.350     7.350      3.000       1.500          56           6
         22,069,813.84         7.468         6.957           355             475              5           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
            527,709.81         6.200         5.689           176             176              4           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
            340,758.27         7.250         6.739           235             235              5           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
         33,137,054.63         7.309         6.798           355             355              5           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
            643,392.11        11.503        10.992           116             116              4           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
            444,829.45        11.814        11.303           176             176              4           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
            130,127.24        10.039         9.528           235             235              5           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A
         29,785,716.66        11.101        10.590           356             356              4           N/A              N/A         N/A       N/A        N/A        N/A         N/A          N/A          N/A


                          *Remaining amortization term for Interest Only Loans will begin after the remaining interest only period.




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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                  Class 1-A-1

                   Distribution Date                                 60%            80%              100%              120%            140%


                   Initial Percentage ..                            100%           100%              100%            100%             100%
                   October 25, 2007.                                 80             73                67              60               53
                   October 25, 2008 .                                55             42                30              18                8
                   October 25, 2009.                                 38             23                 11              0                0
                   October 25,2010.                                  30             21                 11              0                0
                   October 25, 2011 .                                24             16                 10              0                0
                   October 25, 2012.                                 19             12                  7              0                0
                   October 25, 2013.                                 15              9                  5              0                0
                   October 25, 2014.                                 12              7                  3              0                0
                   October 25,2015.                                  10              5                  2              0                0
                   October 25, 2016.                                  8              4                  2              0                0
                   October 25, 2017.                                  6              3                                 0                0
                   October 25,2018.                                   5              2                                 0                0
                   October 25,2019.                                   4              2                  *              0                0
                   October 25, 2020 .                                 3                                 0              0                0
                   October 25,2021.                                   3                                 0              0                0
                   October 25, 2022.                                  2                                 0              0                0
                   October 25, 2023.                                  2               *                 0              0                0
                   October 25, 2024.                                                  0                 0              0                0
                   October 25, 2025 .                                                 0                 0              0                0
                   October 25, 2026.                                                  0                 0              0                0
                   October 25, 2027 .                                                 0                 0              0                0
                   October 25, 2028 .                                 *               0                 0              0                0
                   October 25, 2029 .                                 0               0                 0              0                0
                   October 25, 2030 .                                 0               0                 0              0                0
                   October 25, 2031 .                                 0               0                 0              0                0
                   October 25, 2032 .                                 0               0                 0              0                0
                   October 25, 2033 .                                 0               0                 0              0                0
                   October 25, 2034 .                                 0               0                 0              0                0
                   October 25, 2035 .                                 0               0                 0              0                0
                   October 25, 2036 .                                 0               0                 0              0                0

                   Weighted Average Life (in years)(!)               3.73            2.74             2.04              1.32            l.l3
                   Weighted Average Life (in years)(!) (2)           3.41            2.50             1.83              1.32            1.13

           *If applicable, indicates a number that is greater than zero but less than 0.5%.
           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                  Class 11-A-1

                     Distribution Date                                  60%             80%             100%            120%          140%


                     Initial Percentage.                               100%            100%            100%             100%           100%
                     October 25, 2007.                                  69              58              48               38             28
                     October 25, 2008 .                                 30              10               0                0              0
                     October 25, 2009.                                   4               0               0                0              0
                     October 25,2010.                                    0               0               0                0              0
                     October 25, 2011 .                                  0               0               0                0              0
                     October 25, 2012.                                   0               0               0                0              0
                     October 25, 2013 .                                  0               0               0                0              0
                     October 25, 2014.                                   0               0               0                0              0
                     October 25,2015.                                    0               0               0                0              0
                     October 25, 2016.                                   0               0               0                0              0
                     October 25, 2017.                                   0               0               0                0              0
                     October 25,2018.                                    0               0               0                0              0
                     October 25,2019.                                    0               0               0                0              0
                     October 25, 2020 .                                  0               0               0                0              0
                     October 25,2021 .                                   0               0               0                0              0
                     October 25, 2022.                                   0               0               0                0              0
                     October 25, 2023 .                                  0               0               0                0              0
                     October 25, 2024.                                   0               0               0                0              0
                     October 25, 2025 .                                  0               0               0                0              0
                     October 25, 2026.                                   0               0               0                0              0
                     October 25, 2027 .                                  0               0               0                0              0
                     October 25, 2028 .                                  0               0               0                0              0
                     October 25, 2029 .                                  0               0               0                0              0
                     October 25, 2030 .                                  0               0               0                0              0
                     October 25, 2031 .                                  0               0               0                0              0
                     October 25, 2032 .                                  0               0               0                0              0
                     October 25, 2033 .                                  0               0               0                0              0
                     October 25, 2034 .                                  0               0               0                0              0
                     October 25, 2035 .                                  0               0               0                0              0
                     October 25, 2036 .                                  0               0               0                0              0

                     Weighted Average Life (in years)(!)                1.55             1.20            1.00            0.86          0.74
                     Weighted Average Life (in years)(l)( 2)            1.55             1.20            1.00            0.86          0.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.
           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178994
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                  Class 11-A-2

                   Distribution Date                                  60%             80%             100%             120%            140%


                   Initial Percentage ..                            100%             100%            100%             100%             100%
                   October 25, 2007.                                100              100             100              100              100
                   October 25, 2008.                                100              100              39                0                0
                   October 25, 2009.                                100                0               0                0                0
                   October 25, 2010.                                 44                0               0                0                0
                   October 25, 20ll .                                 0                0               0                0                0
                   October 25, 2012.                                  0                0               0                0                0
                   October 25, 2013 .                                 0                0               0                0                0
                   October 25, 2014.                                  0                0               0                0                0
                   October 25, 2015 .                                 0                0               0                0                0
                   October 25, 2016.                                  0                0               0                0                0
                   October 25,2017.                                   0                0               0                0                0
                   October 25, 2018.                                  0                0               0                0                0
                   October 25, 2019.                                  0                0               0                0                0
                   October 25, 2020.                                  0                0               0                0                0
                   October 25, 2021 .                                 0                0               0                0                0
                   October 25, 2022.                                  0                0               0                0                0
                   October 25, 2023 .                                 0                0               0                0                0
                   October 25, 2024.                                  0                0               0                0                0
                   October 25, 2025 .                                 0                0               0                0                0
                   October 25, 2026.                                  0                0               0                0                0
                   October 25, 2027.                                  0                0               0                0                0
                   October 25, 2028.                                  0                0               0                0                0
                   October 25, 2029.                                  0                0               0                0                0
                   October 25, 2030 .                                 0                0               0                0                0
                   October 25,2031 .                                  0                0               0                0                0
                   October 25, 2032 .                                 0                0               0                0                0
                   October 25, 2033 .                                 0                0               0                0                0
                   October 25, 2034 .                                 0                0               0                0                0
                   October 25, 2035 .                                 0                0               0                0                0
                   October 25, 2036 .                                 0                0               0                0                0

                   Weighted Average Life (in years)(!)                3.95            2.59             2.00             1.73            1.59
                   Weighted Average Life (in years)(!) (2)            3.95            2.59             2.00             1.73            1.59

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178995
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                  Class 11-A-3

                   Distribution Date                                  60%             80%             100%             120%            140%


                   Initial Percentage ..                             100%            100%            100%              100%            100%
                   October 25, 2007.                                 100             100             100               100             100
                   October 25, 2008.                                 100             100             100                65              16
                   October 25, 2009.                                 100              88              30                 0               0
                   October 25,2010.                                  100              80              30                 0               0
                   October 25, 2011 .                                 92              55              29                 0               0
                   October 25, 2012.                                  71              37              15                 0               0
                   October 25, 2013.                                  54              23               5                 0               0
                   October 25, 2014.                                  40              13               0                 0               0
                   October 25,2015.                                   29               6               0                 0               0
                   October 25, 2016.                                  20                               0                 0               0
                   October 25, 2017.                                  13                0              0                 0               0
                   October 25,2018.                                    8                0              0                 0               0
                   October 25,2019.                                    3                0              0                 0               0
                   October 25, 2020 .                                  0                0              0                 0               0
                   October 25,2021.                                    0                0              0                 0               0
                   October 25, 2022.                                   0                0              0                 0               0
                   October 25, 2023.                                   0                0              0                 0               0
                   October 25, 2024.                                   0                0              0                 0               0
                   October 25, 2025 .                                  0                0              0                 0               0
                   October 25, 2026.                                   0                0              0                 0               0
                   October 25, 2027 .                                  0                0              0                 0               0
                   October 25, 2028 .                                  0                0              0                 0               0
                   October 25, 2029 .                                  0                0              0                 0               0
                   October 25, 2030 .                                  0                0              0                 0               0
                   October 25, 2031 .                                  0                0              0                 0               0
                   October 25, 2032 .                                  0                0              0                 0               0
                   October 25, 2033 .                                  0                0              0                 0               0
                   October 25, 2034 .                                  0                0              0                 0               0
                   October 25, 2035 .                                  0                0              0                 0               0
                   October 25, 2036 .                                  0                0              0                 0               0

                   Weighted Average Life (in years)(!)                7.83             5.62            3.65             2.21            1.85
                   Weighted Average Life (in years)(!) (2)            7.55             5.42            3.50             2.21            1.85

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178996
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                  Class 11-A-4

                   Distribution Date                                  60%             80%             100%             120%            140%


                   Initial Percentage ..                             100%            100%            100%              100%            100%
                   October 25, 2007.                                 100             100             100               100             100
                   October 25, 2008.                                 100             100             100               100             100
                   October 25, 2009.                                 100             100             100                 0               0
                   October 25,2010.                                  100             100             100                 0               0
                   October 25, 2011 .                                100             100             100                 0               0
                   October 25, 2012.                                 100             100             100                 0               0
                   October 25, 2013.                                 100             100             100                 0               0
                   October 25, 2014.                                 100             100              90                 0               0
                   October 25,2015.                                  100             100              57                 0               0
                   October 25, 2016.                                 100             100              35                 0               0
                   October 25, 2017.                                 100              75              20                 0               0
                   October 25,2018.                                  100              53               6                 0               0
                   October 25,2019.                                  100              37               0                 0               0
                   October 25, 2020 .                                 98              25               0                 0               0
                   October 25,2021.                                   76              15               0                 0               0
                   October 25, 2022.                                  59               3               0                 0               0
                   October 25, 2023.                                  45               0               0                 0               0
                   October 25, 2024.                                  34               0               0                 0               0
                   October 25, 2025 .                                 25               0               0                 0               0
                   October 25, 2026.                                  17               0               0                 0               0
                   October 25, 2027 .                                  7               0               0                 0               0
                   October 25, 2028 .                                  0               0               0                 0               0
                   October 25, 2029 .                                  0               0               0                 0               0
                   October 25, 2030 .                                  0               0               0                 0               0
                   October 25, 2031 .                                  0               0               0                 0               0
                   October 25, 2032 .                                  0               0               0                 0               0
                   October 25, 2033 .                                  0               0               0                 0               0
                   October 25, 2034 .                                  0               0               0                 0               0
                   October 25, 2035 .                                  0               0               0                 0               0
                   October 25, 2036 .                                  0               0               0                 0               0

                   Weighted Average Life (in years)(!)                l7.ll           12.60            9.61             2.85            2.27
                   Weighted Average Life (in years)(!) (2)            10.32           7.57             5.82             2.85            2.27

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178997
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                   Class M-1

                   Distribution Date                                  60%              80%             100%            120%           140%


                   Initial Percentage ..                              100%            100%            100%             100%           100%
                   October 25, 2007.                                  100             100             100              100            100
                   October 25, 2008.                                  100             100             100              100            100
                   October 25, 2009.                                  100             100             100               90              0
                   October 25,2010.                                    82              59             100               90              0
                   October 25, 2011 .                                  66              43              27               90              0
                   October 25, 2012.                                   53              32              19               86              0
                   October 25, 2013.                                   42              24              13               54              0
                   October 25, 2014.                                   34              17               9               34              0
                   October 25,2015.                                    27              13               6               21              0
                   October 25, 2016.                                   21              10               4                9              0
                   October 25, 2017.                                   17               7               3                               0
                   October 25,2018.                                    14               5               0                 0             0
                   October 25,2019.                                    II               4               0                 0             0
                   October 25, 2020 .                                   9               3               0                 0             0
                   October 25,2021.                                     7               0               0                 0             0
                   October 25, 2022.                                    5               0               0                 0             0
                   October 25, 2023.                                    4               0               0                 0             0
                   October 25, 2024.                                    3               0               0                 0             0
                   October 25, 2025 .                                   3               0               0                 0             0
                   October 25, 2026.                                    0               0               0                 0             0
                   October 25, 2027 .                                   0               0               0                 0             0
                   October 25, 2028 .                                   0               0               0                 0             0
                   October 25, 2029 .                                   0               0               0                 0             0
                   October 25, 2030 .                                   0               0               0                 0             0
                   October 25, 2031 .                                   0               0               0                 0             0
                   October 25, 2032 .                                   0               0               0                 0             0
                   October 25, 2033 .                                   0               0               0                 0             0
                   October 25, 2034 .                                   0               0               0                 0             0
                   October 25, 2035 .                                   0               0               0                 0             0
                   October 25, 2036 .                                   0               0               0                 0             0

                   Weighted Average Life (in years)(!)                 7.50            5.74            5.38             7.29           2.54
                   Weighted Average Life (in years)(!) (2)             6.73            5.16            4.91             4.48           2.54

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178998
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                   Class M-2

                    Distribution Date                                  60%              80%            100%             120%          140%


                    Initial Percentage ..                             100%             100%            100%             100%           100%
                    October 25, 2007 ..                               100              100             100              100            100
                    October 25, 2008 ..                               100              100             100              100            100
                    October 25, 2009 ..                               100              100             100              100              2
                    October 25,2010 ..                                 82               59              77              100              2
                    October 25, 2011.                                  66               43              27               71              2
                    October 25, 2012 ..                                53               32              19               10              2
                    October 25, 2013 ..                                42               24              13                6              2
                    October 25, 2014 ..                                34               17               9                4              2
                    October 25,2015 ..                                 27               13               6                0
                    October 25, 2016 ..                                21               10               4                0               0
                    October 25, 2017 ..                                17                7                                0               0
                    October 25,2018 ..                                 14                5               0                0               0
                    October 25,2019 ..                                 II                4               0                0               0
                    October 25, 2020 ..                                 9                                0                0               0
                    October 25,2021.                                    7                0               0                0               0
                    October 25, 2022 ..                                 5                0               0                0               0
                    October 25, 2023 ..                                 4                0               0                0               0
                    October 25, 2024 ..                                 3                0               0                0               0
                    October 25, 2025 ..                                  *               0               0                0               0
                    October 25, 2026 ..                                  0               0               0                0               0
                    October 25, 2027 ..                                  0               0               0                0               0
                    October 25, 2028 ..                                  0               0               0                0               0
                    October 25, 2029 ..                                  0               0               0                0               0
                    October 25, 2030 ..                                  0               0               0                0               0
                    October 25, 2031 .                                   0               0               0                0               0
                    October 25, 2032 ..                                  0               0               0                0               0
                    October 25, 2033 ..                                  0               0               0                0               0
                    October 25, 2034 ..                                  0               0               0                0               0
                    October 25, 2035 ..                                  0               0               0                0               0
                    October 25, 2036 ..                                  0               0               0                0               0

                    Weighted Average Life (in years)(!)                 7.48            5.67            5.03            5.50           3.00
                    Weighted Average Life (in years)(l)( 2)             6.73            5.10            4.58            4.65           2.88

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.


           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04178999
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                   Class M-3

                   Distribution Date                                   60%             80%             100%            120%           140%


                   Initial Percentage ..                              100%            100%            100%             100%           100%
                   October 25, 2007 ..                                100             100             100              100            100
                   October 25, 2008 ..                                100             100             100              100            100
                   October 25, 2009 ..                                100             100             100              100            100
                   October 25,2010 ..                                  82              59              41              100            100
                   October 25, 2011.                                   66              43              27               17            100
                   October 25, 2012 ..                                 53              32              19               10             92
                   October 25, 2013 ..                                 42              24              13                6             48
                   October 25, 2014 ..                                 34              17               9                4             16
                   October 25,2015 ..                                  27              13               6                0              0
                   October 25, 2016 ..                                 21              10               4                0              0
                   October 25, 2017 ..                                 17               7               0                0              0
                   October 25,2018 ..                                  14               5               0                0              0
                   October 25,2019 ..                                  II               4               0                0              0
                   October 25, 2020 ..                                  9               0               0                0              0
                   October 25,2021.                                     7               0               0                0              0
                   October 25, 2022 ..                                  5               0               0                0              0
                   October 25, 2023 ..                                  4               0               0                0              0
                   October 25, 2024 ..                                                  0               0                0              0
                   October 25, 2025 ..                                  0               0               0                0              0
                   October 25, 2026 ..                                  0               0               0                0              0
                   October 25, 2027 ..                                  0               0               0                0              0
                   October 25, 2028 ..                                  0               0               0                0              0
                   October 25, 2029 ..                                  0               0               0                0              0
                   October 25, 2030 ..                                  0               0               0                0              0
                   October 25, 2031 .                                   0               0               0                0              0
                   October 25, 2032 ..                                  0               0               0                0              0
                   October 25, 2033 ..                                  0               0               0                0              0
                   October 25, 2034 ..                                  0               0               0                0              0
                   October 25, 2035 ..                                  0               0               0                0              0
                   October 25, 2036 ..                                  0               0               0                0              0

                   Weighted Average Life (in years)(!)                 7.46            5.62             4.85            4.86           7.09
                   Weighted Average Life (in years)(!) (2)             6.73            5.07             4.42            4.51           3.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179000
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                   Class M-4

                  Distribution Date                                   60%             80%             100%            120%            140%


                  Initial Percentage.                                100%            100%            100%             100%           100%
                  October 25, 2007.                                  100             100             100              100            100
                  October 25, 2008.                                  100             100             100              100            100
                  October 25, 2009.                                  100             100             100              100            100
                  October 25,2010.                                    82              59              41               88            100
                  October 25, 2011 .                                  66              43              27               17             85
                  October 25, 2012.                                   53              32              19               10              5
                  October 25, 2013 .                                  42              24              13                6              0
                  October 25, 2014.                                   34              17               9                2              0
                  October 25,2015.                                    27              13               6                0              0
                  October 25, 2016.                                   21              10               2                0              0
                  October 25, 2017.                                   17               7               0                0              0
                  October 25,2018.                                    14               5               0                0              0
                  October 25,2019.                                    II                               0                0              0
                  October 25, 2020 .                                   9                0              0                0              0
                  October 25,2021 .                                    7                0              0                0              0
                  October 25, 2022.                                    5                0              0                0              0
                  October 25, 2023 .                                   4                0              0                0              0
                  October 25, 2024.                                    0                0              0                0              0
                  October 25, 2025 .                                   0                0              0                0              0
                  October 25, 2026.                                    0                0              0                0              0
                  October 25, 2027 .                                   0                0              0                0              0
                  October 25, 2028 .                                   0                0              0                0              0
                  October 25, 2029 .                                   0                0              0                0              0
                  October 25, 2030 .                                   0                0              0                0              0
                  October 25, 2031 .                                   0                0              0                0              0
                  October 25, 2032 .                                   0                0              0                0              0
                  October 25, 2033 .                                   0                0              0                0              0
                  October 25, 2034 .                                   0                0              0                0              0
                  October 25, 2035 .                                   0                0              0                0              0
                  October 25, 2036 .                                   0                0              0                0              0

                  Weighted Average Life (in years)(!)                 7.43             5.59            4.75            4.58            5.42
                  Weighted Average Life (in years)(l)(l)              6.73             5.06            4.33            4.24            3.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179001
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                    Class M-5

                   Distribution Date                                    60%              80%             100%            120%           140%


                   Initial Percentage .                                100%             100%           100%              100%           100%
                   October 25, 2007 ..                                 100              100            100               100            100
                   October 25, 2008 ..                                 100              100            100               100            100
                   October 25, 2009 ..                                 100              100            100               100            100
                   October 25, 2010 ..                                  82               59             41                27            100
                   October 25, 2011..                                   66               43             27                17             10
                   October 25, 2012 ..                                  53               32             19                10              5
                   October 25, 2013 ..                                  42               24             13                 6              0
                   October 25, 2014 ..                                  34               17              9                 0              0
                   October 25, 2015 ..                                  27               13              6                 0              0
                   October 25, 2016 ..                                  21               10              0                 0              0
                   October 25, 2017 ..                                  17                7              0                 0              0
                   October 25, 2018 ..                                  14                5              0                 0              0
                   October 25, 2019 ..                                  II                0              0                 0              0
                   October 25, 2020 ..                                   9                0              0                 0              0
                   October 25, 2021..                                    7                0              0                 0              0
                   October 25, 2022 ..                                   5                0              0                 0              0
                   October 25, 2023 ..                                   0                0              0                 0              0
                   October 25, 2024 ..                                   0                0              0                 0              0
                   October 25, 2025 ..                                   0                0              0                 0              0
                   October 25, 2026 ..                                   0                0              0                 0              0
                   October 25, 2027 ..                                   0                0              0                 0              0
                   October 25, 2028 ..                                   0                0              0                 0              0
                   October 25, 2029 ..                                   0                0              0                 0              0
                   October 25, 2030 ..                                   0                0              0                 0              0
                   October 25, 2031..                                    0                0              0                 0              0
                   October 25, 2032 ..                                   0                0              0                 0              0
                   October 25, 2033 ..                                   0                0              0                 0              0
                   October 25, 2034 ..                                   0                0              0                 0              0
                   October 25, 2035 ..                                   0                0              0                 0              0
                   October 25, 2036 ..                                   0                0              0                 0              0

                   Weighted Average Life (in years)(!)                   7.40            5.54            4.67             4.38          4.75
                   Weighted Average Life (in years)(l)( 2)               6.73            5.04            4.27             4.06          3.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179002
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                    Class M-6

                   Distribution Date                                    60%              80%             100%            120%           140%


                   Initial Percentage .                                100%             100%           100%              100%           100%
                   October 25, 2007 ..                                 100              100            100               100            100
                   October 25, 2008 ..                                 100              100            100               100            100
                   October 25, 2009 ..                                 100              100            100               100            100
                   October 25, 2010 ..                                  82               59             41                27             95
                   October 25, 2011..                                   66               43             27                17             10
                   October 25, 2012 ..                                  53               32             19                10              2
                   October 25, 2013 ..                                  42               24             13                 6              0
                   October 25, 2014 ..                                  34               17              9                 0              0
                   October 25, 2015 ..                                  27               13              5                 0              0
                   October 25, 2016 ..                                  21               10              0                 0              0
                   October 25, 2017 ..                                  17                7              0                 0              0
                   October 25, 2018 ..                                  14                *              0                 0              0
                   October 25, 2019 ..                                  II                0              0                 0              0
                   October 25, 2020 ..                                   9                0              0                 0              0
                   October 25, 2021..                                    7                0              0                 0              0
                   October 25, 2022 ..                                   2                0              0                 0              0
                   October 25, 2023 ..                                   0                0              0                 0              0
                   October 25, 2024 ..                                   0                0              0                 0              0
                   October 25, 2025 ..                                   0                0              0                 0              0
                   October 25, 2026 ..                                   0                0              0                 0              0
                   October 25, 2027 ..                                   0                0              0                 0              0
                   October 25, 2028 ..                                   0                0              0                 0              0
                   October 25, 2029 ..                                   0                0              0                 0              0
                   October 25, 2030 ..                                   0                0              0                 0              0
                   October 25, 2031..                                    0                0              0                 0              0
                   October 25, 2032 ..                                   0                0              0                 0              0
                   October 25, 2033 ..                                   0                0              0                 0              0
                   October 25, 2034 ..                                   0                0              0                 0              0
                   October 25, 2035 ..                                   0                0              0                 0              0
                   October 25, 2036 ..                                   0                0              0                 0              0

                   Weighted Average Life (in years)(!)                   7.37            5.51            4.60             4.23          4.35
                   Weighted Average Life (in years)(l)( 2)               6.73            5.03            4.22             3.93          3.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179003
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                    Class M-7

                   Distribution Date                                    60%              80%             100%            120%           140%


                   Initial Percentage .                                 100%             100%           100%              100%           100%
                   October 25, 2007 ..                                  100              100            100               100            100
                   October 25, 2008 ..                                  100              100            100               100            100
                   October 25, 2009 ..                                  100              100            100               100            100
                   October 25, 2010 ..                                   82               59             41                27             17
                   October 25, 2011..                                    66               43             27                17             10
                   October 25, 2012 ..                                   53               32             19                10              0
                   October 25, 2013 ..                                   42               24             13                 2              0
                   October 25, 2014 ..                                   34               17              9                 0              0
                   October 25, 2015 ..                                   27               13              0                 0              0
                   October 25, 2016 ..                                   21               10              0                 0              0
                   October 25, 2017 ..                                   17                5              0                 0              0
                   October 25, 2018 ..                                   14                0              0                 0              0
                   October 25, 2019 ..                                   II                0              0                 0              0
                   October 25, 2020 ..                                    9                0              0                 0              0
                   October 25, 2021..                                     4                0              0                 0              0
                   October 25, 2022 ..                                    0                0              0                 0              0
                   October 25, 2023 ..                                    0                0              0                 0              0
                   October 25, 2024 ..                                    0                0              0                 0              0
                   October 25, 2025 ..                                    0                0              0                 0              0
                   October 25, 2026 ..                                    0                0              0                 0              0
                   October 25, 2027 ..                                    0                0              0                 0              0
                   October 25, 2028 ..                                    0                0              0                 0              0
                   October 25, 2029 ..                                    0                0              0                 0              0
                   October 25, 2030 ..                                    0                0              0                 0              0
                   October 25, 2031..                                     0                0              0                 0              0
                   October 25, 2032 ..                                    0                0              0                 0              0
                   October 25, 2033 ..                                    0                0              0                 0              0
                   October 25, 2034 ..                                    0                0              0                 0              0
                   October 25, 2035 ..                                    0                0              0                 0              0
                   October 25, 2036 ..                                    0                0              0                 0              0

                   Weighted Average Life (in years)(!)                   7.32            5.45            4.53             4.ll          4.08
                   Weighted Average Life (in years)(l)( 2)               6.73            5.02            4.18             3.83          3.74

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (I)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179004
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                    Class M-8

                   Distribution Date                                    60%              80%             100%            120%           140%


                   Initial Percentage .                                100%             100%            100%             100%           100%
                   October 25, 2007 ..                                 100              100             100              100            100
                   October 25, 2008 ..                                 100              100             100              100            100
                   October 25, 2009 ..                                 100              100             100              100            100
                   October 25, 2010 ..                                  82               59              41               27             17
                   October 25, 2011..                                   66               43              27               17             10
                   October 25, 2012 ..                                  53               32              19               10              0
                   October 25, 2013 ..                                  42               24              13                0              0
                   October 25, 2014 ..                                  34               17               6                0              0
                   October 25, 2015 ..                                  27               13               0                0              0
                   October 25, 2016 ..                                  21               10               0                0              0
                   October 25, 2017 ..                                  17                0               0                0              0
                   October 25, 2018 ..                                  14                0               0                0              0
                   October 25, 2019 ..                                  11                0               0                0              0
                   October 25, 2020 ..                                   6                0               0                0              0
                   October 25, 2021..                                    0                0               0                0              0
                   October 25, 2022 ..                                   0                0               0                0              0
                   October 25, 2023 ..                                   0                0               0                0              0
                   October 25, 2024 ..                                   0                0               0                0              0
                   October 25, 2025 ..                                   0                0               0                0              0
                   October 25, 2026 ..                                   0                0               0                0              0
                   October 25, 2027 ..                                   0                0               0                0              0
                   October 25, 2028 ..                                   0                0               0                0              0
                   October 25, 2029 ..                                   0                0               0                0              0
                   October 25, 2030 ..                                   0                0               0                0              0
                   October 25, 2031..                                    0                0               0                0              0
                   October 25, 2032 ..                                   0                0               0                0              0
                   October 25, 2033 ..                                   0                0               0                0              0
                   October 25, 2034 ..                                   0                0               0                0              0
                   October 25, 2035 ..                                   0                0               0                0              0
                   October 25, 2036 ..                                   0                0               0                0              0

                   Weighted Average Life (in years)(!)                   7.25            5.40            4.45             4.00          3.88
                   Weighted Average Life (in years)(l)( 2)               6.73            5.02            4.15             3.76          3.67

           *If, applicable, indicates a number that is greater than zero but less than 0.5%.

           (1)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179005
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                                          Percent of the Initial Certificate Principal Balance
                                    at the Respective Percentages of the Prepayment Assumption

                                                                                                    Class M-9

                   Distribution Date                                    60%              80%             100%            120%           140%


                   Initial Percentage .                                100%             100%            100%             100%           100%
                   October 25, 2007 ..                                 100              100             100              100            100
                   October 25, 2008 ..                                 100              100             100              100            100
                   October 25, 2009 ..                                 100              100             100              100            100
                   October 25, 2010 ..                                  82               59              41               27             17
                   October 25, 2011..                                   66               43              27               17
                   October 25, 2012 ..                                  53               32              19                5               0
                   October 25, 2013 ..                                  42               24              13                0               0
                   October 25, 2014 ..                                  34               17               0                0               0
                   October 25, 2015 ..                                  27               13               0                0               0
                   October 25, 2016 ..                                  21                                0                0               0
                   October 25, 2017 ..                                  17                0               0                0               0
                   October 25, 2018 ..                                  14                0               0                0               0
                   October 25, 2019 ..                                   8                0               0                0               0
                   October 25, 2020 ..                                   0                0               0                0               0
                   October 25, 2021..                                    0                0               0                0               0
                   October 25, 2022 ..                                   0                0               0                0               0
                   October 25, 2023 ..                                   0                0               0                0               0
                   October 25, 2024 ..                                   0                0               0                0               0
                   October 25, 2025 ..                                   0                0               0                0               0
                   October 25, 2026 ..                                   0                0               0                0               0
                   October 25, 2027 ..                                   0                0               0                0               0
                   October 25, 2028 ..                                   0                0               0                0               0
                   October 25, 2029 ..                                   0                0               0                0               0
                   October 25, 2030 ..                                   0                0               0                0               0
                   October 25, 2031..                                    0                0               0                0               0
                   October 25, 2032 ..                                   0                0               0                0               0
                   October 25, 2033 ..                                   0                0               0                0               0
                   October 25, 2034 ..                                   0                0               0                0               0
                   October 25, 2035 ..                                   0                0               0                0               0
                   October 25, 2036 ..                                   0                0               0                0               0

                   Weighted Average Life (in years)(!)                  7.16             5.33            4.38             3.89          3.72
                   Weighted Average Life (in years)(l)( 2)              6.73             5.01            4.13             3.69          3.55

           *If applicable, indicates a number that is greater than zero but less than 0.5%.
           (1)     The weighted average life of the Offered Certificates is determined by (i) multiplying the amount of each principal payment by
                   the number of years from the date of issuance to the related distribution date, (ii) adding the results, and (iii) dividing the sum by
                   the initial respective certificate principal balance for such class of Offered Certificates.
           (2)     Assumes that the master servicer exercises its option to purchase the Mortgage Loans on the earliest possible distribution date on
                   which it is permitted to exercise this option. See "Pooling and Servicing Agreement-optional Termination" in this prospectus
                   supplement.




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CON Fl DENTIAL                                                                                                                                       FHFA04179006
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                                                               THE SPONSOR

                            Nomura Credit & Capital, Inc., the sponsor, is a Delaware corporation whose
            principal offices are located in New York, New York. The sponsor has a book value of
            approximately $75 million as of July 31, 2006, is an indirect subsidiary of Nomura Holding America
            Inc., and an indirect subsidiary of Nomura Holdings, Inc., a global investment banking and securities
            firm having a current market capitalization of approximately $34.13 billion. The sponsor is a HUD
            approved mortgagee primarily engaged in the business of originating, purchasing and selling
            commercial mortgage loans, purchasing and selling residential mortgage loans and engaging in
            various asset backed warehouse and repurchase financings of non-securities. The sponsor is also an
            affiliate of Nomura Home Equity Loan, Inc., the depositor for this transaction. The sponsor was
            incorporated in the State of Delaware on June 24, 1998. The sponsor maintains its principal office at
            Two World Financial Center, Building B, New York, New York 10281. Its telephone number is
            (212) 667-9300.

                            Since 2002 the sponsor has been purchasing residential mortgage loans, comprised
            primarily of newly originated, conforming and non-conforming balance, Alt-A, first-lien, fixed and
            adjustable rate mortgages, as well as second-lien and subprime mortgages, in excess of $26.97 billion
            as of September 30, 2006. The sponsor is responsible for pooling the mortgage loans to be
            securitized by the depositor, negotiating the principal securitization transaction documents and
            participating with the underwriters in the structuring of such transactions. The sponsor also sells
            residential mortgage loans and related servicing rights to third-party investors.

                            The sponsor has been actively securitizing residential mortgage loans since April
            2003. The following table describes the size (at issuance), composition and growth of the sponsor's
            total portfolio of assets it has publicly securitized as of the dates indicated. As of the date of this
            prospectus supplement, none of the securitization transactions sponsored by the sponsor through
            August 2006 and involving the depositor have defaulted or experienced a trigger event.


                                 Year ended                    Year ended                        Year ended                   Month ended
                              December 31, 2003             December 31, 2004                 December 31, 2005            September 30, 2006
                                    Total Portfolio                Total Portfolio                    Total Portfolio             Total Portfolio
            Loan Type     Number        of Loans        Number        of Loans            Number         of Loans       Number       of Loans
        Alt-A ARM ...       N/A           N/A            6,360     $1,595,220,173         ll,l66      $3,096,819,467      4,460   $1,475,178,325
        Alt-A Fixed ...    3,268    $687,573,876         3,823     $ 773,581,361           6,798      $1,387,201,153      6,844   $1,560,840,196
        Seconds ...         N/A           N/A             N/A            N/A              12,142      $ 685,450,460           0        N/A
        SubPrime ..         N/A           N/A             N/A            N/A              10,278      $2,080,121,500     23,619   $4,355,288,958




                                                      STATIC POOL INFORMATION

                             Static     pool     information        material         to    this    offering      may      be    found      at
            http://www.nomuradeals.com/NHEL2006FM2.

                             Information provided through the Internet address above will not be deemed to be a
            part of this prospectus or the registration statement for the securities offered hereby if it relates to any
            prior securities pool or vintage formed before January 1, 2006, or with respect to any mortgage pool
            (if applicable) acquired before January 1, 2006.


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CON Fl DENTIAL                                                                                                                            FHFA04179007
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                                                     ISSUING ENTITY

                            Nomura Home Equity Loan, Inc., Home Equity Loan Trust Series 2006-FM2 is a
           common law trust formed under the laws of the State of New York pursuant to the pooling and
           servicing agreement between the depositor, the servicer, the master servicer, the securities
           administrator and the trustee, dated as of October 1, 2006 (the "Pooling and Servicing Agreement").
           The Pooling and Servicing Agreement constitutes the "governing instrument" under the laws of the
           State of New York. After its formation, the Issuing Entity will not engage in any activity other than
           (i) acquiring and holding the Mortgage Loans and the other assets of the trust and proceeds
           therefrom, (ii) issuing the certificates, (iii) making payments on the certificates and (iv) engaging in
           other activities that are necessary, suitable or convenient to accomplish the foregoing or are
           incidental thereto or connected therewith. The foregoing restrictions are contained in the Pooling and
           Servicing Agreement. These restrictions cannot be amended without the consent of holders of
           certificates evidencing at least 51% of the voting rights. For a description of other provisions relating
           to amending the Pooling and Servicing Agreement, please see "Description of the Agreements -
           Amendment" in the prospectus.

                           The assets of the Issuing Entity will consist of the Mortgage Loans and certain related
           assets.

                           The Issuing Entity's fiscal year end is December 31.

                                                    THE DEPOSITOR

                           Nomura Home Equity Loan, Inc., the depositor, is a special purpose corporation
           incorporated in the State of Delaware on April 26, 2005. The principal executive offices of the
           depositor are located at Two World Financial Center, Building B, New York, New York 10281. Its
           telephone number is (212) 667-9300. The depositor does not have, nor is it expected in the future to
           have, any significant assets.

                           The limited purposes of the depositor are, in general, to acquire, own and sell
           mortgage loans and financial assets; to issue, acquire, own, hold and sell securities and notes secured
           by or representing ownership interests in mortgage loans and other financial assets, collections on the
           mortgage loans and related assets; and to engage in any acts that are incidental to, or necessary,
           suitable or convenient to accomplish, these purposes.

                           The depositor has been actively serving as a private secondary mortgage market
           conduit for residential mortgage loans since its inception. Since that time it has been involved in the
           issuance of public securities backed by residential mortgage loans in excess of $5.2 billion as of July
           31, 2006.

                             After issuance and registration of the secunt1es contemplated in this prospectus
           supplement, the depositor will have no duties or responsibilities with respect to the pool assets or
           securities other than any obligations with respect to the filing of any reports under the Exchange Act
           as set forth in the Pooling and Servicing Agreement.

                         All of the shares of capital stock of the depositor are held by Nomura America
           Mortgage Finance, LLC, a Delaware limited liability company.



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CON Fl DENTIAL                                                                                                   FHFA04179008
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                                                       SERVICING

                            Primary serv1cmg of the Mortgage Loans will be provided by Equity One, Inc.
           pursuant to the Pooling and Servicing Agreement, through a subservicing arrangement with its
           affiliate, Popular Mortgage Servicing, Inc., a Delaware corporation. Notwithstanding                its
           subservicing arrangement with Popular Mortgage Servicing, Inc., Equity One, Inc., will continue to
           be liable for the servicing of the Mortgage Loans until it is terminated as servicer under the Pooling
           and Servicing Agreement. The information set forth in the following paragraphs has been provided
           by Equity One, Inc.

           The Servicer

                           Equity One, Inc., a Delaware corporation and a wholly-owned operating subsidiary of
           Popular Financial Holdings, Inc., a Delaware corporation, will be the servicer pursuant to the Pooling
           and Servicing Agreement. The servicer is engaged primarily in the mortgage banking and consumer
           lending business, and in that capacity, originates, purchases, sells and services mortgage and
           consumer loans. The servicer is a Fannie Mae and Freddie Mac approved lender. It originates loans
           through a retail branch system and through loan brokers and correspondents nationwide. The
           servicer's loans are principally first and second lien, fixed or adjustable rate mortgage loans secured
           by one- to four-family dwellings or multi-family properties and structures which include both
           residential dwelling units and space used for retail, professional or other commercial uses, and
           secured or unsecured consumer loans.

                         The principal executive offices of the servicer are located at 301 Lippincott Drive,
           Marlton, NJ 08053. Its telephone number is (800) 461-8643.

                            There have been no material changes to the servicer's policies and procedures in the
           servicing function it will perform for this transaction for assets of the same type included in this
           transaction for the past three years.

           The Subservicer

                           Effective as of 11:59 p.m. on May 31, 2006, the servicer transferred substantially all
           of its mortgage servicing operations and business to the subservicer, its affiliate, which, like the
           servicer, is a wholly owned subsidiary of Popular Financial Holdings, Inc. Accordingly, the
           subservicer utilizes substantially the same personnel, servicing platform and servicing policies and
           procedures as had been historically utilized by the servicer. The servicer had been servicing
           mortgage loans similar to the Mortgage Loans since 1989. Prior to 11:59 p.m. on to May 31, 2006,
           the subservicer was not engaged in any mortgage loan servicing activity.

                          As of June 30, 2006, the servicer and its subsidiaries provided serv1cmg for
           approximately 85,956 mortgage loans (including mortgage loans serviced for third parties) having an
           aggregate net unpaid principal balance of approximately $10,455,370,528. As of the date of this
           prospectus supplement, the subservicer is providing servicing for substantially all of these mortgage
           loans.

                            The subservicer is a Fannie Mae and Freddie Mac approved servicer. As of the date
           of this prospectus supplement, the subservicer's rating as a primary servicer of subprime mortgage
           loans is as follows:


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CON Fl DENTIAL                                                                                                 FHFA04179009
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                                         I Fitch IRPS2-I
                          The subservicer primarily conducts its mortgage loan servicing operations from its
           headquarters located at 121 Woodcrest Road, Cherry Hill, NJ 08053.

                           The subservicer services and subservices mortgage loans owned by affiliated or
           unaffiliated entities. The subservicer has established standard policies for the subservicing and
           collection of mortgage loans. Subservicing includes, but is not limited to, collecting and remitting
           mortgage loan payments, accounting for principal and interest, preparation of tax related information
           in connection with the mortgage loans, supervision of delinquent mortgage loans, making inspections
           as required of the mortgaged properties, loss mitigation efforts, foreclosure proceedings and, if
           applicable, the disposition of mortgaged properties, and generally administering the mortgage loans.
           Under its subservicing agreement with the servicer, the subservicer receives subservicing fees that
           are generally calculated based on the number of loans subserviced for the servicer.

                          When a borrower fails to make a payment on a mortgage loan, the subservicer
           contacts the borrower in an attempt to get the borrower to cure the deficiency. Pursuant to its
           servicing procedures, the subservicer generally mails to the borrower a notice of intent to foreclose
           after the mortgage loan becomes 60 days contractually past due (assuming 30 day months) (three
           payments due but not received). Within 45 days thereafter, if the mortgage loan remains delinquent,
           the subservicer will institute appropriate legal action to foreclose on the mortgaged property. The
           subservicer may terminate these foreclosure proceedings if the borrower cures the delinquency.
           Mortgage loans to borrowers in bankruptcy proceedings may be restructured in accordance with law
           and with a view to maximizing recovery on these mortgage loans, including any deficiencies.

                          Once foreclosure is initiated, the subservicer uses a foreclosure tracking system to
           monitor the progress of the proceedings. The system includes state specific parameters to monitor
           whether proceedings are progressing within the time frame typical for the state in which the
           mortgaged property is located. During the foreclosure proceeding, the subservicer determines the
           amount of the foreclosure bid and whether to liquidate the mortgage loan.

                            After foreclosure, the subservicer may liquidate the mortgaged property and charge-
           off the portion of the mortgage loan balance that was not recovered as part of Liquidation Proceeds.
           If foreclosed, the mortgaged property is sold at a public or private sale and may be purchased by the
           subservicer or the servicer.

                           Servicing and charge-off policies and collection practices may change over time in
           accordance with, among other things, the business judgment of the subservicer, changes in the
           servicing portfolio and applicable laws and regulations.

                            There have been no material changes to the subservicer' s policies and procedures in
           the servicing function it will perform for this transaction for assets of the same type included in this
           transaction for the past three years.

           Foreclosure, Delinquency and Loss Experience

                         The following table summarizes the foreclosure, delinquency and loss experience of
           mortgage loans owned and serviced by the servicer and its subsidiaries at or for the years specified
           therein. A mortgage loan is characterized as delinquent if the borrower has not paid the scheduled

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CON Fl DENTIAL                                                                                                  FHFA0417901 0
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           payment due by the due date. The table below discloses delinquency percentages of mortgage loans
           60 days or more past due on a contractual basis and includes mortgage loans where the mortgage
           loan is in foreclosure or the borrower has filed for bankruptcy, but excludes mortgage loans which
           are real estate owned. You should not consider this information as a basis for assessing the
           likelihood, amount, or severity of delinquency or losses on the Mortgage Loans, and no assurances
           can be given that the foreclosure, delinquency and loss experience presented in the table below will
           be indicative of the actual foreclosure, delinquency and loss experience on the Mortgage Loans.


                                                     Foreclosure, Delinquency and Loss Table0 l
                                                              (Dollars in Thousands)
                                                                                                                At or for the       At or for the
                                        At or for the           At or for the           At or for the           Six Months          Six Months
                                        Year Ended              Year Ended              Year Ended                 Ended               Ended
                                     November 30 2003        November 30 2004        November 30 2005          June 30 2005        June 30 2006

           Portfolio Unpaid
                                        $6,272,912              $8,169,832              $8,063,534            $7,332,898          $7,212,040
           Principal Balance(2)
           Average Portfolio
           Unpaid Principal             $5,092,792              $7,258,688              $7,739,357            $7,651,755          $7,504,252
           Balance(3)
           60+ Days Delinquent(4)         4.62%                   4.40%                   4.40%                  4.68%               5.21%
           Real Estate Owned(s)          $25,957                 $34,677                 $50,542                $42,247             $56,687
           Total Credit Losses(6)         0.44%                   0.37%                   0.60%                 0.56%(7)            0.62%(7)

           (1)      This table includes only mortgage loans owned and serviced by the servicer and its subsidiaries and real estate owned
                    by the servicer and its subsidiaries.

           (2)      Portfolio Unpaid Principal Balance is the net amount of (a) principal to be paid on each mortgage loan, (b) loan
                    origination fees, net of costs, (c) unearned interest and (d) other miscellaneous deferred charges and fees; and excludes
                    the principal balance of each mortgage loan for which the related mortgaged property had been acquired through
                    foreclosure or deed in lieu of foreclosure by that date.

           (3)      Average Portfolio Unpaid Principal Balances are calculated by summing monthly Portfolio Unpaid Principal Balances
                    and dividing by the number of months summed~' thirteen (13) in the case of the annual figures and seven (7) in the
                    case of the six month figures).

           (4)      Delinquency percentages are calculated as the dollar amount of the unpaid principal balance of the mortgage loans that
                    are delinquent divided by the Portfolio Unpaid Principal Balance. Delinquency percentages do not include the
                    principal balance of mortgage loans as to which the related mortgaged property had been acquired through foreclosure
                    or deed in lieu of foreclosure by that date. For the columns entitled "At or for the Year Ended November 30, 2003,"
                    "At or for the Year Ended November 30, 2004," "At or for the Year Ended November 30, 2005," "At or for the Six
                    Months Ended June 30, 2005" and "At or for the Six Months Ended June 30, 2006" delinquency percentages are
                    calculated based on the number of days payments are contractually past due and assumes 30-day months.
                    Consequently, a payment due on the first day of a month is not 30 days delinquent until the first day of the following
                    month.

           (5)      Real estate owned represents the aggregate estimated fair value of the properties acquired through foreclosure or deed
                    in lieu of foreclosure.

           (6)      Total Credit Losses includes charge-offs of principal, net of subsequent recoveries, relating to mortgage loans written
                    off as uncollectible and initial write-downs of loans upon transfer to real estate owned. It does not include
                    (a) subsequent write downs of real estate owned balances, (b) expenses associated with maintaining, repairing, and
                    selling foreclosed properties and real estate owned and (c) losses (gains) on the disposition of real estate owned.

           (7)      Annualized.




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                           Historically, a variety of factors, including the appreciation of real estate values, have
           limited the loss and delinquency experience on mortgage loans. There can be no assurance that
           factors beyond the servicer's control, like national or local economic conditions or downturn in the
           real estate markets of its lending areas, will not result in increased rates of delinquencies and
           foreclosure losses in the future.

           Servicing and Other Compensation and Payment of Expenses

                           The servicer will provide the servicing functions with respect to the Mortgage Loans
           as set forth in the Pooling and Servicing Agreement. Among other things, the servicer will be
           obligated, except under certain circumstances described in this prospectus supplement, to make P&I
           Advances with respect to the Mortgage Loans. In managing the liquidation of defaulted Mortgage
           Loans, the servicer will have sole discretion to take such action in maximizing recoveries to the
           certificateholders including, without limitation, selling defaulted Mortgage Loans and REO
           Properties as described in the Pooling and Servicing Agreement. Pursuant to the terms of the Pooling
           and Servicing Agreement, the servicer will be entitled to reimbursement for P&I Advances, servicing
           advances, servicing fees and applicable expenses on a priority basis from, among other things, late
           recoveries of principal and/or interest, Liquidation Proceeds and Insurance Proceeds from the
           Mortgage Loans. The master servicer will be required to monitor the performance of the Servicer
           under the Pooling and Servicing Agreement.

                           The principal compensation to be paid to the servicer in respect of the servicing
           activities performed by it with respect to the Mortgage Loans will be 0.50% per annum (the
           "Servicing Fee Rate") on the Stated Principal Balance of each Mortgage Loan (the "Servicing Fee").
           As additional servicing compensation, the servicer is entitled to retain all assumption fees, late
           payment charges, and other miscellaneous servicing fees in respect of the Mortgage Loans to the
           extent collected from the borrowers, together with any interest or other income earned on funds held
           in the Custodial Account (as defined in this prospectus supplement) maintained by such servicer and
           any escrow accounts.

                           In general, the servicer will be obligated to offset any Prepayment Interest Shortfall
           relating to voluntary prepayments on any distribution date with Compensating Interest on such
           distribution date as described in the definition of Compensating Interest under "Description of the
           Certificates-Glossary of Terms" in this prospectus supplement; provided however that the
           obligation of the servicer with respect to the payment of Compensating Interest will be limited to the
           Servicing Fee payable to the servicer for such month. The servicer is obligated to pay insurance
           premiums and other ongoing expenses associated with the Mortgage Loans incurred by it in
           connection with its responsibilities under the Pooling and Servicing Agreement and is entitled to
           reimbursement for these expenses as provided in the Pooling and Servicing Agreement.

           Payments on Mortgage Loans; Deposits to Custodial Account

                           The servicer shall establish and maintain or cause to be maintained a separate trust
           account (the "Custodial Account") for the Mortgage Loans for the benefit of the certificateholders.
           The Custodial Account will be an Eligible Account (as defined in the Pooling and Servicing
           Agreement). Within two (2) business days of receipt by the servicer of amounts in respect of the
           Mortgage Loans (excluding amounts representing the Servicing Fee or other servicing compensation,
           reimbursement for P&I Advances and servicing advances and Insurance Proceeds to be applied to the
           restoration or repair of a related Mortgaged Property or similar items), the servicer will deposit such


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           amounts in the Custodial Account. Amounts so deposited may be invested in Permitted Investments
           maturing no later than one Business Day prior to the Servicer Remittance Date. All investment
           income on funds in the Custodial Account shall be for the benefit of the servicer.

                           Any one or more of the following obligations or securities held in the name of the
           trustee for the benefit of the related certificateholders will be considered a Permitted Investment
           (each a "Permitted Investment"):

                           (i)    obligations of the United States or any agency thereof, provided such
           obligations are backed by the full faith and credit of the United States;

                             (ii)   general obligations of or obligations guaranteed by any state of the United
           States or the District of Columbia receiving the highest long-term debt rating of each rating agency,
           or such lower rating as will not result in the downgrading or withdrawal of the ratings then assigned
           to the certificates by each rating agency, as evidenced in writing;

                           (iii)  commercial or finance company paper which is then receiving the highest
           commercial or finance company paper rating of each rating agency, or such lower rating as will not
           result in the downgrading or withdrawal of the ratings then assigned to the certificates by each rating
           agency, as evidenced in writing;

                          (iv)    certificates of deposit, demand or time deposits, or bankers' acceptances
           issued by any Depository institution or trust company incorporated under the laws of the United
           States or of any state thereof and subject to supervision and examination by federal and/or state
           banking authorities (including the trustee in its commercial banking capacity), provided that the
           commercial paper and/or long term unsecured debt obligations of such Depository institution or trust
           company are then rated one of the two highest long-term and the highest short-term ratings of each
           such rating agency for such securities, or such lower ratings as will not result in the downgrading or
           withdrawal of the rating then assigned to the certificates by any rating agency, as evidenced in
           writing;

                            (v)     guaranteed reinvestment agreements issued by any bank, insurance company
           or other corporation containing, at the time of the issuance of such agreements, such terms and
           conditions as will not result in the downgrading or withdrawal of the rating then assigned to the
           certificates by each rating agency, as evidenced in writing;

                           (vi)    repurchase obligations with respect to any security described in clauses (i)
           and (ii) above, in either case entered into with a Depository institution or trust company (acting as
           principal) described in clause (v) above;

                           (vii) securities (other than stripped bonds, stripped coupons or instruments sold at
           a purchase price in excess of 115% of the face amount thereof) bearing interest or sold at a discount
           issued by any corporation incorporated under the laws of the United States or any state thereof
           which, at the time of such investment, have one of the two highest short term ratings of each rating
           agency (except if the rating agency is Moody's, such rating will be the highest commercial paper
           rating of Moody's for any such securities), or such lower rating as will not result in the downgrading
           or withdrawal of the rating then assigned to the certificates by each rating agency, as evidenced by a
           signed writing delivered by each rating agency;



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                           (viii) interests in any money market fund (including any such fund managed or
           advised by the trustee or any affiliate thereof) which at the date of acquisition of the interests in such
           fund and throughout the time such interests are held in such fund has the highest applicable short
           term rating by each rating agency or such lower rating as will not result in the downgrading or
           withdrawal of the ratings then assigned to the certificates by each rating agency, as evidenced in
           writing;

                           (ix)     short term investment funds sponsored by any trust company or banking
           association incorporated under the laws of the United States or any state thereof (including any such
           fund managed or advised by the trustee or the master servicer or any affiliate thereof) which on the
           date of acquisition has been rated by each rating agency in their respective highest applicable rating
           category or such lower rating as will not result in the downgrading or withdrawal of the ratings then
           assigned to the certificates by each rating agency, as evidenced in writing; and

                           (x)    such other investments having a specified stated maturity and bearing interest
           or sold at a discount acceptable to each rating agency and as will not result in the downgrading or
           withdrawal of the rating then assigned to the certificates by any rating agency, as evidenced by a
           signed writing delivered by each rating agency.

           Prepayment Interest Shortfalls and Compensating Interest

                           When a principal prepayment in full is made on a Mortgage Loan, the mortgagor is
           charged interest only for the period from the Due Date of the preceding monthly payment up to the
           date of the prepayment, instead of for a full month. When a partial principal prepayment is made on a
           Mortgage Loan, the mortgagor is not charged interest on the amount of the prepayment for the month
           in which the prepayment is made. In addition, the application of the Servicemembers Civil Relief Act
           (the "Relief Act") and similar state or local laws to any Mortgage Loan could adversely affect, for an
           indeterminate period of time, the ability of the related servicer to collect full amounts of interest on
           such Mortgage Loans.

                            The servicer is obligated to pay from its own funds up to the related amount of
           Compensating Interest only those interest shortfalls attributable to voluntary principal prepayments by the
           borrowers on the Mortgage Loans. Any interest shortfalls attributable to voluntary principal prepayments
           required to be funded but not funded by the servicer are required to be paid by the master servicer, but
           only to the extent that such amount does not exceed the aggregate master servicing fee (exclusive of the
           portion of such fee payable to the credit risk manager) for the Mortgage Loans for the applicable
           distribution date. Accordingly, the effect of (i) any principal prepayments on the Mortgage Loans, to the
           extent that any resulting shortfall (a "Prepayment Interest Shortfall") exceeds any Compensating Interest
           payments by the servicer or the master servicer or (ii) any shortfalls resulting from the application of the
           Relief Act, will be to reduce the aggregate amount of interest collected that is available for distribution to
           the holders of the related certificates. Any such shortfalls will be allocated among the certificates as
           provided under "Description of the Certificates-Distributions" in this prospectus supplement. See
           "Certain Legal Aspects of the Loans-Servicemembers Civil Relief Act" in the prospectus.

           P&I Advances

                           Subject to the limitations set forth in the following paragraph, if a scheduled payment
           on a Mortgage Loan which was due on a related due date and is delinquent (other than as a result of
           application of the Relief Act), the servicer will be required to remit to the securities administrator for
           deposit in the Distribution Account (as defined in this prospectus supplement) from its own funds or


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           from funds available in the Custodial Account relating to a subsequent due date, or some
           combination of its own funds and such amounts on the Servicer Remittance Date, an amount equal to
           such delinquency, net of the Servicing Fee (any such remittance, a "P&I Advance").

                            P&I Advances are required to be made only to the extent they are deemed by the
           servicer to be recoverable from related late collections, Insurance Proceeds or Liquidation Proceeds
           from the Mortgage Loan as to which the unreimbursed P&I Advance was made. In addition, any P&I
           Advances previously made in respect of any Mortgage Loan that are deemed by the servicer to be
           nonrecoverable from related late collections, Insurance Proceeds or Liquidation Proceeds may be
           reimbursed to the servicer out of any funds in the Custodial Account prior to distributions on the
           related certificates. The purpose of making the P&I Advances is to maintain a regular cash flow to
           the certificateholders, rather than to guarantee or insure against losses. The servicer will not be
           required to make any P&I Advances with respect to reductions in the amount of the monthly
           payments on the related Mortgage Loans due to bankruptcy proceedings or the application of the
           Relief Act.

                           Failure of the servicer to make any required P&I Advance, which failure goes
           unremedied for the days specified in the Pooling and Servicing Agreement would constitute an event
           of default under the Pooling and Servicing Agreement. Such event of default would obligate the
           master servicer, as successor servicer, or any other successor servicer appointed by the master
           servicer to make such P&I Advance subject to its determination of recoverability from related late
           collections, Insurance Proceeds or Liquidation Proceeds from the related Mortgage Loan.

                           The Pooling and Servicing Agreement also provides that the Servicer may enter into
           a facility with any person which provides that such person may fund P&I Advances or servicing
           advances, although no such facility shall reduce or otherwise affect the obligations of to fund such
           P&I Advances or servicing advances. Any P&I Advances or servicing advances funded by an
           advancing person will be reimbursed to the advancing person in the same manner as reimbursements
           would be made to the Servicer.

           Modifications

                           In instances in which a Mortgage Loan is in default or if default is reasonably
           foreseeable, and if determined by the servicer to be in the best interest of the certificateholders, the
           servicer may permit servicing modifications of the Mortgage Loan rather than proceeding with
           foreclosure. However, the servicer's ability to perform servicing modifications will be subject to
           some limitations, including but not limited to the following. Any amounts added to the principal
           balance of the Mortgage Loan, or capitalized amounts added to the Mortgage Loan, will be required
           to be fully amortized over the remaining term, or the extended term, of the Mortgage Loan. All
           capitalizations are to be implemented in accordance with the servicer' s standards and may be
           implemented only by the servicer for that purpose. The final maturity of any Mortgage Loan will not
           be extended beyond the assumed final distribution date. No servicing modification with respect to a
           Mortgage Loan will have the effect of reducing the mortgage rate below one half of the mortgage
           rate as in effect on the Cut off Date, but not less than the servicing fee rate. Further, the aggregate
           current principal balance of all Mortgage Loans subject to modifications can be no more than five
           percent (5%) of the aggregate principal balance of the Mortgage Loans as of the Cut-off Date, but
           this limit may increase from time to time with the consent of the rating agencies.




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                          Any advances made on any Mortgage Loan will be reduced to reflect any related
           serv1cmg modifications previously made. The mortgage rate and net mortgage rate as to any
           Mortgage Loan will be deemed not reduced by any servicing modification, so that the calculation of
           the amount of current interest payable on the Offered Certificates as described in this prospectus
           supplement will not be affected by the servicing modification.

           Evidence as to Compliance

                            The Pooling and Servicing Agreement will provide that not later than March 15 of
           each year, beginning with the first year after the year in which the Cut-off Date occurs, each party
           responsible for the servicing function will provide to the depositor and the master servicer a report on
           an assessment of compliance with the minimum servicing criteria established in Item 1122(d) of
           Regulation AB (the "AB Servicing Criteria"). The AB Servicing Criteria include specific criteria
           relating to the following areas: general servicing considerations, cash collection and administration,
           investor remittances and reporting, and pool asset administration. Such report will indicate that the
           AB Servicing Criteria were used to test compliance on a platform level basis and will set out any
           material instances of noncompliance.

                           The Pooling and Servicing Agreement will also provide that each party responsible
           for the servicing function will deliver along with its report on assessment of compliance, an
           attestation report from a firm of independent public accountants on the assessment of compliance
           with the AB Servicing Criteria.

                           The Pooling and Servicing Agreement will also provide for delivery to the master
           servicer and the securities administrator, not later than March 15 of each year, of a separate annual
           statement of compliance from each entity responsible for the servicing function to the effect that, to
           the best knowledge of the signing officer, the servicer has fulfilled in all material respects its
           obligations under the Pooling and Servicing Agreement throughout the preceding year or, if there has
           been a material failure in the fulfillment of any obligation, the statement shall specify such failure
           and the nature and status thereof This statement may be provided as a single form making the
           required statements as to more than one pooling and servicing agreement.

                           Copies of the annual reports of assessment of compliance, attestation reports, and
           statements of compliance may be obtained by certificateholders without charge upon written request
           to the master servicer at the address of the master servicer set forth under "The Master Servicer,
           Securities Administrator and Custodian" in this prospectus supplement. These items will be filed
           with the issuing entity's annual report on Form 10-K, to the extent required under Regulation AB.

                  THE MASTER SERVICER, SECURITIES ADMINISTRATOR AND CUSTODIAN

           General

                           The information set forth in the following paragraph has been provided by the master
           serv1cer.

                         Wells Fargo Bank, N.A. ("Wells Fargo Bank") will act as master servicer and
           secunt1es administrator under the Pooling and Servicing Agreement and as custodian under the
           Custodial Agreement. Wells Fargo Bank is a national banking association and a wholly-owned
           subsidiary of Wells Fargo & Company.          A diversified financial services company with


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           approximately $482 billion in assets, 23 million customers and 153,000+ employees as of
           December 31, 2005, Wells Fargo & Company is a U.S. bank holding company providing banking,
           insurance, trust, mortgage and consumer finance services throughout the United States and
           internationally. Wells Fargo Bank provides retail and commercial banking services and corporate
           trust, custody, securities lending, securities transfer, cash management, investment management and
           other financial and fiduciary services. The depositor, the sponsor and the servicer may maintain
           banking and other commercial relationships with Wells Fargo Bank and its affiliates. Wells Fargo
           Bank maintains principal corporate trust offices located at 9062 Old Annapolis Road, Columbia,
           Maryland 21045-1951, (among other locations), and its office for certificate transfer services is
           located at Sixth Street and Marquette Avenue, Minneapolis, Minnesota 55479.

                            Wells Fargo Bank serves or may have served within the past two years as loan file
           custodian for various mortgage loans owned by the sponsor or an affiliate of the sponsor and
           anticipates that one or more of those mortgage loans may be included in the trust. The terms of any
           custodial agreement under which those services are provided by Wells Fargo Bank are customary for
           the mortgage backed securitization industry and provide for the delivery, receipt, review and
           safekeeping of mortgage files.

                           Master Servicer. Wells Fargo Bank acts as master servicer pursuant to the Pooling
           and Servicing Agreement. The master servicer is responsible for the aggregation of monthly servicer
           reports and remittances and for the oversight of the performance of the servicer under the terms of
           the Pooling and Servicing Agreement. In particular, the master servicer independently calculates
           monthly loan balances based on servicer data, compares its results to servicer loan-level reports and
           reconciles any discrepancies with the servicer. The master servicer also reviews the servicing of
           defaulted loans for compliance with the terms of the Pooling and Servicing Agreement. In addition,
           upon the occurrence of certain servicer events of default under the terms of the Pooling and Servicing
           Agreement, the master servicer may be required to enforce certain remedies on behalf of the trust
           against such defaulting servicer. Wells Fargo Bank has been engaged in the business of master
           servicing since June 30, 1995. As of June 30, 2006, Wells Fargo Bank was acting as master servicer
           for approximately 1,253 series of residential mortgage-backed securities with an aggregate
           outstanding principal balance of approximately $651,189,990,090.

                           Securities Administrator. Under the terms of the Pooling and Servicing Agreement,
           Wells Fargo Bank is also responsible for securities administration, which includes pool performance
           calculations, distribution calculations and the preparation of monthly distribution reports. As
           securities administrator, Wells Fargo Bank is responsible for the preparation and filing of all REMIC
           tax returns on behalf of the trust REMICs and the preparation of monthly reports on Form 10-D,
           current reports on Form 8-K and annual reports on Form 10-K that are required to be filed with the
           Securities and Exchange Commission on behalf of the trust. Wells Fargo Bank has been engaged in
           the business of securities administration since June 30, 1995. As of June 30, 2006, Wells Fargo Bank
           was acting as securities administrator with respect to more than $894,773,136,436 of outstanding
           residential mortgage-backed securities.

                          Custodian. Wells Fargo Bank is acting as custodian of the mortgage loan files
           pursuant to the custodial agreement to be entered into among HSBC Bank USA, National
           Association, as trustee, Wells Fargo Bank, N.A., as custodian and the servicer. In that capacity,
           Wells Fargo Bank is responsible to hold and safeguard the mortgage notes and other contents of the
           mortgage files on behalf of the trustee and the certificateholders. Wells Fargo Bank maintains each
           mortgage loan file in a separate file folder marked with a unique bar code to assure loan-level file


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           integrity and to assist in inventory management. Files are segregated by transaction or investor.
           Wells Fargo Bank has been engaged in the mortgage document custody business for more than 25
           years. Wells Fargo Bank maintains document custody facilities in its Minneapolis, Minnesota
           headquarters and in three regional offices located in Richfield, Minnesota, Irvine, California, and Salt
           Lake City, Utah. As of June 30, 2006, Wells Fargo Bank maintains mortgage custody vaults in each
           of those locations with an aggregate capacity of over eleven million files.

           Master Servicing and Other Compensation and Payment of Expenses

                           The principal compensation to be paid to the master servicer in respect of its master
           servicing activities for the certificates will be a master servicing fee equal to one-twelfth of the
           product of 0. 0110% multiplied by the Stated Principal Balance of the Mortgage Loans as of the Due
           Date in the preceding calendar month. In addition, the master servicer will be entitled to any interest
           or other income earned on funds held in the Distribution Account (together, the "Master Servicing
           Compensation"), as set forth in the Pooling and Servicing Agreement. The master servicing fee
           includes securities administrator, paying agent, certificate registrar and credit risk manager fees.

                           The monthly fee payable to the custodian for the performance of its obligations
           under the custodial agreement and the monthly fee payable to the trustee for the performance of
           its obligations under the Pooling and Servicing Agreement will be paid by the master servicer
           from its compensation. The expenses of the custodian and the trustee will be paid out of the trust
           fund prior to making payments to the certificateholders.

                          In the event that the servicer fails to pay the amount of any Compensating Interest
           required to be paid on any distribution date, the master servicer shall pay such amount up to the
           aggregate master servicing fee (exclusive of the portion of such fee payable to the credit risk
           manager) payable to the master servicer on such distribution date.

                           The master servicer shall not resign except upon a determination that the master
           servicer's duties are no longer permissible under applicable law. The master servicer may sell and
           assign its rights and delegate its duties and obligations subject to the conditions set forth in the
           Pooling and Servicing Agreement.

           The Distribution Account

                           The securities administrator will establish a non-interest bearing trust account (the
           "Distribution Account") into which will be deposited amounts remitted to it by the servicers for
           distribution to the certificateholders on each distribution date and payment of certain fees and
           expenses of the trust. The Distribution Account will be an Eligible Account (as defined in the
           Pooling and Servicing Agreement). Amounts on deposit therein may be invested in Permitted
           Investments (as defined under "Servicing - Payments on Mortgage Loans; Deposits to Custodial
           Account" in this prospectus supplement) maturing on or before the business day prior to the related
           distribution date unless such Permitted Investments are invested in investments managed or advised
           by the securities administrator or an affiliate thereof, in which case such Permitted Investments may
           mature on the related distribution date. All investment income on funds in the Distribution Account
           shall be for the benefit of the master servicer. Any losses resulting from such investments are
           required to be reimbursed to the Distribution Account by the master servicer out of its own funds.




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           Transfer of Master Servicing

                            The master servicer may sell and assign its rights and delegate its duties and
           obligations in its entirety as master servicer under the Pooling and Servicing Agreement; provided,
           however, that: (i) the purchaser or transferee accept in writing such assignment and delegation and
           assume the obligations of the master servicer under the Pooling and Servicing Agreement (a) shall
           have a net worth of not less than $15,000,000 (unless otherwise approved by each rating agency
           pursuant to clause (ii) below); (b) shall be reasonably satisfactory to the trustee (as evidenced in a
           writing signed by the trustee); and (c) shall execute and deliver to the trustee an agreement, in form
           and substance reasonably satisfactory to the trustee, which contains an assumption by such Person of
           the due and punctual performance and observance of each covenant and condition to be performed or
           observed by it as master servicer under the Pooling and Servicing Agreement; (ii) each rating agency
           shall be given prior written notice of the identity of the proposed successor to the master servicer and
           each rating agency's rating of the certificates in effect immediately prior to such assignment, sale and
           delegation will not be downgraded, qualified or withdrawn as a result of such assignment, sale and
           delegation, as evidenced by a letter to such effect delivered to the master servicer and the trustee; and
           (iii) the master servicer assigning and selling the master servicing shall deliver to the trustee an
           officer's certificate and an opinion of independent counsel, each stating that all conditions precedent
           to such action under the Pooling and Servicing Agreement have been completed and such action is
           permitted by and complies with the terms of the Pooling and Servicing Agreement. No such
           assignment or delegation shall affect any liability of the master servicer arising out of acts or
           omissions prior to the effective date thereof

                                      POOLING AND SERVICING AGREEMENT

           General

                            The certificates will be issued under the Pooling and Servicing Agreement, a form of
           which is filed as an exhibit to the registration statement. A Current Report on Form 8-K relating to
           the certificates containing a copy of the Pooling and Servicing Agreement as executed will be filed
           by the depositor with the Securities and Exchange Commission ("SEC") following the initial
           issuance of the certificates. The trust fund created under the Pooling and Servicing Agreement will
           consist of (i) all of the depositor's right, title and interest in the Mortgage Loans, the related
           Mortgage Notes, mortgages and other related documents; (ii) all payments on or collections in
           respect of the Mortgage Loans due after the Cut-off Date, together with any proceeds of the
           Mortgage Loans; (iii) any Mortgaged Properties acquired on behalf of certificateholders by
           foreclosure or by deed in lieu of foreclosure, and any revenues received on these Mortgaged
           Properties; (iv) the rights of the trustee under all insurance policies required to be maintained under
           the Pooling and Servicing Agreement and (v) the rights of the depositor under the mortgage loan
           purchase agreement and the Servicing Agreement. Reference is made to the prospectus for important
           information in addition to that set forth in this prospectus supplement regarding the trust fund, the
           terms and conditions of the Pooling and Servicing Agreement, the Servicing Agreement and the
           Offered Certificates. The depositor will provide to a prospective or actual certificateholder without
           charge, on written request, a copy, without exhibits, of the Pooling and Servicing Agreement.
           Requests should be addressed to Nomura Home Equity Loan, Inc., Two World Financial Center,
           BuildingB, 21st Floor, NewYork, NewYork 10281.

                            On the Closing Date, the depositor will transfer to the trust all of its right, title and
           interest in and to each Mortgage Loan (other than the servicing rights with respect to the Mortgage

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           Loans which shall be retained by (i) the servicer who owns the servicing rights on the Mortgage
           Loans or (ii) the sponsor, in the event the sponsor comes into ownership of any such servicing
           rights), the related Mortgage Note, mortgage, assignment of mortgage in recordable form to the
           trustee and other related documents (collectively, the "Related Documents"), including all scheduled
           payments with respect to each such Mortgage Loan due after the Cut-off Date. The trustee,
           concurrently with such transfer, will deliver the certificates to the depositor. Each Mortgage Loan
           transferred to the trust will be identified on a schedule (the "Mortgage Loan Schedule") delivered to
           the trustee pursuant to the Pooling and Servicing Agreement. The Mortgage Loan Schedule will
           include information such as the outstanding principal balance of each Mortgage Loan as of the Cut-
           offDate, its Mortgage Rate as well as other information with respect to each Mortgage Loan.

                           The Pooling and Servicing Agreement will require that, within the time period
           specified therein, the depositor will deliver or cause to be delivered to the trustee (or a custodian, as
           the trustee's agent for such purpose) the Mortgage Notes endorsed to the trustee on behalf of the
           certificateholders and the Related Documents. In lieu of delivery of original mortgages or Mortgage
           Notes, if such original is not available or lost, the depositor may deliver or cause to be delivered true
           and correct copies thereof, or, with respect to a lost Mortgage Note, a lost note affidavit. The
           assignments of mortgage are generally required to be recorded by or on behalf of the depositor in the
           appropriate offices for real property records, except (i) in states as to which an opinion of counsel is
           delivered to the effect that such recording is not required to protect the trustee's interest in the
           Mortgage Loan against the claim of any subsequent transferee or any successor to or creditor of the
           depositor or the sponsor, or (ii) with respect to any Mortgage Loan electronically registered through
           the Mortgage Electronic Registration Systems, Inc.

                           On or prior to the Closing Date, the custodian on behalf of the trustee will review the
           Mortgage Loans and the Related Documents pursuant to the custodial agreement to be entered into
           among the custodian, the servicer and the trustee, and if any Mortgage Loan or Related Document is
           found to be defective in any material respect and such defect is not cured by the sponsor within 90
           days following notification thereof to the sponsor by the custodian or the servicer, the sponsor will be
           obligated to either (i) substitute for such Mortgage Loan a Qualified Substitute Mortgage Loan (as
           defined below); however, such substitution is permitted only within two years of the Closing Date
           and may not be made unless an opinion of counsel is provided to the effect that such substitution will
           not disqualify any of the REMICs (as defined in the Pooling and Servicing Agreement) as a REMIC
           or result in a prohibited transaction tax under the Internal Revenue Code or (ii) purchase such
           Mortgage Loan at a price (the "Purchase Price") equal to the outstanding principal balance of such
           Mortgage Loan as of the date of purchase, plus 30 days' accrued interest thereon and all costs and
           damages incurred by the trust in connection with any violation by such Mortgage Loan of any
           predatory or abusive lending law prior to such purchase, computed at the Mortgage Rate through the
           end of the calendar month in which the purchase is effected, plus the amount of any unreimbursed
           P&I Advances and servicing advances made by the servicer or the master servicer. The Purchase
           Price will be required to be remitted to the servicer for deposit in the Custodial Account on or prior to
           the next succeeding determination date after such obligation arises. The obligation of the sponsor to
           repurchase or substitute for a Deleted Mortgage Loan (as defined below) is the sole remedy regarding
           any defects in the Mortgage Loans and Related Documents available to the certificateholders.

                          In connection with the substitution of a Qualified Substitute Mortgage Loan, the
           sponsor will be required to remit to the related servicer for deposit in the Custodial Account on or
           prior to the next succeeding determination date after such obligation arises an amount (the
           "Substitution Shortfall Amount") equal to the excess of the outstanding principal balance of the


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           related Deleted Mortgage Loan over the outstanding principal balance of such Qualified Substitute
           Mortgage Loan.

                            A "Qualified Substitute Mortgage Loan" is a mortgage loan substituted for a Deleted
           Mortgage Loan which must, on the date of such substitution, (i) have an outstanding principal
           balance (or in the case of a substitution of more than one mortgage loan for a Deleted Mortgage
           Loan, an aggregate outstanding principal balance), not in excess of the outstanding principal balance
           of the Deleted Mortgage Loan; (ii) have a Mortgage Rate not less than the Mortgage Rate of the
           Deleted Mortgage Loan and not more than 1% in excess of the Mortgage Rate of such Deleted
           Mortgage Loan; (iii) have the same due date as the Deleted Mortgage Loan; (iv) have a remaining
           term to maturity not more than one year earlier and not later than the remaining term to maturity of
           the Deleted Mortgage Loan; (v) comply with each representation and warranty as to the Mortgage
           Loans set forth in the mortgage loan purchase agreement (deemed to be made as of the date of
           substitution); (vi) be of the same or better credit quality as the Mortgage Loan being replaced; (vii)
           have the same lien priority on the related mortgaged property as the Mortgage Loan being replaced;
           and (viii) satisfy certain other conditions specified in the Pooling and Servicing Agreement.

                             The sponsor will make certain representations and warranties as to the accuracy in all
           material respects of certain information furnished to the trustee with respect to each Mortgage Loan.
           In addition, the sponsor will represent and warrant, as of the Closing Date, that, among other things:
           (i) at the time of transfer to the depositor, the sponsor has transferred or assigned all of its right, title
           and interest in each Mortgage Loan and the Related Documents, free of any lien; (ii) each Mortgage
           Loan complied, at the time of origination, in all material respects with applicable local, state and
           federal laws including, but not limited to all applicable predatory and abusive lending laws; (iii) the
           Mortgage Loans are not subject to the requirements of the Home Ownership and Equity Protection
           Act of 1994 and no Mortgage Loan is classified and/or defined as a "high cost", "covered" or
           "predatory" loan under any other federal, state or local law or ordinance or regulation including, but
           not limited to, the States of Georgia or North Carolina, or the City of New York; (iv) no proceeds
           from any Mortgage Loan were used to purchase single premium credit insurance policies as part of
           the origination of, or as a condition to closing, such Mortgage Loan; (v) no Mortgage Loan has a
           Prepayment Charge longer than five years after its date of origination; and (vi) to the best of the
           sponsor's knowledge, the related servicer has accurately and fully reported its borrower credit files to
           each of the credit repositories in a timely manner. Upon discovery of a breach of any such
           representation and warranty which materially and adversely affects the interests of the
           certificateholders in the related Mortgage Loan and Related Documents, the sponsor will have a
           period of 90 days after the earlier of discovery or receipt of written notice of the breach to effect a
           cure; provided, however that any breach of the representations and warranties set forth in clauses (ii),
           (iii), (iv), (v) and (vi) above with respect to any Mortgage Loan shall be deemed to materially and
           adversely affect the interests of the certificateholders in the related Mortgage Loan. If the breach
           cannot be cured within the 90-day period, the sponsor will be obligated to (i) substitute for such
           Deleted Mortgage Loan a Qualified Substitute Mortgage Loan or (ii) purchase such Deleted
           Mortgage Loan from the trust. The same procedure and limitations that are set forth above for the
           substitution or purchase of Deleted Mortgage Loans as a result of deficient documentation relating
           thereto will apply to the substitution or purchase of a Deleted Mortgage Loan as a result of a breach
           of a representation or warranty in the mortgage loan purchase agreement that materially and
           adversely affects the interests of the certificateholders. The depositor will file the mortgage loan
           purchase agreement as an exhibit to the Pooling and Servicing Agreement with the Securities and
           Exchange Commission in a Current Report on Form 8-K.



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                          Mortgage Loans required to be transferred to the sponsor as described m the
           preceding paragraphs are referred to as "Deleted Mortgage Loans."

           Amendment

                           The Pooling and Servicing Agreement may be amended by the sponsor, the
           depositor, the master servicer, the securities administrator, the servicer and the trustee, with the
           consent of the Swap Provider (such consent not to be unreasonably withheld) without the consent of
           certificateholders,

                           •      to cure any ambiguity,

                           •      to correct or supplement any provision therein,

                           •      to make any revisions with respect to the provisiOns relating to the
                                  requirements of Regulation AB, or

                           •      to make any other revisions with respect to matters or questions arising under
                                  the Pooling and Servicing Agreement which are not inconsistent with the
                                  provisions thereof,

           provided that such action will not adversely affect in any material respect the interests of any
           certificateholder. An amendment will be deemed not to adversely affect in any material respect the
           interests of the certificateholders if the person requesting such amendment obtains a letter from each
           rating agency stating that such amendment will not result in the downgrading or withdrawal of the
           respective ratings then assigned to any class of certificates.

                            In addition, the Pooling and Servicing Agreement may be amended without the
           consent of certificateholders to modify, eliminate or add to any of its provisions to such extent as
           may be necessary to maintain the qualification of the trust fund's REMIC elections, provided that the
           trustee has received an opinion of counsel to the effect that such action is necessary or helpful to
           maintain such qualification. In addition, the Pooling and Servicing Agreement may be amended by
           the sponsor, the depositor, the master servicer, the Servicer, the securities administrator and the
           trustee with the consent of the holders of a majority in interest of each class of certificates affected
           thereby for the purpose of adding any provisions to or changing in any manner or eliminating any of
           the provisions of the Pooling and Servicing Agreement or of modifying in any manner the rights of
           the certificateholders; provided, however, that no such amendment may

                           •       reduce in any manner the amount of, or delay the timing of, payments
                                   required to be distributed on any certificate without the consent of the holder
                                   of such certificate;

                           •       cause any trust fund REMIC to fail to qualify as a REMIC for federal tax
                                   purposes;

                           •       reduce the percentage of the holders of the certificates the affected class
                                   which are required to consent to any such amendment, without the consent of
                                   the holders of all certificates of such class.



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                            The trustee will not be required to consent to any amendment to the Pooling and
           Servicing Agreement without having first received an opinion of counsel to the effect that such
           amendment is permitted under the terms of the Pooling and Servicing Agreement and will not cause
           the trust fund's REMIC elections to fail to qualify as REMICs for federal tax purposes.

           Voting Rights

                           As of any date of determination,

                           •       holders of the certificates, other than the Class X, Class P and Residual
                                   Certificates, will be allocated 98.00% of all voting rights, allocated among
                                   such certificates in proportion to their respective outstanding Certificate
                                   Principal Balances;

                           •       holders of the Class X Certificates and Class P Certificates will each be
                                   allocated 1% of all voting rights; and

                           •       holders of the Residual Certificates will not be allocated any voting rights.

                         Voting rights will be allocated among the certificates of each such class in
           accordance with their respective percentage interests. The initial owner of the Residual Certificates
           will be Nomura Holding America, Inc.

           Optional Purchase of Certain Loans

                           As to any Mortgage Loan which is delinquent in payment by 91 days or more, the
           sponsor may, at its option, purchase such Mortgage Loan at a price equal to the sum of (i) 100% of
           the Stated Principal Balance thereof as of the date of such purchase plus (ii) 30 days' accrued interest
           thereon at the applicable Net Mortgage Rate, plus any portion of the Servicing Fee, the fee payable to
           the master servicer, servicing advances and P&I Advances payable to the servicer or the master
           servicer, as applicable, of the Mortgage Loan, plus (iii) any costs and damages of the trust incurred in
           connection with any violation by such Mortgage Loan of any abusive or predatory lending law,
           including any expenses incurred by the trustee with respect to such Mortgage Loan prior to the
           purchase thereof

                            In addition, the sponsor will, at its option, purchase any Mortgage Loan from the trust
           if the first scheduled payment due subsequent to the Cut-off Date is not made within thirty (30) days
           of the related due date. Such purchase will be made at a price equal to the purchase price described in
           the prior paragraph.

           Optional Termination

                           The master servicer will have the right to purchase all remaining Mortgage Loans and
           related REO Properties and thereby effect early retirement of all of the certificates on any distribution
           date if on such distribution date the aggregate Stated Principal Balance of the Mortgage Loans and
           related REO Properties remaining in the trust fund is reduced to less than or equal to 10% of the
           aggregate outstanding principal balance of the Mortgage Loans as of the Cut-off Date. In the event
           that the master servicer exercises such option it will effect such purchase at a price equal to the sum
           of


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                           •       100% of the Stated Principal Balance of each Mortgage Loan, other than in
                                   respect of any related REO Property, plus 30 days' accrued interest thereon at
                                   the applicable Mortgage Rate,

                           •       the appraised value of any related REO Property, up to the Stated Principal
                                   Balance of the Mortgage Loan, plus accrued interest thereon at the applicable
                                   Mortgage Rate, and

                           •       any unreimbursed costs and expenses of the trustee, securities administrator,
                                   the custodian, the servicer and the master servicer and the principal portion of
                                   any unreimbursed advances previously incurred by the servicer or the master
                                   servicer in the performance of their servicing obligations and any Swap
                                   Termination Payment payable to the Swap Provider pursuant to the Interest
                                   Rate Swap Agreement.

                            Notwithstanding the foregoing, the master servicer shall not be entitled to exercise its
           optional termination right to the extent that the depositor creates a net interest margin transaction
           which includes the Class X Certificates or Class P Certificates and the notes issued pursuant to such
           net interest margin transaction are outstanding on the date on which the master servicer intends to
           exercise its optional termination right.

                           Proceeds from such purchase will be distributed to the certificateholders in the
           pnonty described in this prospectus supplement under "Description of the Certificates-
           Distributions." The proceeds from any such distribution may not be sufficient to distribute the full
           amount to which each class of certificates is entitled if the purchase price is based in part on the
           appraised value of any related REO Property and such appraised value is less than the Stated
           Principal Balance of the related Mortgage Loan. Any purchase of the Mortgage Loans and related
           REO Properties will result in an early retirement of the certificates.

                           The securities administrator will be required to give notice of any termination to the
           certificateholders, upon which the certificateholders shall surrender their certificates to the securities
           administrator for payment of the final distribution and cancellation. Such notice shall be given by
           letter, mailed not earlier than the 15th day and not later than the 25th day of the month next preceding
           the month of such final distribution, and shall specify (i) the distribution date upon which final
           payment of the related certificates will be made upon presentation and surrender of such certificates
           at the office of the securities administrator therein designated, (ii) the amount of any such final
           payment and (iii) that the record date otherwise applicable to such distribution date is not applicable,
           payments being made only upon presentation and surrender of the certificates at the office of the
           securities administrator therein specified.

                           In the event such notice is given in connection with the purchase of all of the
           Mortgage Loans by the master servicer, the master will be required to deliver to the securities
           administrator for deposit in the Distribution Account not later than the business day prior to the
           distribution date on which the final distribution on the certificates an amount in immediately
           available funds equal to the termination price described above. The securities administrator will be
           required to remit to the servicer, the master servicer, the trustee and the custodian from such funds
           deposited in the Distribution Account (i) any amounts which the servicer or the master servicer
           would be permitted to withdraw and retain from the Custodial Account or the Distribution Account,
           as applicable, as if such funds had been deposited therein (including all unpaid Servicing Fees,


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           master servicing fees and all outstanding P&I Advances and Servicing Advances), (ii) any other
           amounts otherwise payable by the securities administrator to the master servicer, the trustee, the
           custodian and the servicer from amounts on deposit in the Distribution Account pursuant to the terms
           of the Pooling and Servicing Agreement and (iii) any Swap Termination Payment payable to the
           Swap Provider not due to a Swap Provider Trigger Event pursuant to the Interest Rate Swap
           Agreement and to the extent not paid by the securities administrator from any upfront payment
           received pursuant to any replacement interest rate swap agreement that may be entered into by the
           Supplemental Interest Trust Trustee prior to making any final distributions. Upon certification to the
           trustee by the securities administrator of the making of such final deposit, the trustee will be required
           to promptly release or cause to be released to the Terminator the Mortgage Files for the Mortgage
           Loans and the trustee will surrender all assignments, endorsements and other instruments delivered to
           it and necessary to effectuate such transfer.

                            Upon presentation of the certificates by the certificateholders on the final distribution
           date, the securities administrator will be required to distribute to each certificateholder so presenting
           and surrendering its certificates the amount otherwise distributable on such distribution date in
           respect of the certificates so presented and surrendered. Any funds not distributed to any
           certificateholder(s) being retired on such distribution date because of the failure of such
           certificateholders to tender their certificates shall, on such date, be set aside and held in trust and
           credited to the account of the appropriate non-tendering certificateholders. If any certificates as to
           which notice has been given shall not have been surrendered for cancellation within six months after
           the time specified in such notice, the securities administrator shall mail a second notice to the
           remaining non-tendering certificateholders to surrender their certificates for cancellation in order to
           receive the final distribution with respect thereto. If within one year after the second notice all such
           certificates shall not have been surrendered for cancellation, the securities administrator shall,
           directly or through an agent, mail a final notice to the remaining non-tendering certificateholders
           concerning surrender of their certificates. The costs and expenses of maintaining the funds in trust
           and of contacting such certificateholders shall be paid out of the assets remaining in the trust funds. If
           within one (1) year after the final notice any such certificates shall not have been surrendered for
           cancellation, the securities administrator shall pay to the depositor all such amounts, and all rights of
           non-tendering certificateholders in or to such amounts shall thereupon cease. No interest shall accrue
           or be payable to any certificateholder on any amount held in trust by the securities administrator as a
           result of such certificateholder's failure to surrender its certificate(s) on the related final distribution
           date for final payment thereof Any such amounts held in trust by the securities administrator shall be
           held uninvested in an Eligible Account.

                         In the event that the master servicer purchases all the Mortgage Loans or the final
           payment on or other liquidation of the last Mortgage Loan, the trust fund will be terminated in
           accordance with the following additional requirements:

                           (i)     The securities administrator shall specify the first day in the 90-day
                   liquidation period in a statement attached to each Trust REMIC's final Tax Return pursuant
                   to Treasury regulation Section 1. 860F -1 and shall satisfy all requirements of a qualified
                   liquidation under Section 860F of the Code and any regulations thereunder, as evidenced by
                   an opinion of counsel obtained by and at the expense of the master servicer;

                            (ii)   During such 90-day liquidation period and, at or prior to the time of making
                   of the final payment on the outstanding certificates, the trustee shall sell all of the assets of
                   the related REMIC to the master servicer for cash; and


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                           (iii)   At the time of the making of the final payment on the outstanding certificates,
                   the securities administrator shall distribute or credit, or cause to be distributed or credited, to
                   the holders of the residual certificates all cash on hand in the trust fund (other than cash
                   retained to meet claims), and the trust fund shall terminate at that time.

                            At the expense of the master servicer (or, if the trust fund is being terminated as a
           result of the last scheduled distribution date, at the expense of the trust fund), the master servicer
           shall prepare or cause to be prepared the documentation required in connection with the adoption of a
           plan of liquidation of each related REMIC.

                           By their acceptance of certificates, the holders thereof hereby agree to authorize the
           secunt1es administrator to specify the 90-day liquidation period for each REMIC, which
           authorization shall be binding upon all successor certificateholders.

           Events of Default

                         Events of default with respect to the serv1cer under the Pooling and Servicing
           Agreement include, without limitation:

                           •       any failure by the servicer (or any successor servicer) to remit to the securities
                                   administrator any payment, including an advance required to be made by the
                                   servicer under the terms of the Pooling and Servicing Agreement which
                                   continues unremedied for two business days after the day on which written
                                   notice of such failure is given by the master servicer;

                           •       any failure by the servicer (or any successor servicer) to observe or perform
                                   in any material respect any other of its covenants or agreements, the breach
                                   of which has a material adverse effect and which continues unremedied for
                                   thirty days after the giving of written notice of such failure to the servicer (or
                                   any successor servicer) by the trustee or the depositor, or to the servicer (or
                                   any successor servicer) and the trustee by the holders of certificates
                                   evidencing not less than 25% of the voting rights evidenced by the
                                   certificates;

                           •       the servicer (or any successor servicer) shall admit in writing its inability to
                                   pay its debts generally as they become due, file a petition to take advantage
                                   of any applicable insolvency or reorganization statute, made an assignment
                                   for the benefit of its creditors, or voluntarily suspend payment of its
                                   obligations;

                           •       a decree or order of a court or agency or supervisory authority having
                                   jurisdiction for the appointment of a conservator or receiver or liquidator in
                                   any insolvency, bankruptcy, readjustment of debt, marshaling of assets and
                                   liabilities or similar proceedings, or for the winding up or liquidation of its
                                   affairs, shall have been entered against such servicer and such decree or order
                                   shall have remained in force undischarged or unstayed for a period of sixty
                                   days; or




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                           •      the serv1cer fails to deliver the annual compliance statements and
                                   accountant's report as required pursuant to the Pooling and Servicing
                                  Agreement and such failure continues unremedied for ten days.

           Events of default with respect to the master servicer under the Pooling and Servicing Agreement
           include, without limitation:

                           •      any failure on the part of the master servicer to observe or perform in any
                                  material respect any of the covenants or agreements on the part of the master
                                  servicer contained in this Pooling and Servicing Agreement, or the breach by
                                  the master servicer of any representation and warranty contained in the
                                  pooling and servicing agreement, which continues unremedied for a period of
                                  thirty (30) days after the date on which written notice of such failure,
                                  requiring the same to be remedied, shall have been given to the master
                                  servicer by the depositor or the trustee or to the master servicer, the depositor
                                  and the trustee by the holders of certificates entitled to at least twenty-five
                                  percent (25%) of the voting rights evidenced by the certificates; or

                           •      a decree or order of a court or agency or supervisory authority having
                                  jurisdiction in the premises in an involuntary case under any present or future
                                  federal or state bankruptcy, insolvency or similar law or the appointment of a
                                  conservator or receiver or liquidator in any insolvency, readjustment of debt,
                                  marshalling of assets and liabilities or similar proceeding, or for the winding-
                                  up or liquidation of its affairs, shall have been entered against the master
                                  servicer and such decree or order shall have remained in force undischarged
                                  or unstayed for a period of sixty (60) days; or

                           •      the master servicer shall consent to the appointment of a conservator or
                                  receiver or liquidator in any insolvency, readjustment of debt, marshalling of
                                  assets and liabilities or similar proceedings of or relating to it or of or relating
                                  to all or substantially all of its property; or

                           •      the master servicer fails to deliver the any statements or reports with respect
                                  to the requirements of Regulation AB as required pursuant to the Pooling and
                                   Servicing Agreement; or

                           •      the master servicer shall admit in writing its inability to pay its debts
                                  generally as they become due, file a petition to take advantage of any
                                   applicable insolvency or reorganization statute, make an assignment for the
                                  benefit of its creditors, or voluntarily suspend payment of its obligations.

           Rights Upon Event of Default

                          Upon the occurrence and continuance of an event of default with respect to the
           payment obligations of the servicer under the Pooling and Servicing Agreement, the master servicer
           shall terminate all the rights and obligations of the servicer under the Pooling and Servicing
           Agreement, and in and to the Mortgage Loans. In addition, upon the occurrence and continuance of
           any other event of default with respect to the servicer under the Pooling and Servicing Agreement,
           the master servicer may, and at the direction of the holders of certificates representing not less than


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           25% of the voting rights shall, terminate all the rights and obligations of the servicer under the
           Pooling and Servicing Agreement and in and to the related Mortgage Loans. Upon the termination of
           the servicer under the Pooling and Servicing Agreement, the master servicer shall succeed to all of
           the responsibilities and duties of the terminated servicer under the Pooling and Servicing Agreement
           including the obligation to make any P&I Advance required to be made by the terminated servicer on
           the distribution date immediately following the occurrence of such event of default with respect to
           the terminated servicer subject to the master servicer's determination of recoverability thereof;
           provided, however, that the master servicer shall not have any obligation whatsoever with respect to
           any liability incurred by the terminated servicer at or prior to the termination of such servicer with
           respect to any default, and there will be a period of transition, not to exceed 90 days, before the
           servicing functions can be transferred to a successor servicer. As compensation therefor, the master
           servicer shall be entitled to all funds relating to the Mortgage Loans which the terminated servicer
           would have been entitled to retain if the terminated servicer had continued to act as such, except for
           those amounts due the terminated servicer as reimbursement for advances previously made or
           expenses previously incurred. Notwithstanding the above, the master servicer may, if it shall be
           unwilling so to act, or shall, if it is legally unable so to act, appoint, or petition a court of competent
           jurisdiction to appoint, any established housing and home finance institution which is a Fannie Mae
           or Freddie Mac approved servicer as the successor to the terminated servicer under the Pooling and
           Servicing Agreement in the assumption of all or any part of the responsibilities, duties or liabilities of
           the terminated servicer under the Pooling and Servicing Agreement. Pending appointment of a
           successor to the terminated servicer under the Pooling and Servicing Agreement, the master
           servicer, shall act in such capacity as provided under the Pooling and Servicing Agreement. In
           connection with such appointment and assumption, the master servicer may make such arrangements
           for the compensation of such successor out of payments on the Mortgage Loans as it and such
           successor shall agree; provided, however, that no such compensation shall be in excess of the
           Servicing Fee payable to the servicer. No assurance can be given that termination of the rights and
           obligations of the terminated servicer under the Pooling and Servicing Agreement would not
           adversely affect the servicing of the Mortgage Loans, including the delinquency experience of the
           Mortgage Loans. The costs and expenses of the master servicer in connection with the termination of
           the terminated servicer, appointment of a successor servicer and the transfer of servicing, if
           applicable, to the extent not paid by the terminated servicer, will be paid by the trust fund from
           amounts available in the Distribution Account as provided in the Pooling and Servicing Agreement.

                            Upon the occurrence and continuance of an event of default with respect to the master
           servicer, the depositor or the trustee may, and at the written direction of the holders of certificates
           evidencing ownership of not less than 51% of the trust, the trustee shall terminate all of the rights and
           obligations of the master servicer in its capacity as master servicer under the Pooling and Servicing
           Agreement, to the extent permitted by law, and in and to the Mortgage Loans and the proceeds
           thereof The trustee shall automatically succeed to all of the responsibilities and duties of the master
           servicer under the Pooling and Servicing Agreement. Notwithstanding the foregoing, the trustee may,
           if it shall be unwilling so to act, or shall, if it is legally unable so to act, appoint, or petition a court of
           competent jurisdiction to appoint, a successor master servicer in accordance with the Pooling and
           Servicing Agreement. The costs and expenses of the trustee in connection with the termination of the
           terminated master servicer, will be paid by the trust fund from amount available in the Distribution
           Account as provided in the Pooling and Servicing Agreement.

                          No certificateholder, solely by virtue of such holder's status as a certificateholder,
           will have any right under the Pooling and Servicing Agreement to institute any proceeding with
           respect thereto, unless such holder previously has given to the trustee written notice of the

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           continuation of an event of default and unless the holders of certificates having not less than 25% of
           the voting rights evidenced by the certificates have made written request to the trustee to institute
           such proceeding in its own name as trustee thereunder and have offered to the trustee indemnity
           satisfactory to it and the trustee for 60 days has neglected or refused to institute any such proceeding.

           The Trustee

                           HSBC Bank USA, National Association, a national banking association, will be the
           trustee under the Pooling and Servicing Agreement. The depositor, the servicer, the master servicer
           and securities administrator may maintain other banking relationships in the ordinary course of
           business with the trustee. The trustee's corporate trust office is located at 452 Fifth Avenue, New
           York, New York 10018, Attention: NHEL 2006-FM2 or at such other address as the trustee may
           designate from time to time. The Trustee can be contacted by telephone at (212) 525-1367.

                          HSBC Bank USA, National Association, has been, and currently is, serving as trustee
           for numerous securities transactions involving similar pool assets to those found in this transaction.

                          The trustee, the Swap Provider, the Basis Risk Cap Provider and the Interest Rate
           Cap Provider are the same entity.

                            The trustee, prior to the occurrence of an Event of Default with respect to the master
           servicer and after the curing or waiver of all Events of Default with respect to the master servicer
           which may have occurred will undertake to perform such duties and only such duties as are
           specifically set forth in the Pooling and Servicing Agreement as duties of the trustee, including:

                           1.      Upon receipt of all resolutions, certificates, statements, opinions, reports,
                                   documents, orders or other instruments which are specifically required to be
                                   furnished to the trustee pursuant to the Pooling and Servicing Agreement, the
                                   trustee (or its custodian, if applicable) shall examine them to determine
                                   whether they are in the required form; provided, however, that the trustee
                                   shall not be responsible for the accuracy or content of any resolution,
                                   certificate, statement, opinion, report, document, order or other instrument
                                   furnished hereunder; provided, further, that the trustee shall not be
                                   responsible for the accuracy or verification of any calculation provided to it
                                   pursuant to the Pooling and Servicing Agreement.

                           2.      The trustee shall promptly remit to the servicer any complaint, claim,
                                   demand, notice or other document (collectively, the "Notices") delivered to
                                   the trustee as a consequence of the assignment of any Mortgage Loan
                                   hereunder and relating to the servicing of the Mortgage Loans; provided than
                                   any such notice (i) is delivered to the trustee at its corporate trust office, (ii)
                                   contains information sufficient to permit the trustee to make a determination
                                   that the real property to which such document relates is a Mortgaged Property
                                   (as defined in the Pooling and Servicing Agreement). The trustee shall have
                                   no duty hereunder with respect to any notice it may receive or which may be
                                   alleged to have been delivered to or served upon it unless such notice is
                                   delivered to it or served upon it at its corporate trust office and such notice
                                   contains the information required pursuant to clause (ii) of the preceding
                                   sentence.


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                           3.     Except for those actions that the trustee is required to take under the Pooling
                                  and Servicing Agreement, the trustee shall not have any obligation or liability
                                  to take any action or to refrain from taking any action in the absence of
                                  written direction as provided in the Pooling and Servicing Agreement.

                          If an Event of Default with respect to the master servicer has occurred and has not
           been cured or waived, the trustee shall exercise such of the rights and powers vested in it by the
           Pooling and Servicing Agreement, using the same degree of care and skill in their exercise, as a
           prudent person would exercise under the circumstances in the conduct of his own affairs. Such rights
           and powers may include:

                           1.     Execute and deliver, on behalf of the master servicer as attorney-in-fact or
                                  otherwise, any and all documents and other instruments and to do or
                                  accomplish all other acts or things necessary or appropriate to effect the
                                  termination of the master servicer, whether to complete the transfer and
                                  endorsement or assignment of the Mortgage Loans and related documents, or
                                  otherwise.

                           2.      The trustee shall automatically become the successor in all respects to the
                                   master servicer after the master servicer is terminated and shall thereafter be
                                   subject to all the responsibilities, duties, liabilities and limitations on
                                   liabilities relating thereto placed on the master servicer by the terms and
                                   provisions of the Pooling and Servicing Agreement. Notwithstanding the
                                   foregoing, the trustee may, if it shall be unwilling so to act, or shall, if it is
                                   legally unable so to act, appoint, or petition a court of competent jurisdiction
                                   to appoint, a successor master servicer in accordance with the Pooling and
                                   Servicing Agreement.

                           3.     Upon any termination or appointment of a successor to the master servicer,
                                  the trustee shall give prompt written notice thereof to certificateholders at
                                  their respective addresses appearing in the certificate register and to the rating
                                  agencies.

                       For further discussion of the duties of the trustee, please see "Description of the
           Agreements-Material Terms of the Pooling and Servicing Agreements and Underlying Servicing
           Agreements-Duties of the Trustee" in the prospectus.

                           The master servicer will pay the trustee the trustee's fee in respect of its obligations
           under the Pooling and Servicing Agreement. The Pooling and Servicing Agreement will provide that
           the trustee and any director, officer, employee or agent of the trustee will be indemnified by the trust
           and will be held harmless against any loss, liability, expense or cost including, without limitation,
           attorneys fees and expenses (not including expenses and disbursements incurred or made by the
           trustee in the ordinary course of the trustee's performance in accordance with the provisions of the
           Pooling and Servicing Agreement) incurred by the trustee in connection with any pending or
           threatened legal action or arising out of or in connection with the acceptance or administration of its
           obligations and duties under the Pooling and Servicing Agreement, the certificates or the Custodial
           Agreement, other than any loss, liability or expense (i) resulting from a breach of the obligations and
           duties of a servicer under the Pooling and Servicing Agreement or the Servicing Agreement (for
           which the trustee receives indemnity from the servicer) or (ii) incurred by reason of willful


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           misfeasance, bad faith or negligence in the performance of the trustee's duties under the Pooling and
           Servicing Agreement, the certificates or the Custodial Agreement or by reason of reckless disregard,
           of the trustee's obligations and duties under the Pooling and Servicing Agreement, the certificates or
           the Custodial Agreement.

                                           THE CREDIT RISK MANAGER

                           Wells Fargo Bank, N.A. will act as credit risk manager for the trust (the "Credit Risk
           Manager"). As Credit Risk Manager, Wells Fargo Bank, N.A. will monitor the performance of and
           make recommendations to the servicer regarding certain delinquent and defaulted Mortgage Loans
           and will report on the performance of such Mortgage Loans pursuant to the Pooling and Servicing
           Agreement. The Credit Risk Manager will rely upon Mortgage Loan data that is provided to it by the
           servicer and the master servicer in performing its advisory and monitoring functions. The fee payable
           to the Credit Risk Manager is included in the master servicing fee.

                                                  USE OF PROCEEDS

                          After deducting expenses of approximately $1,848,472, the depositor will apply the
           net proceeds of the sale of the Offered Certificates against the purchase price of the Mortgage Loans.

                                    FEDERAL INCOME TAX CONSEQUENCES

                          In the opinion of Thacher Proffitt & Wood LLP, counsel to the depositor, assuming
           compliance with the provisions of the Pooling and Servicing Agreement, for federal income tax
           purposes, each of the REMICs established under the Pooling and Servicing Agreement will qualify
           as a REMIC under the Code.

                           For federal income tax purposes (i) each Residual Certificate will represent the sole
           class of "residual interests" in one or more REMICs elected by the trust and (ii) the Senior
           Certificates and Subordinate Certificates (exclusive of any right of the holders of the Senior
           Certificates and Subordinate Certificates to receive payments from the Basis Risk Shortfall Reserve
           Fund and the Supplemental Interest Trust in respect of Basis Risk Shortfalls and the obligation to
           make payments to the Supplemental Interest Trust), the Class P Certificates and Class X Certificates
           (exclusive of the right to receive payments from the Supplement Interest Trust and the obligation to
           make payments to the Basis Risk Shortfall Reserve Fund and the Supplemental Interest Trust) will
           represent the "regular interests" in, and will be treated as debt instruments of, a REMIC. See
           "Federal Income Tax Consequences-REMICs" in the prospectus.

                           For federal income tax purposes, the Class M-9 Certificates will, and the remaining
           classes of Offered Certificates may, be treated as having been issued with original issue discount.
           The prepayment assumption that will be used in determining the rate of accrual of original issue
           discount, market discount and premium, if any, for federal income tax purposes will be based on the
           assumption that, subsequent to the date of any determination the Group I Mortgage Loans and Group
           II Mortgage Loans will prepay at a rate equal to 100.00% of the prepayment assumption described in
           this prospectus supplement. No representation is made that the Mortgage Loans will prepay at that
           rate or at any other rate. See "Federal Income Tax Consequences-General" and "-REMICs-Sales of
           REMIC Certificates" in the prospectus.



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                            The holders of the Offered Certificates will be required to include in income interest
           on their certificates in accordance with the accrual method of accounting.

                           The Internal Revenue Service (the "IRS") has issued original issue discount
           regulations (the "OlD Regulations") under sections 1271 to 1275 of the Code that address the
           treatment of debt instruments issued with original issue discount, Purchasers of the Offered
           Certificates should be aware that the OlD Regulations do not adequately address certain issues
           relevant to, or are not applicable to, prepayable securities such as the Offered Certificates. In
           addition, there is considerable uncertainty concerning the application of the OlD Regulations to
           REMIC Regular Certificates that provide for payments based on an adjustable rate such as the
           Offered Certificates. Because of the uncertainty concerning the application of Section 1272(a)(6) of
           the Code to such certificates and because the rules of the OlD Regulations relating to debt
           instruments having an adjustable rate of interest are limited in their application in ways that could
           preclude their application to such certificates even in the absence of Section 1272(a)(6) of the Code,
           the IRS could assert that the Offered Certificates should be treated as issued with original issue
           discount or should be governed by the rules applicable to debt instruments having contingent
           payments or by some other method not yet set forth in regulations. Prospective purchasers of the
           Offered Certificates are advised to consult their tax advisors concerning the tax treatment of such
           certificates.

                           In certain circumstances the OlD Regulations permit the holder of a debt instrument
           to recognize original issue discount under a method that differs from that used by the issuer.
           Accordingly, the holder of an offered certificate may be able to select a method for recognizing
           original issue discount that differs from that used by the Trust in preparing reports to the
           certificateholders and the IRS.

                          If the method for computing original issue discount described above results in a
           negative amount for any period with respect to a certificateholder, the amount of original issue
           discount allocable to that period would be zero and the certificateholder will be permitted to offset
           that negative amount only against future original issue discount, if any, attributable to those
           certificates.

                            Certain of the certificates may be treated for federal income tax purposes as having
           been issued at a premium. Whether any holder of a certificate will be treated as holding such
           certificate with amortizable bond premium will depend on such certificateholders purchase price and
           the distributions remaining to be made on such certificate at the time of its acquisition by such
           certificateholder. Holders of such certificates should consult their own tax advisors regarding the
           possibility of making an election to amortize such premium.                See "Federal Income Tax
           Consequences- REMICs" in the prospectus.

                           Each holder of a Senior Certificate or Subordinate Certificate is deemed to own an
           undivided beneficial ownership interest in a REMIC regular interest and the right to receive
           payments from the Basis Risk Shortfall Reserve Fund or the Supplemental Interest Trust in respect of
           any Basis Risk Shortfall or the obligation to make payments to the Supplemental Interest Trust. The
           Basis Risk Shortfall Reserve Fund, the Basis Risk Cap Agreement, the Interest Rate Cap Agreement,
           the Interest Rate Swap Agreement and the Supplemental Interest Trust are not assets of any REMIC.
           The REMIC regular interest corresponding to a Senior Certificate or a Subordinate Certificate will be
           entitled to receive interest and principal payments at the times and in the amounts equal to those
           made on the certificate to which it corresponds, except that (i) the maximum interest rate of that


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           REMIC regular interest will equal the Net Funds Cap computed for this purpose by limiting the
           Swap Scheduled Notional Amount of the Interest Rate Swap Agreement to the aggregate principal
           balance of the Mortgage Loans and (ii) any Swap Termination Payment will be treated as being
           payable solely from Net Monthly Excess Cashflow. As a result of the foregoing, the amount of
           distributions on the REMIC regular interest corresponding to a Senior Certificate or a Subordinate
           Certificate may exceed the actual amount of distributions on a Senior Certificate or a Subordinate
           Certificate.

                            The treatment of amounts received by a holder of a Senior Certificate or a
           Subordinate Certificate under such holder's right to receive any Basis Risk Shortfall, will depend on
           the portion, if any, of such holder's purchase price allocable thereto. Under the REMIC Regulations,
           each holder of a Senior Certificate or Subordinate Certificate must allocate its purchase price for the
           Senior Certificate or Subordinate Certificate among its undivided interest in the regular interest of the
           related REMIC and its undivided interest in the right to receive payments from the Basis Risk
           Shortfall Reserve Fund and the Supplemental Interest Trust in respect of any Basis Risk Shortfall in
           accordance with the relative fair market values of each property right. The securities administrator
           will, as required, treat payments made to the holders of the Senior Certificates and Subordinate
           Certificates with respect to any Basis Risk Shortfall, as includible in income based on the regulations
           relating to notional principal contracts (the "Notional Principal Contract Regulations"). The OlD
           Regulations provide that the Trust's allocation of the issue price is binding on all holders unless the
           holder explicitly discloses on its tax return that its allocation is different from the Trust's allocation.
           For tax reporting purposes, the right to receive payments from the Basis Risk Shortfall Reserve Fund
           and the Supplemental Interest Trust in respect of Basis Risk Shortfalls with respect to the Senior
           Certificates and Subordinate Certificates may be treated as having more than a de minimis value as
           provided in the pooling and servicing agreement. Upon request, the securities administrator will
           make available information regarding such amounts as has been provided to it. Under the REMIC
           Regulations, the Securities Administrator is required to account for the REMIC regular interest, the
           right to receive payments from the Basis Risk Shortfall Reserve Fund and the Supplemental Interest
           Trust in respect of any Basis Risk Shortfall as discrete property rights. Holders of the Senior
           Certificates and Subordinate Certificates are advised to consult their own tax advisors regarding the
           allocation of issue price, timing, character and source of income and deductions resulting from the
           ownership of such Certificates. Treasury regulations have been promulgated under Section 1275 of
           the Code generally providing for the integration of a "qualifying debt instrument" with a hedge if the
           combined cash flows of the components are substantially equivalent to the cash flows on a variable
           rate debt instrument. However, such regulations specifically disallow integration of debt instruments
           subject to Section 1272(a)(6) of the Code. Therefore, holders of the Senior Certificates and
           Subordinate Certificates will be unable to use the integration method provided for under such
           regulations with respect to those Certificates. If the Securities Administrator's treatment of payments
           of any Basis Risk Shortfall is respected, ownership of the right to any Basis Risk Shortfall will entitle
           the owner to amortize the price paid for the right to any Basis Risk Shortfall under the Notional
           Principal Contract Regulations.

                           Any payments made to a beneficial owner of an Senior Certificate or a Subordinate
           Certificate in excess of the amounts payable on the corresponding REMIC regular interest will be
           treated as having been received as a payment on a notional principal contract. To the extent the sum
           of such periodic payments for any year exceeds that year's amortized cost of any Basis Risk
           Shortfalls, such excess represents net income for that year. Conversely, to the extent that the amount
           of that year's amortized cost exceeds the sum of the periodic payments, such excess will represent a
           net deduction for that year. In addition, any amounts payable on such REMIC regular interest in

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           excess of the amount of payments on the Senior Certificate or Subordinate Certificate to which it
           relates will be treated as having been received by the beneficial owners of such Certificates and then
           paid by such owners to the Supplemental Interest Trust pursuant to the Pooling and Servicing
           Agreement, and such excess should be treated as a periodic payment on a notional principal contract
           that is made by the beneficial owner during the applicable taxable year and that is taken into account
           in determining the beneficial owner's net income or net deduction with respect to any Basis Risk
           Shortfalls for such taxable year. Although not clear, net income or a net deduction with respect to any
           Basis Risk Shortfall should be treated as ordinary income or as an ordinary deduction. Holders of the
           Senior Certificates and Subordinate Certificates are advised to consult their own tax advisors
           regarding the tax characterization and timing issues relating to a Swap Termination Payment.

                           Because a beneficial owner of any Basis Risk Shortfalls will be required to include in
           income the amount deemed to have been paid by such owner, but may not be able to deduct that
           amount from income, a beneficial owner of an Senior Certificate or a Subordinate Certificate may
           have income that exceeds cash distributions on the Senior Certificate or Subordinate Certificate, in
           any period and over the term of the Senior Certificate or Subordinate Certificate. As a result, the
           Senior Certificates and Subordinate Certificates may not be a suitable investment for any taxpayer
           whose net deduction with respect to any Basis Risk Shortfalls would be subject to the limitations
           described above.

                            Upon the sale of a Senior Certificate or a Subordinate Certificate, the amount of the
           sale allocated to the selling certificateholder's right to receive payments from the Basis Risk Shortfall
           Reserve Fund and the Supplemental Interest Trust in respect of any Basis Risk Shortfall would be
           considered a "termination payment" under the Notional Principal Contract Regulations allocable to
           the related Senior Certificate or Subordinate Certificate, as the case may be. A holder of a Senior
           Certificate or a Subordinate Certificate will have gain or loss from such a termination of the right to
           receive payments from the Basis Risk Shortfall Reserve Fund and the Supplemental Interest Trust in
           respect of any Basis Risk Shortfall equal to (i) any termination payment it received or is deemed to
           have received minus (ii) the unamortized portion of any amount paid (or deemed paid) by the
           certificateholder upon entering into or acquiring its interest in the right to receive payments from the
           Basis Risk Shortfall Reserve Fund and the Supplemental Interest Trust in respect of any Basis Risk
           Shortfall.

                           Gain or loss realized upon the termination of the right to receive payments from the
           Basis Risk Shortfall Reserve Fund and the Supplemental Interest Trust in respect of any Basis Risk
           Shortfalls will generally be treated as capital gain or loss. Moreover, in the case of a bank or thrift
           institution, Code Section 582(c) would likely not apply to treat such gain or loss as ordinary.

                           It is possible that the right to receive payments in respect of any Basis Risk Shortfalls
           could be treated as a partnership among the holders of all of the Certificates, in which case holders of
           such Certificates potentially would be subject to different timing of income and foreign holders of
           such Certificates could be subject to withholding in respect of any related Basis Risk Shortfall.
           Holders of the Senior Certificates and Subordinate Certificates are advised to consult their own tax
           advisors regarding the allocation of issue price, timing, character and source of income and
           deductions resulting from the ownership of their Certificates.

                           The REMIC regular interest component of each Senior Certificate and Subordinate
           Certificate will be treated as assets described in Section 770l(a)(19)(C) of the Code, and as "real
           estate assets" under Section 856(c)(5)(B) of the Code, generally, in the same proportion that the


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           assets of the Trust, exclusive of the assets not included in any REMIC, would be so treated. In
           addition, the interest derived from the REMIC regular interest component of each Senior Certificate
           and Subordinate Certificate will be interest on obligations secured by interests in real property for
           purposes of section 856(c)(3) of the Code, subject to the same limitation in the preceding sentence.
           The Notional Principal Contract component of each Regular Certificate will not qualify, however, as
           an asset described in Section 7701(a)(19)(C) of the Code, as a real estate asset under Section
           856(c)(5)(B) of the Code or as a "qualified mortgage" within the meaning of Section 860G(a)(3) of
           the Code. As a result, the Regular Certificates generally may not be a suitable investment for a
           REMIC, a real estate investment trust or an entity intending to qualify under Section 7701(a)(19)(C)
           ofthe Code.

                           Because any Basis Risk Shortfall is treated as separate rights of the Senior
           Certificates and Subordinate Certificates not payable by any REMIC elected by the Trust, such rights
           will not be treated as qualifying assets for any certificateholder that is a mutual savings bank,
           domestic building and loan association, real estate investment trust, or REMIC. In addition, any
           amounts received from the Basis Risk Shortfall Reserve Fund and the Supplemental Interest Trust
           will not be qualifying real estate income for real estate investment trusts or qualifying income for
           REMICs.

                           For further information regarding federal income tax consequences of investing in the
           Offered Certificates, see "Federal Income Tax Consequences-REMICs" in the prospectus.

                                              ERISA CONSIDERATIONS

                            A fiduciary of any employee benefit plan or other plan or arrangement subject to
           ERISA or Section 4975 of the Code (a "Plan"), or any insurance company, whether through its
           general or separate accounts, or any other person investing plan assets of a Plan, should carefully
           review with its legal advisors whether the purchase or holding of Offered Certificates could give rise
           to a transaction prohibited or not otherwise permissible under ERISA or Section 4975 of the Code.
           The purchase or holding of the Offered Certificates by or on behalf of, or with Plan assets of, a Plan
           may qualify for exemptive relief under the Underwriters' Exemption, as currently in effect and as
           described under "ERISA Considerations" in the prospectus if certain conditions are satisfied. The
           Department of Labor has granted to the Underwriters a Prohibited Transaction Exemption ("PTE")
           which was amended by PTE 2002-41 at 67 F.R. 54487 (the "Underwriters' Exemption"). However,
           the Underwriters' Exemption contains a number of conditions which must be met for the exemption
           to apply, including the requirements that the Offered Certificates be rated at least "BBB-" (or its
           equivalent) by Fitch Ratings, Moody's or S&P at the time of the Plan's purchase and that the
           investing Plan must be an "accredited investor" as defined in Rule 501(a)(1) of Regulation D under
           the Securities Act. A fiduciary of a Plan contemplating purchasing an offered certificate must make
           its own determination that the conditions set forth in the Underwriters' Exemption will be satisfied
           with respect to the Offered Certificates.

                            For so long as the holder of an Offered Certificate also holds an interest in the
           Supplemental Interest Trust, the holder will be deemed to have acquired and be holding the Offered
           Certificate without the right to receive payments from the Supplemental Interest Trust and,
           separately, the right to receive payments from the Supplemental Interest Trust. The Exemption is not
           applicable to the acquisition, holding and transfer of an interest in the Supplemental Interest Trust.
           In addition, while the Supplemental Interest Trust is in existence, it is possible that not all of the
           requirements for the Exemption to apply to the acquisition, holding and transfer of Offered

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           Certificates will be satisfied. However, if the Exemption is not available, there may be other
           exemptions that may apply. Accordingly, no Plan or other person using assets of a Plan may acquire
           or hold an Offered Certificate while the Supplemental Interest Trust is in existence, unless (1) such
           Plan is an accredited investor within the meaning of the Exemption and (2) such acquisition or
           holding is eligible for the exemptive relief available under PTCE 84-14 (for transactions by
           independent "qualified professional asset managers"), 91-38 (for transactions by bank collective
           investment funds), 90-1 (for transactions by insurance company pooled separate accounts), 95-60
           (for transactions by insurance company general accounts) or 96-23 (for transactions effected by "in-
           house asset managers"). For so long as the Supplemental Interest Trust is in existence, each
           beneficial owner of an Offered Certificate or any interest therein, shall be deemed to have
           represented, by virtue of its acquisition or holding of the Offered Certificate, or interest therein, that
           either (i) it is not a Plan or (ii) (A) it is an accredited investor within the meaning of the Exemption
           and (B) the acquisition and holding of such Offered Certificate and the separate right to receive
           payments from the Supplemental Interest Trust are eligible for the exemptive relief available under
           one of the five prohibited transaction class exemptions enumerated above.

                            Each beneficial owner of a Subordinate Certificate or interest therein that is acquired
           after termination of the Supplemental Interest Trust (which holds the Interest Rate Swap Agreement
           and the Interest Rate Cap Agreement) shall be deemed to have represented, by virtue of its
           acquisition or holding of that certificate or interest therein, that either (i) it is not a plan investor, (ii)
           it has acquired and is holding such subordinated certificates in reliance on the Underwriters'
           Exemption, and that it understands that there are certain conditions to the availability of the
           Underwriters' Exemption, including that the subordinated certificates must be rated, at the time of
           purchase, not lower than "BBB-" (or its equivalent) by Fitch Ratings, Moody's or S&P, or (iii) (1) it
           is an insurance company, (2) the source of funds used to acquire or hold the certificate or interest
           therein is an "insurance company general account," as such term is defined in PTE 95-60, and (3) the
           conditions in Sections I and III of PTE 95-60 have been satisfied.

                            If any Certificate or any interest therein is acquired or held in violation of the
           conditions described in this section, the next preceding permitted beneficial owner will be treated as
           the beneficial owner of that Certificate, retroactive to the date of transfer to the purported beneficial
           owner. Any purported beneficial owner whose acquisition or holding of any such certificate or
           interest therein was effected in violation of the conditions described in this section shall indemnify
           and hold harmless the depositor, the securities administrator, the trustee, the master servicer, the
           servicers and the trust fund from and against any and all liabilities, claims, costs or expenses incurred
           by those parties as a result of that acquisition or holding.

                            Any fiduciary or other investor of Plan assets that proposes to acquire or hold the
           Offered Certificates on behalf of or with Plan assets of any Plan should consult with its counsel with
           respect to: (i) whether, with respect to the Offered Certificates, the specific and general conditions
           and the other requirements in the Underwriters' Exemption would be satisfied and (ii) the potential
           applicability of the general fiduciary responsibility provisions of ERISA and the prohibited
           transaction provisions of ERISA and Section 4975 of the Internal Revenue Code to the proposed
           investment. See "ERISA Considerations" in the prospectus.

                           The sale of any of the Offered Certificates to a Plan is in no respect a representation
           by the depositor or the underwriter that an investment in the Offered Certificates meets all relevant
           legal requirements relating to investments by Plans generally or any particular Plan, or that an
           investment in the Offered Certificates is appropriate for Plans generally or any particular Plan.


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                                              METHOD OF DISTRIBUTION

                           Subject to the terms and conditions set forth in the underwriting agreement dated as
           of October 1, 2006 between the depositor, Greenwich Capital Markets, Inc., Citigroup Global
           Markets Inc. and Goldman, Sachs & Co. (the "Underwriters") and the terms agreement to be entered
           into among the depositor and the Underwriters on or prior to the Closing Date (collectively, the
           "Underwriting Agreement"), the depositor has agreed to sell the Offered Certificates to the
           Underwriters, and each Underwriter has severally agreed to purchase from the depositor the initial
           Certificate Principal Balance of each class of Offered Certificates set forth under its name below.

                                            Greenwich Capital        Citigroup Global      Goldman,
                            Class             Markets, Inc.            Markets Inc.       Sachs & Co.

                     Class I-A-1 ........     $437,699,180            $43,748,910         $43,748,910
                     Class 11-A-1 .......     $233,997,885            $23,388,558         $23,388,558
                     Class 11-A-2 .......      $34,389,418             $3,437,291          $3,437,291
                     Class 11-A-3 .......      $77,512,034             $7,747,483          $7,747,483
                     Class 11-A-4 .......      $10,086,640             $1,008,180          $1,008,180
                     Class M-1 ..........      $38,378,903             $3,836,048          $3,836,048
                     Class M-2 ..........      $34,796,950             $3,478,025          $3,478,025
                     Class M-3 ..........      $21,491,719             $2,148,140          $2,148,140
                     Class M-4 ..........      $18,421,474             $1,841,263          $1,841,263
                     Class M-5 ..........      $17,398,058             $1,738,971          $1,738,971
                     Class M-6 ..........      $15,862,936             $1,585,532          $1,585,532
                     Class M-7 ..........      $15,351,228             $1,534,386          $1,534,386
                     Class M-8 ..........      $13,304,398             $1,329,801          $1,329,801
                     Class M-9 ..........      $10,745,860             $1,074,070          $1,074,070


                           The depositor has been advised by the Underwriters that they intend to make a market
           in the classes of Offered Certificates purchased by them but none of the Underwriters has an
           obligation to do so. There can be no assurance that a secondary market for the Offered Certificates
           (or any particular class thereof) will develop or, if it does develop, that it will continue or that such
           market will provide sufficient liquidity to certificateholders.

                           Until the distribution of the Offered Certificates is completed, rules of the Securities
           and Exchange Commission may limit the ability of the Underwriters and certain selling group
           members to bid for and purchase the Offered Certificates. As an exception to these rules, the
           Underwriters are permitted to engage in certain transactions that stabilize the price of the Offered
           Certificates. Such transactions consist of bids or purchases for the purpose of pegging, fixing or
           maintaining the price of the Offered Certificates.

                          In general, purchases of a security for the purpose of stabilization or to reduce a short
           position could cause the price of the security to be higher than it might be in the absence of such
           purchases.

                           Neither the depositor nor the Underwriters makes any representation or prediction as
           to the direction or magnitude of any effect that the transactions described above may have on the
           prices of the Offered Certificates. In addition, neither the depositor nor the Underwriters makes any


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           representation that the Underwriters will engage in such transactions or that such transactions, once
           commenced, will not be discontinued without notice.

                           The depositor has agreed to indemnify the Underwriters against, or make
           contributions to the Underwriters with respect to, certain liabilities, including liabilities under the
           Securities Act of 193 3, as amended (the "Securities Act").

                                                 LEGAL INVESTMENT

                          The Offered Certificates will not constitute "mortgage related securities" for purposes
           ofSMMEA.

                            Institutions whose investment activities are subject to review by certain regulatory
           authorities hereafter may be or may become subject to restrictions on investment in the certificates,
           and such restrictions may be retroactively imposed. The Federal Financial Institutions Examination
           Council, the Federal Deposit Insurance Corporation, the Office of the Comptroller of the Currency,
           the Board of Governors of the Federal Reserve System, the Office of Thrift Supervision, or OTS, and
           the National Credit Union Administration, or NCUA, have adopted guidelines, and have proposed
           policies, regarding the suitability of investments in various types of derivative mortgage-backed
           securities, including securities such as the certificates.

                           For example, on April 23, 1998, the Federal Financial Institutions Examination
           Council issued a revised supervisory policy statement, referred to as the 1998 Policy Statement,
           applicable to all Depository institutions, setting forth guidelines for investments in "high-risk
           mortgage securities." The 1998 Policy Statement has been adopted by the Federal Reserve Board, the
           Office of the Comptroller of the Currency, the Federal Deposit Insurance Corporation, the NCUA
           and the OTS. The 1998 Policy Statement rescinds a 1992 policy statement that had required, prior to
           purchase, a Depository institution to determine whether a mortgage derivative product that it is
           considering acquiring is high-risk, and, if so, that the proposed acquisition would reduce the
           institution's overall interest rate risk. In addition, The 1998 Policy Statement eliminates former
           constraints on investing in certain "high-risk" mortgage derivative products and substitutes broader
           guidelines for evaluating and monitoring investment risk. In addition, the NCUA has issued
           regulations governing federal credit union investments which prohibit investment in certain specified
           types of securities, which may include the certificates. The NCUA has indicated that its regulations
           will take precedence over the 1998 Policy Statement. Similar policy statements and regulations have
           been issued by other regulators having jurisdiction over other types of Depository institutions.

                            The OTS has issued Thrift Bulletin 73a, or TB 73a, entitled "Investing in Complex
           Securities", effective December 18, 2001 which applies to savings associations regulated by the
           OTS, and Thrift Bulletin 13a, or TB 13a, entitled "Management of Interest Rate Risk, Investment
           Securities, and Derivatives Activities", effective December 1, 1998, which is applicable to thrift
           institutions regulated by the OTS.

                           TB 73a requires savings associations, prior to taking any investment positiOn, to
           determine that the investment position meets applicable regulatory and policy requirements and
           internal guidelines, is suitable for the institution, and is safe and sound. The OTS recommends, with
           respect to purchases of specific securities, additional analysis, including, among others, analysis of
           repayment terms, legal structure, expected performance of the issuing entity and any underlying
           assets as well as analysis of the effects of payment priority, with respect to a security which is

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           divided into separate tranches with unequal payments, and collateral investment parameters, with
           respect to a security that is prefunded or involves a revolving period. TB 73a reiterates the OTS's due
           diligence requirements for investing in all securities and warns that if a savings association makes an
           investment that does not meet the applicable regulatory requirements, the savings association's
           investment practices will be subject to criticism, and the OTS may require divestiture of such
           securities. The OTS also recommends, with respect to an investment in any "complex securities,"
           that savings associations should take into account quality and suitability, interest rate risk, and
           classification factors. For the purposes of each of TB 73a and TB 13a, "complex security" includes,
           among other things, any collateralized mortgage obligation or real estate mortgage investment
           conduit security, other than any "plain vanilla" mortgage pass-through security (that is, securities that
           are part of a single class of securities in the related pool that are non-callable and do not have any
           special features). Accordingly, all classes of Offered Certificates would likely be viewed as "complex
           securities." With respect to quality and suitability factors, TB 73a warns (i) that a savings
           association's sole reliance on outside ratings for material purchases of complex securities is an
           unsafe and unsound practice, (ii) that a savings association should only use ratings and analyses from
           nationally recognized rating agencies in conjunction with, and in validation of, its own underwriting
           processes, and (iii) that it should not use ratings as a substitute for its own thorough underwriting
           analyses. With respect the interest rate risk factor, TB 73a recommends that savings associations
           should follow the guidance set forth in TB 13a.

                            TB 13a requires thrift institutions, prior to taking any investment position, to (i)
           conduct a pre-purchase portfolio sensitivity analysis for any "significant transaction" involving
           securities or financial derivatives, and (ii) conduct a pre-purchase price sensitivity analysis of any
           "complex security" or financial derivative. The OTS recommends that while a thrift institution
           should conduct its own in-house pre-acquisition analysis, it may rely on an analysis conducted by an
           independent third-party as long as management understands the analysis and its key assumptions.
           Further, TB 13a recommends that the use of "complex securities with high price sensitivity" be
           limited to transactions and strategies that lower a thrift institution's portfolio interest rate risk. TB
           13a warns that investment in complex securities by thrift institutions that do not have adequate risk
           measurement, monitoring and control systems may be viewed by OTS examiners as an unsafe and
           unsound practice.

                            There may be other restrictions on the ability of some investors either to purchase
           some classes of securities or to purchase any class of securities representing more than a specified
           percentage of the investors' assets. The depositor will make no representations as to the proper
           characterization of any class of securities for legal investment or other purposes, or as to the ability
           of particular investors to purchase any class of securities under applicable legal investment
           restrictions. These uncertainties may adversely affect the liquidity of any class of securities.
           Accordingly, all investors whose investment activities are subject to legal investment laws and
           regulations, regulatory capital requirements or review by regulatory authorities are encouraged to
           consult with their own legal advisors in determining whether and to what extent the securities of any
           class constitute legal investments or are subject to investment, capital or other restrictions.

                                                    LEGAL MATTERS

                          The validity of the certificates, including certain federal income tax consequences
           with respect hereto, will be passed upon for the depositor by Thacher Proffitt & Wood LLP, New
           York, New York. Thacher Proffitt & Wood LLP, New York, New York, will also pass upon certain


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           legal matters on behalf of the depositor. McKee Nelson LLP, New York, New York, will pass upon
           certain legal matters on behalf of the Underwriters.

                                                         RATINGS

                           It is a condition of the issuance of the Offered Certificates that each class of Offered
           Certificates be assigned at least the ratings designated below by Standard & Poor's, Moody's, Fitch
           andDBRS.

                                         Standard &
                          Class            Poor's          Moody's           Fitch          DBRS
                          1-A-1             AAA             Aaa              AAA             AAA
                          11-A-1            AAA             Aaa              AAA             AAA
                          11-A-2            AAA             Aaa              AAA             AAA
                          11-A-3            AAA             Aaa              AAA             AAA
                          11-A-4            AAA             Aaa              AAA             AAA
                           M-1              AA+             Aal              AA+          AA (high)
                           M-2              AA+             Aa2              AA+              AA
                           M-3               AA             Aa3               AA           AA (low)
                           M-4               AA              Al               AA-          A (high)
                           M-5               AA-             A2               A+               A
                           M-6               A+              A3                A            A (low)
                           M-7                A             Baal               A-         BBB (high)
                           M-8              BBB+            Baa2             BBB+            BBB
                           M-9              BBB             Baa3             BBB          BBB (low)

                           The security ratings assigned to the Offered Certificates should be evaluated
           independently from similar ratings on other types of securities. A security rating is not a
           recommendation to buy, sell or hold securities and may be subject to revision or withdrawal at any
           time by the respective rating agency. The ratings on the Offered Certificates do not, however,
           constitute statements regarding the likelihood or frequency of prepayments on the Mortgage Loans or
           the anticipated yields in light of prepayments. In addition, the ratings on the Offered Certificates do
           not address the likelihood of receipt by the holders of such certificates of any amounts in respect of
           Basis Risk Shortfalls.

                           The depositor has not requested ratings of the Offered Certificates by any rating
           agency other than Standard & Poor's, Moody's, Fitch and DBRS. However, there can be no
           assurance as to whether any other rating agency will rate the Offered Certificates or, if it does, what
           ratings would be assigned by such other rating agency. The ratings assigned by such other rating
           agency to the Offered Certificates could be lower than the respective ratings assigned by the rating
           agencies.

                                                LEGAL PROCEEDINGS

                            There are no material legal proceedings pending against the sponsor, the depositor,
           the trustee, the issuing entity, the master servicer, the servicer, the securities administrator, the
           custodian or the originator, or with respect to which the property of any of the foregoing transaction
           parties is subject, that are material to the certificateholders. No legal proceedings against any of the


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           foregoing transaction parties is known to be contemplated by governmental authorities, that are
           material to the certificateholders.

                      AFFILIATIONS, RELATIONSHIPS AND RELATED TRANSACTIONS

                            There are no affiliations between the sponsor, the depositor or the issuing entity and
           any of the master servicer, the securities administrator, the custodian, HSBC Bank USA, National
           Association, the servicer or the originator. There are no affiliations among the master servicer, the
           securities administrator or the custodian and HSBC Bank USA, National Association, the servicer
           and the originator. There are no affiliations among the trustee and the servicer or the originator.
           There are no affiliations between the servicer and the originator. There are currently no business
           relationships, agreements, arrangements, transactions or understandings between (a) the sponsor, the
           depositor or the issuing entity and (b) any of the parties referred to in the second sentence hereof, or
           any of their respective affiliates, that were entered into outside the normal course of business or that
           contain terms other than would be obtained in an arm's length transaction with an unrelated third
           party and that are material to the investor's understanding of the certificates, or that relate to the
           certificates or the pooled assets. No such business relationship, agreement, arrangement, transaction
           or understanding has existed during the past two years.

                                             AVAILABLE INFORMATION

                            The depositor is subject to the informational requirements of the Exchange Act and in
           accordance therewith files reports and other information with the Securities and Exchange
           Commission. Reports and other information filed by the depositor can be inspected and copied at the
           Public Reference Room maintained by the Commission at 100 F Street NE, Washington, DC 20549,
           and its Regional Offices located as follows: Chicago Regional Office, 500 West Madison, 14th Floor,
           Chicago, Illinois 60661; New York Regional Office, 233 Broadway, New York, New York 10279.
           Copies of the material can also be obtained from the Public Reference Section of the Securities and
           Exchange Commission, 100 F Street NE, Washington, DC 20549, at prescribed rates and
           electronically through the Commission's Electronic Data Gathering, Analysis and Retrieval system at
           the Securities and Exchange Commission's Website (http://www.sec.gov). Information about the
           operation of the Public Reference Room may be obtained by calling the Securities and Exchange
           Commission at (800) SEC-0330. Exchange Act reports as to any series filed with the Securities and
           Exchange Commission will be filed under the issuing entity's name. The depositor does not intend to
           send any financial reports to certificateholders.

                            The issuing entity's annual reports on Form 10-K (including reports of assessment of
           compliance with the AB Servicing Criteria, attestation reports, and statements of compliance,
           discussed in "Description of the Certificates - Reports to Certificateholders" and "Servicing -
           Evidence as to Compliance", required to be filed under Regulation AB), periodic distribution reports
           on Form 10-D, current reports on Form 8-K and amendments to those reports, together with such
           other reports to certificateholders or information about the securities as will have been filed by the
           securities administrator with the Securities and Exchange Commission will be posted on the
           securities administrator's internet web site as soon as reasonably practicable after it has been
           electronically filed with, or furnished to, the Securities and Exchange Commission. The address of
           the website is: http://www.ctslink.com.




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                                       REPORTS TO CERTIFICATEHOLDERS

                           So long as the issuing entity is required to file reports under the Exchange Act, those
           reports will be made available as described above under "Available Information".

                           If the issuing entity is no longer required to file reports under the Exchange Act,
           periodic distribution reports will be posted on the Security Administrator's website referenced above
           under "Available Information" as soon as practicable. Annual reports of assessment of compliance
           with the AB Servicing Criteria, attestation reports, and statements of compliance will be provided to
           registered holders of the related securities upon request free of charge. See "Servicing- Evidence as
           to Compliance" and "Description of the Certificates-Reports to Certficateholders" in this
           prospectus supplement.

                             INCORPORATION OF INFORMATION BY REFERENCE

                            There are incorporated into this prospectus supplement by reference all documents,
           including but not limited to the financial statements and reports filed or caused to be filed or
           incorporated by reference by the depositor with respect to the trust fund pursuant to the requirements
           of Sections 13(a) or 15(d) of the Exchange Act, prior to the termination of the offering of the Offered
           Certificates. All documents subsequently filed by the depositor pursuant to Sections 13(a) or 15(d) of
           the Exchange Act in respect of the offering prior to the termination of the offering of the Offered
           Certificates will also be deemed incorporated by reference into this prospectus supplement.

                             The depositor will provide or cause to be provided without charge to each person to
           whom this prospectus supplement is delivered in connection with the offering of one or more classes
           of Offered Certificates, upon written or oral request of the person, a copy of any or all the reports
           incorporated in this prospectus supplement by reference, in each case to the extent the reports relate
           to one or more of such classes of the Offered Certificates, other than the exhibits to the documents,
           unless the exhibits are specifically incorporated by reference in the documents. Requests should be
           directed in writing to Nomura Home Equity Loan, Inc., Two World Financial Center, Building B,
           New York, New York, 10281, or by telephone at (212) 667-9300. The depositor has determined that
           its financial statements will not be material to the offering of any Offered Certificates.




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                                                                                                       ANNEX I

                     GLOBAL CLEARANCE, SETTLEMENT AND TAX DOCUMENTATION
                                         PROCEDURES

                           Except under limited circumstances, the globally offered Nomura Home Equity Loan,
           Inc., Asset Backed Certificates, Series 2006-FM2 (the "Global Securities") will be available only in
           book- entry form. Investors in the Global Securities may hold the Global Securities through any of
           DTC, Euroclear or Clearstream. The Global Securities will be tradable as home market instruments
           in both the European and U.S. domestic markets. Initial settlement and all secondary trades will settle
           in same-day funds.

                          Secondary market trading between investors holding Global Securities through
           Euroclear and Clearstream will be conducted in the ordinary way in accordance with their normal
           rules and operating procedures and in accordance with conventional eurobond practice (i.e., seven
           calendar day settlement).

                           Secondary market trading between investors holding Global Securities through DTC
           will be conducted according to the rules and procedures applicable to U.S. corporate debt obligations
           and prior Asset-Backed Certificates issues.

                           Secondary cross-market trading between Euroclear or Clearstream and DTC
           participants holding Certificates will be effected on a delivery-against-payment basis through the
           respective depositaries ofEuroclear and Clearstream and as DTC participants.

                          Non-U.S. holders (as described below) of Global Securities will be subject to U.S.
           withholding taxes unless the holders meet established requirements and deliver appropriate U.S. tax
           documents to the securities clearing organizations or their participants.

           Initial Settlement

                            All Global Securities will be held in book-entry form by DTC in the name of Cede &
           Co. as nominee of DTC. Investors' interests in the Global Securities will be represented through
           financial institutions acting on their behalf as direct and indirect participants in DTC. As a result,
           Euroclear and Clearstream will hold positions on behalf of their participants through their respective
           depositaries, which in tum will hold the positions in accounts as DTC participants.

                          Investors electing to hold their Global Securities through DTC will follow the
           settlement practices applicable to prior Asset-Backed Certificates issues. Investor securities custody
           accounts will be credited with their holdings against payment in same-day funds on the settlement
           date.

                           Investors electing to hold their Global Securities through Euroclear or Clearstream
           accounts will follow the settlement procedures applicable to conventional eurobonds, except that
           there will be no temporary global security and no "lock-up" or restricted period. Global Securities
           will be credited to the securities custody accounts on the settlement date against payment in same-
           day funds.



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           Secondary Market Trading

                          Because the purchaser determines the place of delivery, it is important to establish at
           the time of the trade where both the purchaser's and seller's accounts are located to ensure that
           settlement can be made on the desired value date.

                           Trading between DTC Participants. Secondary market trading between DTC
           participants will be settled using the procedures applicable to prior Asset-Backed Certificates issues
           in same day funds.

                          Trading between Euroclear and/or Clearstream Participants. Secondary market
           trading between Euroclear participants or Clearstream participants will be settled using the
           procedures applicable to conventional eurobonds in same-day funds.

                            Trading between DTC seller and Euroclear or Clearstream Purchaser. When Global
           Securities are to be transferred from the account of a DTC participant to the account of a Euroclear
           participant or a Clearstream participant, the purchaser will send instructions to Euroclear or
           Clearstream through a Euroclear participant or Clearstream participant at least one business day prior
           to settlement. Euroclear or Clearstream will instruct the respective depositary, as the case may be, to
           receive the Global Securities against payment. Payment will include interest accrued on the Global
           Securities from and including the last coupon payment date to and excluding the settlement date, on
           the basis of either the actual number of days in the accrual period and a year assumed to consist of
           360 days or a 360-day year of 12 30-day months as applicable to the related class of Global
           Securities. For transactions settling on the 31st of the month, payment will include interest accrued to
           and excluding the first day of the following month. Payment will then be made by the respective
           depositary of the DTC participant's account against delivery of the Global Securities. After
           settlement has been completed, the Global Securities will be credited to the respective clearing
           system and by the clearing system, in accordance with its usual procedures, to the Euroclear
           participant's or Clearstream participant's account. The securities credit will appear the next day
           (European time) and the cash debt will be back-valued to, and the interest on the Global Securities
           will accrue from, the value date (which would be the preceding day when settlement occurred in New
           York). If settlement is not completed on the intended value date (i.e., the trade fails), the Euroclear or
           Clearstream cash debt will be valued instead as of the actual settlement date.

                            Euroclear participants and Clearstream participants will need to make available to the
           respective clearing systems the funds necessary to process same-day funds settlement. The most
           direct means of doing so is to preposition funds for settlement, either from cash on hand or existing
           lines of credit, as they would for any settlement occurring within Euroclear or Clearstream. Under
           this approach, they may take on credit exposure to Euroclear or Clearstream until the Global
           Securities are credited to their accounts one day later.

                            As an alternative, if Euroclear or Clearstream has extended a line of credit to them,
           Euroclear participants or Clearstream participants can elect not to preposition funds and allow that
           credit line to be drawn upon the finance settlement. Under this procedure, Euroclear participants or
           Clearstream participants purchasing Global Securities would incur overdraft charges for one day,
           assuming they cleared the overdraft when the Global Securities were credited to their accounts.
           However, interest on the Global Securities would accrue from the value date. Therefore, in many
           cases the investment income on the Global Securities earned during that one-day period may



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           substantially reduce or offset the amount of the overdraft charges, although this result will depend on
           each Euroclear participant's or Clearstream participant's particular cost of funds.

                          Because the settlement is taking place during New York business hours, DTC
           participants can employ their usual procedures for sending Global Securities to the respective
           European depositary for the benefit of Euroclear participants or Clearstream participants. The sale
           proceeds will be available to the DTC seller on the settlement date. Thus, to the DTC participants a
           crossmarket transaction will settle no differently than a trade between two DTC participants.

                            Trading between Euroclear or Clearstream seller and DTC Purchaser. Due to time
           zone differences in their favor, Euroclear participants and Clearstream participants may employ their
           customary procedures for transactions in which Global Securities are to be transferred by the
           respective clearing system, through the respective depositary, to a DTC participant. The seller will
           send instructions to Euroclear or Clearstream through a Euroclear participant or Clearstream
           participant at least one business day prior to settlement. In these cases Euroclear or Clearstream will
           instruct the respective depositary, as appropriate, to deliver the Global Securities to the DTC
           participant's account against payment. Payment will include interest accrued on the Global Securities
           from and including the last coupon payment to and excluding the settlement date on the basis of
           either the actual number of days in the accrual period and a year assumed to consist of 360 days or a
           360-day year of 12 30-day months as applicable to the related class of Global Securities. For
           transactions settling on the 31st of the month, payment will include interest accrued to and excluding
           the first day of the following month. The payment will then be reflected in the account of the
           Euroclear participant or Clearstream participant the following day, and receipt of the cash proceeds
           in the Euroclear participant's or Clearstream participant's account would be back-valued to the value
           date (which would be the preceding day, when settlement occurred in New York). Should the
           Euroclear participant or Clearstream participant have a line of credit with its respective clearing
           system and elect to be in debt in anticipation of receipt of the sale proceeds in its account, the back-
           valuation will extinguish any overdraft incurred over that one-day period. If settlement is not
           completed on the intended value date (i.e., the trade fails), receipt of the cash proceeds in the
           Euroclear participant's or Clearstream participant's account would instead be valued as of the actual
           settlement date.

                            Finally, day traders that use Euroclear or Clearstream and that purchase Global
           Securities from DTC participants for delivery to Euroclear participants or Clearstream participants
           should note that these trades would automatically fail on the sale side unless affirmative action were
           taken. At least three techniques should be readily available to eliminate this potential problem:

                           (a)     borrowing through Euroclear or Clearstream for one day (until the purchase
           side of the day trade is reflected in their Euroclear or Clearstream accounts) in accordance with the
           clearing system's customary procedures;

                            (b)    borrowing the Global Securities in the U.S. from a DTC participant no later
           than one day prior to settlement, which would give the Global Securities sufficient time to be
           reflected in their Euroclear or Clearstream account in order to settle the sale side of the trade; or

                           (c)     staggering the value dates for the buy and sell sides of the trade so that the
           value date for the purchase from the DTC participant is at least one day prior to the value date for the
           sale to the Euroclear participant or Clearstream participant.




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           U.S. Federal Income Tax Documentation Requirements

                            A beneficial owner of Global Securities holding securities through Clearstream or
           Euroclear (or through DTC if the holder has an address outside the U.S.) will be subject to the 30%
           (or in some cases 31% ) U.S. withholding tax that generally applies to payments of interest on
           registered debt issued by U.S. persons, unless (1) each clearing system, bank or other financial
           institution that holds customers' securities in the ordinary course of its trade or business in the chain
           of intermediaries between the beneficial owner and the U.S. entity required to withhold tax complies
           with applicable certification requirements and (2) the beneficial owner takes one of the following
           steps to obtain an exemption or reduced tax rate:

                           Exemption for non-US. persons (Form W-8 BEN). Beneficial owners of Global
           Securities that are non-U.S. persons can obtain a complete exemption from the withholding tax by
           filing a signed Form W-8 BEN. If the information shown on Form W-8 BEN changes, a new Form
           W-8 BEN must be filed within 30 days of the change.

                           Exemption for non-US. persons with effectively connected income (Form W-8ECI).
           A non- U.S. person, including a non-U.S. corporation or bank with a U.S. branch, for which the
           interest income is effectively connected with its conduct of a trade or business in the United States,
           can obtain an exemption from the withholding tax by filing Form W-8ECI.

                           Exemption or reduced rate for non-US. persons resident in treaty countries (Form
           W-8 BEN). Non-U.S. persons that are beneficial owners residing in a country that has a tax treaty
           with the United States can obtain an exemption or reduced tax rate (depending on the treaty terms) by
           filing Form W-8 BEN.

                           Exemption for US. persons (Form W-9). U.S. persons can obtain a complete
           exemption from the withholding tax by filing Form W-9.

                           US. Federal Income Tax Reporting Procedure. The Global Securities holder files by
           submitting the appropriate form to the person through whom he holds (e.g., the clearing agency, in
           the case of persons holding directly on the books of the clearing agency). Forms W-8 BEN and W-
           8ECI are generally effective for three calendar years.

                               •   U.S. Person. As used herein the term "U.S. person" means a beneficial owner
                                   of a Certificate that is for United States federal income tax purposes

                               •   a citizen or resident of the United States,

                               •   a corporation or partnership created or organized in or under the laws of the
                                   United States or of any State thereof or the District of Columbia,

                               •   an estate the income of which is subject to United States federal income
                                   taxation regardless of its source, or

                               •   a trust if a court within the United States is able to exercise pnmary
                                   supervision of the administration of the trust and one or more United States
                                   persons have the authority to control all substantial decisions of the trust.




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                            As used herein, the term "non-U.S. person" means a beneficial owner of a Certificate
           that is not a U.S. person.

                          This summary does not deal with all aspects of U.S. Federal income tax withholding
           that may be relevant to foreign holders of the Global Securities or with the application of the
           extensive withholding regulations that are generally effective with respect to payments made after
           December 31, 2000 which have detailed rules regarding the determination of beneficial ownership.
           Investors are advised to consult their own tax advisors for specific tax advice concerning their
           holding and disposing of the Global Securities.




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                                       The date of this prospectus is April 18, 2006.

                                                      PROSPECTUS

                                                 Asset Backed Certificates

                                                    Asset Backed Notes
                                                    (Issuable in Series)

                                       Nomura Home Equity Loan, Inc.
                                                         Depositor

           The Trust Funds:

                   Each trust fund will be established to hold assets transferred to it by Nomura Home Equity
           Loan, Inc. The assets in each trust fund will generally consist of one or more of the following:

                       •   loans secured by first and/or subordinate liens on one- to four-family residential
                           properties, including manufactured housing that is permanently affixed and treated as
                           real property under local law, or security interests in shares issued by cooperative
                           housing corporations,

                       •   loans secured by first and/or subordinate liens on small multifamily residential
                           properties, such as rental apartment buildings or projects containing five to fifty
                           residential units,

                       •   loans secured by first and/or subordinate liens on mixed residential and commercial
                           properties (mixed-use loans),

                       •   closed-end second-lien loans, secured in whole or in part by subordinate liens on one-
                           to four-family residential properties,

                       •   home equity line of credit loans or specified balances thereof, secured in whole or in
                           part by first and/or subordinate liens on one- to four-family residential properties,

                       •   loans secured in whole or in part by first and/or subordinate liens on improved land
                           that is generally suitable for one- to four-family residential dwellings (lot loans),

                       •   home improvement installment sale contracts and installment loan agreements that
                           are secured by first or subordinate liens on one- to four-family residential properties,
                           or

                       •   mortgage-backed securities or collateralized mortgage obligations backed by loans
                           secured by first and/or subordinate liens on one- to four-family residential properties,
                           by lot loans or by participations in these types of loans.

                    The assets in your trust fund are specified in the prospectus supplement for that particular
           trust fund, while the types of assets that may be included in a trust fund, whether or not in your trust
           fund, are described in greater detail in this prospectus.




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           Please carefully consider our discussion of some of the risks of investing in the securities under
           "risk factors" beginning on page 4.



           The Securities:

                   Nomura Home Equity Loan, Inc. will sell the securities pursuant to a prospectus supplement.
           The securities will be grouped into one or more series, each having is own distinct designation. Each
           series will be issued in one or more classes and will evidence beneficial ownership of, or be secured
           by, the assets in the trust fund that the series relates to. A prospectus supplement for a series will
           specify all of the terms of the series and of each of the classes in the series.

                   Neither the Securities and Exchange Commission nor any state securities commission
           has approved or disapproved of these securities or passed upon the adequacy or accuracy of
           this prospectus. Any representation to the contrary is a criminal offense.




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           IMPORTANT NOTICE ABOUT INFORMATION IN THIS PROSPECTUS AND EACH
           ACCOMPANYING PROSPECTUS SUPPLEMENT

           Information about each series of securities is contained in two separate documents:

                             •     this prospectus, which provides general information, some of which may not apply to
                                   a particular series; and

                             •     the accompanying prospectus supplement for a particular series, which describes the
                                   specific terms of the securities of that series.

                             •     The prospectus supplement will contain information about a particular series that
                                   supplements the information contained in this prospectus, and you should rely on that
                                   supplementary information in the prospectus supplement.

           You should rely only on the information in this prospectus and the accompanying prospectus
           supplement. We have not authorized anyone to provide you with information that is different from
           that contained in this prospectus and the accompanying prospectus supplement.




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           If you require additional information, the mailing address of our principal executive offices is
           Nomura Home Equity Loan, Inc., Two World Financial Center, Building B, 21st Floor, New York,
           New York 10281 and the telephone number is 212-667-9300. For other means of acquiring
           additional information about us or a series of securities, see "The Trust Fund-Incorporation of
           Certain Documents by Reference" beginning on page 36.


                                                               Risk Factors

                   You should carefully consider the following information because it identifies significant risks
           associated with an investment in the securities.

           Limited Liquidity.............................................. No market for the securities of any series will exist
                                                                           before those securities are issued. We cannot assure
                                                                           you that a secondary market will develop. Even if a
                                                                           secondary market develops, we cannot assure you
                                                                           that it will provide you with liquidity of investment
                                                                           or that it will continue for the life of the securities of
                                                                           that series.

           Limited Source of Payments -
           No Recourse To Sellers, Depositor
           Or Servicer .................................... .................. The applicable prospectus supplement may provide
                                                                               that securities will be payable from trust funds other
                                                                               than their associated trust fund, but if it does not,
                                                                               they will be payable solely from their associated
                                                                               trust fund. If the trust fund does not have enough
                                                                               assets to distribute the full amount due to you as a
                                                                               securityholder, your yield will be impaired, and the
                                                                               return of your principal may be impaired, without
                                                                               you having recourse to anyone else. Furthermore, at
                                                                               the times specified in the applicable prospectus
                                                                               supplement, certain assets of the trust fund and/or
                                                                               any balance remaining in the security account
                                                                               immediately after making all payments due on the
                                                                               securities of that series, may be released and paid
                                                                               out to other persons, such as the depositor, a
                                                                               servicer, a credit enhancement provider, or any other
                                                                               person entitled to payments from the trust fund.
                                                                               Those assets will no longer be available to make
                                                                               payments to you. Those payments are generally
                                                                               made only after other specified payments that may
                                                                               be described in the applicable prospectus
                                                                               supplement have been made.

                                                                     You will not have any recourse against the
                                                                     depositor, any seller or any servicer if you do not
                                                                     receive a required distribution on the securities. You


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                                                  will also not have recourse against the assets of the
                                                  trust fund of any other series of securities.

                                                  The securities will not represent an interest in the
                                                  depositor, any servicer, any seller to the depositor,
                                                  or anyone else except the trust fund. The only
                                                  obligation of the depositor to a trust fund will come
                                                  from certain representations and warranties made by
                                                  it about assets transferred to the trust fund. If these
                                                  representations and warranties are untrue, the
                                                  depositor may be required to repurchase some of the
                                                  transferred assets. Nomura Home Equity Loan, Inc.,
                                                  which is the depositor, does not have significant
                                                  assets and is unlikely to have significant assets in
                                                  the future. If the depositor were required to
                                                  repurchase a loan because of a breach of a
                                                  representation, its only sources of funds for the
                                                  repurchase would be:

                                                        funds obtained from the enforcement of a
                                                        corresponding obligation of a seller or
                                                        originator of the loan or

                                                        funds from a reserve account or similar credit
                                                        enhancement established to pay for loan
                                                        repurchases.

                                                  The only obligations of the servicer to a trust fund
                                                  (other than its servicing obligations) will come from
                                                  certain representations and warranties made by it in
                                                  connection with its loan servicing activities. If these
                                                  representations and warranties tum out to be untrue,
                                                  the servicer may be required to repurchase or
                                                  substitute for some of the loans. However, the
                                                  servicer may not have the financial ability to make
                                                  the required repurchase or substitution.

                                                  The only obligations to a trust fund of a seller of
                                                  loans to the depositor will come from certain
                                                  representations and warranties made by it in
                                                  connection with its sale of the loans and certain
                                                  document delivery          requirements.   If these
                                                  representations and warranties tum out to be untrue,
                                                  or the seller fails to deliver required documents, it
                                                  may be required to repurchase or substitute for some
                                                  of the loans. However, the seller may not have the
                                                  financial ability to make the required repurchase or
                                                  substitution.


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                                                                   As described in this prospectus, a servicer may be
                                                                   obligated to enforce the sellers' obligations.
                                                                   However, the servicer will not be obligated to
                                                                   purchase or replace any loan if a seller defaults on
                                                                   its obligation or for any other reason.

           Credit Enhancement May
           Not Be Sufficient to Protect
           You From Losses............................................. Credit enhancement is intended to reduce the effect
                                                                        of loan losses. But credit enhancements may benefit
                                                                        only some classes of a series of securities, and the
                                                                        amount of any credit enhancement will be limited as
                                                                        described in the applicable prospectus supplement.
                                                                        Furthermore, the amount of a particular form of
                                                                        credit enhancement may decline over time pursuant
                                                                        to a schedule or formula or otherwise, and could be
                                                                        depleted from payments or for other reasons before
                                                                        the securities covered by the credit enhancement are
                                                                        paid in full. In addition, the credit enhancement
                                                                        applicable to a series of securities may not cover all
                                                                        potential sources of loss. For example, credit
                                                                        enhancement may or may not cover fraud or
                                                                        negligence by a loan originator or other parties.
                                                                        Also, the trustee may be permitted to reduce,
                                                                        substitute for or even eliminate all or a portion of a
                                                                        credit enhancement as long as the trustee's actions
                                                                        would not cause the rating agencies that have rated
                                                                        the securities at the request of the depositor to
                                                                        change adversely their ratings of the securities.
                                                                        Consequently, securityholders may suffer losses
                                                                        even though a credit enhancement exists and its
                                                                        provider does not default.

           Prepayment and Yield
           Considerations

                 Your Yield Will Be Affected
                 By Prepayments and By the
                 Allocation of Distributions
                 To the Securities........................................ The timing of principal payments on the securities
                                                                           of a series will be affected by a number of factors,
                                                                           including:

                                                                          the extent of prepayments on the loans in the
                                                                          related trust fund,

                                                                          how payments of principal are allocated
                                                                          among the classes of securities of a series as
                                                                          specified in the related prospectus supplement,

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                                                                         whether the party entitled to any right of
                                                                         optional termination of the trust fund exercises
                                                                         that right, and

                                                                         the rate and timing of payment defaults and
                                                                         losses on the trust fund assets.

                                                                  Prepayments include prepayments resulting from
                                                                  refinancing or liquidation of a loan due to defaults,
                                                                  casualties and condemnations, as well as
                                                                  repurchases by the depositor or a seller due to a
                                                                  breach of representations          and warranties.
                                                                  Prepayments may be affected by a variety of factors,
                                                                  including:

                                                                         general economic conditions,

                                                                         interest rates,

                                                                         the availability of alternative financing and

                                                                         homeowner mobility.

                                                                  The rate and timing of prepayment of the loans will
                                                                  affect the yields to maturity and weighted average
                                                                  lives of the securities. Any reinvestment risks from
                                                                  faster or slower prepayments of loans will be borne
                                                                  entirely by the holders of one or more classes of the
                                                                  related series of securities.

           Your Yield Will Be Affected
           By Delayed Interest Payments....................... Interest payable on the securities of a series on each
                                                               distribution date will include all interest accrued
                                                               during the period specified in the related prospectus
                                                               supplement. If interest accrues on your securities
                                                               over a period ending two or more days prior to the
                                                               related distribution date, your effective yield will be
                                                               lower than the yield that you would obtain if interest
                                                               on your securities were to accrue through the day
                                                               immediately preceding each distribution date. In
                                                               addition, your effective yield (at par) will be less
                                                               than the indicated coupon rate.

           The Types of Loans Included
           in the Trust Fund May Be Especially
           Prone to Defaults Which May
           Expose Your Securities to
           Greater Losses................................................. The securities will be directly or indirectly backed
                                                                           by certain types of loans. Certain types of loans


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